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                 EXHIBIT A
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         [def:$in1|initial|req|signer1]
         AGREEMENT FOR PURCHASE AND SALE OF FUTURE RECEIVABLES (hereinafter “PSFRA”, which together with the
         SELLER AGREEMENT TERMS AND CONDITIONS, the SECURITY AGREEMENT, the PERSONAL GUARANTY(S) OF
         PERFORMANCE, the POWER OF ATTORNEY and any appendices and addenda hereto and executed in conjunction
         herewith, shall be collectively referred to as the “Agreement”), made at the specific insistence and request of Mazzoni
         Center DBA Mazzoni Center ("Seller") on this 11 day of        September , 2024         and made within the State of New
         York, County of Nassau, by and between The LCF Group, Inc., having an office at 3000 Marcus Avenue, Suite 2W15, Lake
         Success, New York 11042 (the "Company"), and Seller, having an office at 1348 Bainbridge Street, Philadelphia,
         Pennsylvania 19147.

         PURCHASE PRICE                   PURCHASED AMOUNT / RTR           PURCHASED PERCENTAGE               TOTAL AMOUNT SELLER WILL RECEIVE++

         $250,000.00                      $362,500.00                      12.00%




         RENEWAL/PAYOFF
         +
                                          FACTOR RATE

                                          1.45
                                                                           ORIGINATION FEES*

                                                                            $15,430.00
                                                                                                              $234,570.00
         COST OF CAPITAL                  MONTHLY MAINTENANCE              DAILY REMITTANCE**
                                          FEE


          $112,500.00                     $195                             $6,041.67


         *Origination Fee Schedule:
         A. Underwriting Fee:                 $ 15,000.00     to cover Underwriting and related expenses.
         B. Account Activation Fee:           $ 395.00    to cover ACH set up costs, UCC filing fee and various related administrative expenses.
         C. Delivery Fee                      $ 35        to cover the cost of delivering the Purchase Price, less fees, to Seller via Fedwire.

         Additional Fee Schedule:
         A. Monthly Maintenance Fee           $195.00             This fee is charged to cover ongoing maintenance and servicing of Seller’s account.
         B. Default Fee:                      $2,500.00           This fee is charged in the event of Seller’s default under the Agreement.
         C. Stop Payment Fee                  $2,500.00           This fee is charged in the event Seller removes Company’s ACH debit access.
         D. Closed Account Fee                $2,500.00           This fee is charged if Seller closes its designated account without Company’s permission.
         E. NSF Fee:                          $35.00              This fee is charged each time an ACH transaction is declined for insufficient funds.
         F. Bank Change fee                   $50.00              This fee is charged each time Seller changes its designated Bank Account.
         G. Subordination Fee:                $500.00             This fee is charged to cover administrative costs upon request that we subordinate
                                                                  our UCC-1.[See Section 1.22(b)]

         ** Daily Remittance represents a good faith estimate of the monetary value of the purchased percentage of daily receipts based upon
         historical information provided by Seller and is subject to adjustment to more precisely reflect the actual purchased percentage of daily
         receipts pursuant to paragraph 1.4 of this Agreement.

         + Renewal/Payoff Amount represents funds paid to satisfy a designated third party.

         ++ This amount is calculated as the Purchase Price less any Fees set forth in the above Fee Schedule.



         WHEREAS, Seller intends to assign, and Company intends to purchase, a portion of Seller's future receivables; and




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         WHEREAS, Seller hereby, for the purchase price set forth above (the "Purchase Price") less any Origination Fees set forth
         above, does sell, demise and assign the Purchased Percentage of Seller's future receivables, future accounts, future contract
         rights and other future obligations arising from or relating to the future payment of monies received by Seller (collectively
         “Future Receipts”), as set forth below (the "Purchased Percentage"), to Company, whether the proceeds are paid by Cash,
         ACH, Check, Credit Card, Debit Card, Bank Card, Charge Card, PayPal, Venmo, Zelle, electronic transfer or any other form of
         payment in the ordinary course of the Seller’s business, for the payment of Seller’s sale of goods or services (collectively, the
         "Purchased Amount" or “RTR”) until the Company has received the specified Purchased Amount above; and

         WHEREAS, Company acknowledges that its recovery of the Purchased Amount is dependent upon Seller's success and that
         so long as Company receives its Purchased Percentage of Future Sale Proceeds as required hereunder, the amount of time
         necessary for Company to recover the Purchased Amount is indefinite;

         NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
         Seller hereby declares, covenants, and agrees as follows:

         THE TERMS, DEFINITIONS, CONDITIONS AND INFORMATION SET FORTH WITHIN THIS PSFRA, the SELLER
         AGREEMENT TERMS AND CONDITIONS, the SECURITY AGREEMENT, the PERSONAL GUARANTY(S) OF
         PERFORMANCE, the POWER OF ATTORNEY and any appendices and addenda thereto (COLLECTIVELY, THE
         “Agreement”) ARE HEREBY INCORPORATED IN AND MADE A PART OF THIS instrument and it is intended that
         references to the “Agreement” within this PSFRA, the SELLER AGREEMENT TERMS AND CONDITIONS, the SECURITY
         AGREEMENT, the PERSONAL GUARANTY(S) OF PERFORMANCE, the POWER OF ATTORNEY and any appendices and
         addenda thereto are intended to incorporate all terms contained within the aforesaid documents.

         PURCHASE AND SALE OF FUTURE RECEIVABLES: Seller hereby sells, assigns and transfers to Company (making Company
         the absolute owner) in consideration of the Purchase Price specified herein, the Purchased Percentage received by Seller from
         all of Seller's Future Sale Proceeds until the Purchased Amount has been delivered by Seller to Company.

         Seller represents that it is engaged in a commercial enterprise and that this transaction shall only be used for commercial or
         business purposes, in the ordinary course of business, and not for personal, family, or household purposes. Accordingly,
         Seller acknowledges that important duties imposed upon Company, and important rights conferred upon a consumer,
         pursuant to certain federal or state laws, do not apply to this Agreement.

         Seller, being duly authorized to do so, hereby agrees to deposit all Future Sale Proceeds into the following Bank Account (or
         such other Bank Account as may be designated by Seller and approved by the Company prior to the use of such other Bank
         Account pursuant to the provisions hereof) (the "Designated Bank Account"):


                                                         ______________________________                                                             ______________________________




                                                         _________________________________________________________________________________________________________________________




         Seller hereby irrevocably authorizes the Purchased Amount to be delivered to Company by Seller’s Bank and Seller’s Bank is,
         accordingly, authorized to permit Automated Clearing House (“ACH”) debits initiated by Company for the Daily Remittance
         as specified above, or, in the event of reconciliation relating to such Daily Remittance, such other amounts as may be
         appropriate, the source of which shall be Seller’s deposits, revenues and other receipts and that this authorization shall
         continue until such time as Company receives the Purchased Amount. Seller hereby authorizes Company to Institute ACH
         Debit transaction(s) and/or “Reverse Wire” transactions for the Daily Remittance or, in the event of reconciliation relating to
         such Daily Remittance, such other amounts as may be appropriate from the Seller’s Bank Account on a daily basis and will
         provide Seller with any and all required authorizations and/or access codes to effectuate such ACH Debit. Seller further
         agrees, as more particularly set forth within the TERMS AND CONDITIONS, to provide to Company any and all monthly bank
         and Merchant Processing statements upon Company’s request. Company is not responsible for any overdrafts or rejected
         transactions that may result from Company ACH debiting the specified amounts due under the terms of this Agreement.
         Notwithstanding anything to the contrary in this Agreement or any other agreement between Company and Seller, upon the
         violation of any provision contained within Section 1.12 of the SELLER AGREEMENT TERMS AND CONDITIONS, or the
         occurrence of an Event of Default under any other provision of the SELLER AGREEMENT TERMS AND CONDITIONS, the
         specified Purchased Percentage shall be increased to 100% and any undelivered Purchased Amount shall become
         immediately due in its entirety together with any additional liquidated default and collection fees provided for herein or
         within the SELLER AGREEMENT TERMS AND CONDITIONS, the SECURITY AGREEMENT, the PERSONAL GUARANTY(S) OF


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         PERFORMANCE, the POWER OF ATTORNEY and any appendices and addenda thereto, and Company shall be entitled to such
         amounts together with any other legally permissible remedies and relief from the date of such Event of Default.

         To the extent set forth herein, each of the parties is obligated upon their execution of the Agreement to all terms of the
         Agreement, including the Additional Terms set forth within the SELLER AGREEMENT TERMS AND CONDITIONS, THE
         SECURITY AGREEMENT, THE PERFORMANCE GUARANTY, THE POWER OF ATTORNEY AND ANY OTHER EXHIBITS
         AND/OR APPENDICES HERETO. Each of the undersigned Seller and Owner/Guarantor represents that they are authorized
         to sign this Agreement for Seller, legally binding said Seller to honor this obligation and that the information provided herein
         and in all Company documents, forms and interviews is true, accurate and complete in all respects. If any such information is
         deemed to be materially false or misleading, Seller shall be considered to have material breached all agreements between
         Seller and Company, and Company shall be entitled to all remedies available under this Agreement and/or applicable law. An
         investigative or credit report may be obtained in connection with the Agreement. Seller and each of the performance
         guarantors signing this Agreement authorize Company, its agents and representatives and any credit reporting agency
         engaged by Company, at any time now or for so long as Seller and/or Performance Guarantor continue to have any
         obligations to Company as a consequence of this Agreement or for Company’s ability to determine Seller’s eligibility to enter
         into any future agreement with Company to: (i) investigate any references given or any other statements or data obtained
         from or about Seller or any of its Owners for the purpose of this Agreement;




                                                  [Remainder of Page Intentionally Left Blank]




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         (ii) obtain consumer and business credit reports on the Seller and any of its Owners; and (iii) to contact personal and business
         references provided by the Seller in the application.

         ANY MISREPRESENTATION MADE BY SELLER OR ANY AGENT OF SELLER IN CONNECTION WITH OR IN THE
         PROCUREMENT OF THIS AGREEMENT SHALL CONSTITUTE AN IMMEDIATE DEFAULT HEREUNDER.

         SELLER #1
                     [sig|req|signer1]
         By:______________________________                                                                                                                                          THE LCF GROUP, INC.
            Signature                                                                                                                                                               [legal_signature]
            Rachelle Tritinger / Owner                                                                                                                   (412) 477-5240
                                                                                                                                          Phone Number [text|req|Signer1||Owner_1_Phone__c|phone_number]
              ________________________________________________________________________________________________________________________




            Print Name and Title                                                                                                                                                   _______________________
                                                                                                                                                                                   By: Robert Klieber
                                                           ____________________________________________________________________________



            SS#                                                                                                                                                                    Title: Chief Operating Officer
         OWNER/GUARANTOR #1
                      [sig|req|signer1]
         By: ______________________________
           Signature
           Rachelle Tritinger / Owner
            _________________________________________________________________________________________________________________________



           Print Name and Title




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         SELLER AGREEMENT TERMS AND CONDITIONS
         These SELLER AGREEMENT TERMS AND CONDITIONS (“Terms”), which incorporate additional terms to the
         AGREEMENT FOR PURCHASE AND SALE OF FUTURE RECEIVABLES, the SECURITY AGREEMENT, the PERSONAL
         GUARANTY(S) OF PERFORMANCE, the POWER OF ATTORNEY and any appendices and addenda hereto and executed
         in conjunction herewith, (which shall be collectively referred to as the “Agreement”) apply to the Agreement and you
         agree and understand that these SELLER AGREEMENT TERMS AND CONDITIONS apply, regardless of their means of
         delivery to you. By entering into the Agreement, you indicate that you have read and accept these SELLER
         AGREEMENT TERMS AND CONDITIONS, including these applicable Additional Terms and agree to abide by and be
         bound by all such Terms (as modified from time to time). Please note that we may change these Terms from time to
         time by delivering such updated Terms via the notice provisions contained within these Terms. We draw your
         attention to the JURY TRIAL WAIVER; COUNTERCLAIM WAIVER; CLASS ACTION WAIVER; CONSENT TO SERVICE and
         ARBITRATION PROVISION contained in Section IV below.

         1. TERMS OF ENROLLMENT IN PROGRAM                                          reconciliation request by Company must be (i) in writing (ii)
                                                                                    request a complete copy of all documents required at the time of
         1.1. Seller Deposit Agreement. Seller shall take all necessary             underwriting in the normal course of business including, but not
         measures acceptable to Company, with a bank acceptable to                  limited to, a copy of Seller’s bank statements and any documents
         Company, to ensure that Company is able to withdraw the                    evidencing Seller’s revenue for the calendar month at issue and
         Purchased Percentage through Automated Clearing House                      (iii) be sent to Seller via electronic mail at the email address
         (“ACH”) debits. Seller shall also, prior to funding and as reasonably      provided by Seller in section 3.3 infra. Seller acknowledges and
         requested from time-to-time, provide Company and/or its                    agrees that the documents referenced in clause (ii) above shall be
         authorized agent with all of the information, documents,                   provided to Company within five (5) days of a Reconciliation
         authorizations and passwords necessary for verifying Seller’s              Request. It is solely the Seller’s responsibility to send complete
         receivables, receipts and deposits into the account. Seller                bank statements. Seller agrees to provide Company any
         authorizes Company and/or its agent(s) to deduct the amounts               reasonable information requested by Company to assist in a
         purchased by Company as specified herein from settlement                   Reconciliation Request. Company shall provide a reconciliation
         amounts which would otherwise be due to Seller from its                    within three (3) business days after receiving a Reconciliation
         revenues and to pay such amounts to Company by permitting                  Request and all reasonable information requested. The adjusted
         Company to withdraw the Purchased Percentage(s) by ACH                     Daily Remittance will be based on Seller’s actual receipts from the
         debiting of the Designated Bank Account. The authorization shall           60-day period immediately prior to the date of the Reconciliation
         be irrevocable without the written consent of Company.                     Request multiplied by the Purchased Percentage (“Adjusted Daily
                                                                                    Remittance”). Following the adjustment of the Daily Remittance,
         1.2. Term of Agreement. This Agreement shall remain in full                Seller shall remit the Adjusted Daily Remittance until such time as
         force and effect until the earlier of: (i) the entire Purchased            a subsequent reconciliation is requested. It is expressly agreed
         Amount and any other amounts due to Company are received by                and understood that a Reconciliation Request will not constitute a
         Company as per the terms of this Agreement; or (ii) the Seller             basis for suspension of Company’s right to deduct the amounts
         shall, not having had a prior event of default hereunder, cease            purchased by Company during its pendency and, subject to the
         business operations in good faith; or (iii) Seller shall, not having       Reconciliation Request, any amounts deducted in excess of the
         had a prior event of default hereunder, be adjudicated                     Adjusted Daily Remittance shall be credited to Seller’s account
         insolvent pursuant to Title 11 of the United States Code or a State        upon completion of the reconciliation. It is further understood
         Insolvency Law.                                                            that the mere presentment of a bank statement by Seller,
                                                                                    unaccompanied by a written request for reconciliation, shall not
         1.3. Future Purchases. Company reserves the right to rescind the           give rise to Buyer’s obligations under this section 1.4.
         offer to make any purchase payments hereunder in its sole
         discretion after which time this Agreement will be cancelled               Seller and Company acknowledge that the Company has
         without further cost to either Company or Seller.                          purchased the RTR on a “non-recourse” basis, such that there is
                                                                                    no set term wherein Company expects to receive the RTR. The
         1.4. Reconciliation of Specific Daily Remittance. The Daily                Company recognizes that the time within which the RTR will be
         Remittance is intended to represent the Purchased Percentage of            recovered may be indefinite or, in the event of a good faith
         Seller’s daily Receipts. Once every fifteen (15) calendar days, in         cessation of Seller’s business operations, see section 1.2 supra, not
         good faith, Seller or Company may request a reconciliation of the          at all.
         Daily Remittance to more closely reflect the Seller’s actual
         Receipts multiplied by the Purchased Percentage. Any                       CALCULATION OF DAILY REMITTANCE. Company calculates a
         reconciliation request by Seller must be: (i) in writing; (ii) include a   dollar amount to be remitted daily by Seller, which amount shall
         complete copy of all documents required at the time of                     be a good-faith estimate of the Purchased Percentage of Seller’s
         underwriting in the normal course of business including, but not           Future Receipts based upon the financial information supplied to
         limited to, a copy of Seller’s bank statements and any documents           Company by Seller (the “Daily Remittance”). Unless modified
         evidencing Seller’s revenue for the calendar month at issue; and           pursuant to this section 1.4 (the "Initial Daily Remittance”).
         (iii) be sent to Company via electronic mail at
         TrueUp@thelcfgroup.com (each a “Reconciliation Request”). Any              1.5. Intentionally omitted.



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                                                                                 therefore by Seller’s customers in the manner provided in Section
         1.6. Financial Condition. Seller and Guarantor authorize                1.1. It is acknowledged that the Seller shall have a fiduciary
         Company and its agents to investigate their financial history and       responsibility for the safekeeping of the Purchased Percentage,
         will provide Company with all financial records as reasonably           whether or not in Seller’s immediate possession or control. Seller
         requested, including, but not limited to, any bank or financial         shall not employ or permit another to employ such Purchased
         statements, tax returns, merchant processing statements and             Percentage in any manner except as provided for herein. Provided
         access to online financial records as Company deems necessary           Seller shall comply with each of its performance obligations
         prior to or at any time after execution of this Agreement. A            hereunder, Seller shall remain in good standing hereunder.
         photocopy of this authorization will be deemed acceptable for
         release of financial information. Company is authorized to update       Notwithstanding any recitation set forth herein, including, but not
         such information and financial profiles from time to time as it         limited to, a recitation of “Annual Percentage Rate” (“APR”)
         deems appropriate.                                                      mandated by applicable law or regulation, it is expressly agreed
                                                                                 and understood by the Company and Seller that in no event shall
         1.7. Transactional History. Seller authorizes their bank(s),            the aggregate of all amounts be deemed as interest hereunder.
         financial institution(s), broker(s) and merchant processor(s) to        The parties acknowledge that it is intended that Seller does not
         provide Company with Seller’s banking or processing history to          pay or contract to pay, and that Company does not receive or
         determine qualification or continuation in this program.                contract to receive, directly or indirectly, in any manner
                                                                                 whatsoever, interest. Nevertheless, In the event a court of
         1.8. Indemnification. Seller and Guarantor jointly and severally        competent jurisdiction determines, notwithstanding the intent of
         indemnify and hold harmless any ACH processor utilized by               the parties to the contrary, that Company has charged or received
         Company, its officers, directors and shareholders against all losses,   interest hereunder in excess of the highest rate allowed by
         damages, claims, liabilities and expenses (including reasonable         applicable law, then the Purchased Amount shall be adjusted
         attorney’s fees) incurred by ACH Processor resulting from: (a)          automatically by operation of this clause, so that the difference
         claims asserted by Company for monies owed to Company from              between the Purchased Amount and the Purchase Price shall, if
         Seller; and (b) actions taken by ACH Processor in reliance upon         expressed as an interest rate over such term of this Agreement as
         information or instructions provided by Company.                        the ruling court has determined to apply, yield a rate equivalent
                                                                                 to the maximum rate permitted by applicable law. Company shall,
         1.9. No Liability. In no event will Company be liable for any           in such case, promptly refund to Seller any amount received by
         claims asserted by Seller under any legal theory for lost profits,      Company in excess of the maximum lawful rate of interest, it
         lost revenues, lost business opportunities, exemplary, punitive,        being intended that Seller not pay or contract to pay, and that
         special, incidental, indirect or consequential damages, each of         Company not receive or contract to receive, directly or indirectly,
         which is waived by Seller and Guarantor.                                in any manner whatsoever, interest in excess of that which may be
                                                                                 paid by Seller under applicable law. For the avoidance of doubt,
         1.10. Sale of Receipts. SELLER IS SELLING A PORTION OF ITS              Seller again acknowledges that Seller is selling a portion of Future
         FUTURE RECEIPTS TO COMPANY AT A DISCOUNT, NOT                           Receipts to Company at a discount and not borrowing money
         BORROWING MONEY FROM COMPANY. THERE IS NO                               from Company. As such, there is no interest rate or payment
         INTEREST RATE OR PAYMENT SCHEDULE AND NO TIME                           schedule and no time period during which the Purchased Amount
         PERIOD DURING WHICH THE PURCHASE AMOUNT MUST BE                         must be collected by Company.
         COLLECTED BY COMPANY. THE GOOD-FAITH CESSATION OF
         BUSINESS OPERATIONS, AN EVENT OF INSOLVENCY                             By executing this Agreement, Seller hereby represents and
         (INCLUDING, BUT NOT LIMITED TO, FILING FOR PROTECTION                   acknowledges that the Initial Daily Remittance, set forth
         UNDER THE UNITED STATES BANKRUPTCY CODE OR A STATE                      above, accurately represents the Purchased Percentage of
         ASSIGNMENT FOR THE BENEFIT OF CREDITORS ACTION)                         Seller’s Future Receipts.
         SHALL NOT – IN AND OF ITSELF - BE DEEMED AN EVENT OF
         DEFAULT HEREUNDER.            Company is entering into this             1.11. Reliance on Terms. Sections 1.1, 1.8, 1.9 and 2.5 of this
         Agreement knowing the risks that Seller’s business may                  Agreement are agreed to for the benefit of Seller, Company and
         experience a decrease in revenue or cease operations in good            any ACH processor. ACH processors are an intended third-party
         faith and Company assumes these risks based on Seller’s                 beneficiary of said provisions and may rely upon their terms for
         representations, warranties and covenants in this Agreement,            any purpose whatsoever, including, but not limited to, interposing
         which are designed to give Company a reasonable and fair                this indemnification as a defense in any legal action.
         opportunity to receive the benefit of its bargain. Seller and
         Company agree that the Purchase Price under this Agreement is           1.12. Power of Attorney. Seller irrevocably appoints Company as
         in exchange for the Purchased Amount and that such Purchase             its agent and attorney-in-fact with full authority to take any action
         Price is not intended to be, nor shall it be, construed as a loan       or execute any instrument or document to settle all obligations
         from Company to Seller. Seller agrees that the Purchase Price is in     due to Company under this Agreement, including, without
         exchange for a percentage of Seller’s Future Receipts pursuant to       limitation, (i) to obtain and adjust insurance at Company’s
         this Agreement and equals the fair market and present value of          expense; (ii) to collect monies due or to become due under or in
         such Receipts. Company has purchased and shall own all the              respect of any of the Collateral; (ii) to receive, endorse and collect
         Receipts described in this Agreement up to the full Purchased           any checks, notes, drafts, instruments, documents or chattel paper
         Amount as the Receipts are created. Payments made to Company            in connection with clause (i) above; (iii) to cancel, modify,
         in respect to the full amount of the Receipts shall be conditioned      repudiate or terminate any contractor agreement; (iv) to sign
         upon Seller’s sale of products and/or services and the payment          Seller’s name on any invoice, bill of lading, or assignment




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         directing customers or account debtors to make payment directly           pursuant to documentation satisfactory to Company unless any
         to Company; (v) to file any claims or take any action or institute        such transfer occurs in conjunction with a good-faith filing
         any proceeding which Company may deem necessary for the                   pursuant to Title 11 of the United States Code;
         collection of any of the undelivered Purchased Amount from the
         Collateral, or otherwise to enforce its rights with respect to            (f) Seller takes any action, fails to take any action, or offers any
         payment of the Purchased Amount; (vi) to obtain information               incentive - economic or otherwise – the result of which will be to
         concerning any deposit account(s) maintained by Seller directly           induce any customer(s) to pay for Seller’s products and/or services
         from the financial institution(s) maintaining such account(s)             with any means other than payments, checks, or deposits that are
         including, but not limited to, balances and account numbers; (viii)       settled through the Designated Bank Account(s);
         to direct the payment of the proceeds of any such deposit
         account(s) to Company or Company’s designee or Company’s                  (g) Seller fails to respond to any communications, including
         nominee.                                                                  electronic mail communications, initiated by Company concerning
                                                                                   any dishonor of any ACH debit initiated by Company for a period
         Seller, likewise, irrevocably appoints Company as its agent and           exceeding 72 hours or 2 business days, whichever is longer;
         attorney-in-fact with full authority to take any action or execute
         any instrument or document to settle all obligations due to               (h) Seller shall violate any term or covenant in this Agreement;
         Company in the event of a violation by Seller of section 1.13 or
         the occurrence of an Event of Default under any provision hereof          (i) Any representation or warranty by Seller in this Agreement or
         by Seller.                                                                in the underwriting of this Agreement shall prove to have been
                                                                                   false or misleading in any material respect when made;
         1.13. EVENTS OF DEFAULT. The following events shall constitute
         an event of default and the Company may utilize any and all               (j) Seller shall have a fiduciary obligation to safeguard Company’s
         remedies listed or any other remedy available to it under                 Purchased Percentage and insure Company’s receipt of same in
         applicable law or equity, with or without notice, to address such         accordance with the terms of this Agreement;
         default(s):
                                                                                   (k) Seller shall, without notice to Company, transport, move,
         (a) Seller takes any action, fails to prevent any action or permits       interrupt, suspend, dissolve, or terminate its business without a
         any action which frustrates the Company’s use of electronic check,        good-faith basis;
         ACH processing or Seller Account “Split” to settle any obligations
         due pursuant to this Agreement;                                           (l) Seller shall use multiple depository accounts without the
                                                                                   Company’s prior written consent;
         (b) Seller takes any action, fails to prevent any action or permits
         any action which frustrates Company’s ability to retrieve its             (m) Seller shall change the Designated Bank Account without the
         designated percentage of receivables from Seller including, but           Company’s prior written consent;
         not limited to, directing its financial institution to dishonor ACH
         debits originated by Company. It is expressly agreed and                  (n) Seller shall default under any of the terms, covenants, and
         understood that should Company receive an ACH return code of              conditions of any other agreement with Company;
         R02, R05, R07, R08, R10, R11, or R29, or such other return code
         that shall replace any of the foregoing as defined at the time of         (o) Seller or Guarantor shall attempt to repudiate any of its
         this Agreement, as a result of any ACH debit initiated pursuant to        obligations hereunder;
         the Agreement, that such return code shall, in and of itself,
         constitute an event of deliberate default hereunder;                      (p) Seller shall utilize its business bank or financial account(s) for
                                                                                   non-business-related expenses;
         (c) Seller fails to rectify or provide a replacement Designated Bank
         Account within three (3) business days of Company receiving an            (q) Failure of Seller to comply with its obligations pursuant to
         R16 ACH return code;                                                      paragraph 1.20, infra; or

         (d) Seller changes the merchant processor through which its sales         (r) Seller shall fail to provide Company with any requested bank or
         are settled to another merchant processor, or permits any event           financial statements within three (3) business days of such request
         to occur that could cause diversion of any of Seller’s sales to           by Company.
         another Merchant Processor without seven (7) days advance
         notice to Company;                                                        1.14. Remedies.
                                                                                   (I) If any Event of Default occurs, Company may utilize, but is not
         (e) Seller voluntarily interrupts the operation of its business in bad    limited to, all remedies set forth within this section 1.14. All rights,
         faith (e.g., other than good-faith business failure, casualty, state of   powers and remedies of Company in connection with this
         emergency, natural disasters, acts of God or other good-faith             Agreement may be exercised at any time by Company after the
         basis which Seller has communicated, within forty-eight (48) hours        occurrence of an Event of Default, are cumulative and not
         of its occurrence and in writing, to Company), transfers, moves,          exclusive, and shall be in addition to any other rights, powers or
         sells, disposes, transfers or otherwise conveys its business or           remedies provided by law or equity, to wit:
         assets without: (i) the express prior written consent of Company;
         and (ii) the written agreement of any purchaser or transferee to          (a) proceed to protect and enforce its rights or remedies by
         the assumption of all of Seller’s obligations under this Agreement        Confession of Judgment, Confession of Award or similar process




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         (as permitted by law), or by suit in equity and/or by action at law
         or by arbitration proceeding, whether for the specific performance      (II) In addition to any of the aforementioned remedies, Seller shall
         of any covenant, agreement or other provision contained herein,         pay to Company all reasonable costs, including, but not limited to,
         injunction, or to enforce the discharge of Seller’s obligations         all reasonable attorney’s fees and court costs, associated with: (i) a
         hereunder (including the Personal Guarantee) or any other legal         breach by Seller of the covenants in this Agreement and the
         or equitable right or remedy in the amount of the Purchase              enforcement thereof; (ii) the enforcement of Company’s remedies
         Amount stated in the Agreement together with all fees due under         set forth within this section 1.14 and with respect to Company’s
         this Agreement and the attached Security Agreement, including,          enforcement of those remedies, it is expressly agreed and
         but not limited to, any collection fees, default fees, and costs, and   understood that the Company’s collection fees shall be liquidated
         deem such amounts due and payable in full immediately;                  at the sum of 33.33% of any amounts due to Company and that
                                                                                 such liquidated amount shall not be construed as a penalty; and
         (b) immediately liquidate and deem due the full uncollected             (iii) the defense of any action or proceeding commenced against
         Purchase Amount plus all fees due under this Agreement, and the         Company with respect to this Agreement by Seller or any third
         attached Security Agreement including, but not limited to, any          party. Each of the above additional remedies are intended to be
         collection or default fees, and deem such amounts due and               cumulative. In addition to the foregoing, Company shall also be
         payable in full immediately;                                            entitled to the following fees, as applicable:

         (c) enforce the provisions of the Personal Guarantee of                 (a) Each time a payment is rejected for insufficient funds an NSF
         Performance against the Guarantor(s). It is expressly agreed and        Fee of $35.00 is charged;
         understood that in conjunction with this provision, Company may
         disclose personal identifying information including, but not            (b) On the first instance of any ACH Debit being rejected with a
         limited to, the social security number of any guarantor(s) to third     National Automated Clearing House Association (“NACHA”) return
         parties with which Company communicates in its exercising of any        code of R05, R07, R08, R10, R11, or R29, or such other return code
         remedies available to Company;                                          that shall replace any of the foregoing as defined at the time of
                                                                                 this Agreement, a “Stop Payment” fee of $2,500.00 is charged
         (d) enforce its security interest in the collateral. It is expressly    (“Stop Payment Fee”). As applicable, a Stop Payment Fee shall be
         agreed and understood that in conjunction with this provision,          assessed for each Designated Bank Account provided by Seller for
         Company may disclose identifying information, including, but not        which an R05, R07, R08, R10, R11, or R29 code is returned;
         limited to, the FEIN Number or Social Security Number of Seller or
         any guarantor(s) to third parties with which Company                    (c) On the first occurrence of any event of default, for any reason,
         communicates in its exercising of any remedies available to             a default fee of 10% of any outstanding RTR balance or $2,500.00,
         Company;                                                                whichever is greater, is charged. This is in addition to any other
                                                                                 fees set forth within this Agreement.
         (e) proceed to protect and enforce its rights and remedies by
         lawsuit. In any such lawsuit, if Company prevails against Seller,       (d) the foregoing additional remedies contemplated in this
         Seller shall be liable for all of Company’s associated legal fees,      subsection (II) are in addition to any other remedies provided for
         costs, and expenses, including, but not limited to, all reasonable      herein and the court costs and collection fees liquidated at the
         attorney’s fees and court costs;                                        sum of 33.33% set forth within this section 1.14 are in addition to
                                                                                 any rights of indemnification that Company may be entitled to
         (f) exercise its rights under any assignment of lease without prior     within this Agreement.
         notice to Seller. This Agreement shall be deemed Seller’s
         assignment of Seller’s lease of Seller’s business premises and          (e) The parties acknowledge and agree that a breach of this
         operations to Company;                                                  Agreement will damage Company and that by their nature such
                                                                                 damage(s) are difficult to ascertain. Accordingly, the parties
         (g) debit Seller’s depository accounts, wherever situated, by           acknowledge and agree that the various liquidated damages
         means of ACH debit or facsimile signature on a computer-                provisions in this section 1.14 are reasonable, not a penalty and
         generated check drawn on Seller’s bank account(s) or otherwise          solely intended to compensate Company for damages incurred.
         for all sums due to Company;
                                                                                 1.15. Required Notifications. Seller shall give Company written
         (h) utilize the Power of Attorney accompanying this Agreement to        notice within 24 hours of any filing under Title 11 of the United
         direct the payment of any amounts due to the Company directly           States Code. Seller is required to give Company seven (7) days’
         from any receivable or deposit account due to the Company;              written notice prior to the closing of any sale of all or substantially
                                                                                 all of the Seller’s assets or stock.
         (i) Seller acknowledges and admits that it has a fiduciary
         obligation to safeguard and segregate the Future Sales purchased        1.16. Publicity. Seller and each of Seller’s owners and all
         in conjunction with this Agreement. Company shall, therefore, be        guarantors hereby authorize Company to use its, his or her name
         entitled (in addition to any other remedy to which it may be            in listings of clients and in advertising and marketing materials.
         entitled in law or in equity) to injunctive relief and/or specific
         performance to enforce such obligations, and if any action should       1.17. D/B/As. Seller hereby acknowledges and agrees that
         be brought in equity to enforce any of the provisions of this           Company may be using “doing business as” or d/b/a names in
         Agreement, none of the parties hereto shall raise the defense that      connection with various matters relating to the transaction
         there is an adequate remedy at law.                                     between Company and Seller including but not limited to the




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         filing of UCC-1 financing statements.                                    unlicensed agent (“Agent”) to communicate with reference to
                                                                                  Seller’s obligations under this Agreement without the express
         1.18. Application of Payments. Subject to applicable law and             written consent of Company, and that in no event shall Company
         generally accepted accounting principles, Company reserves the           communicate with any such Agent irrespective of any
         right to apply payments in any manner Company chooses.                   authorizations that may be provided to Company absent such
                                                                                  required written consent. Seller further agrees and understands
         1.19. Inspection of Collateral and Place of Business;                    that it shall be required to disclose any and all fees and contracts,
         Accounting. Company or its designated representatives and                proposed or otherwise, relative to any such Agent, and hereby
         agents shall have the right, during Seller’s normal business hours,      directs such Agent to disclose any and all fees, contracts and
         and at any other reasonable times and without notice to Seller, to       communications between Agent and Seller to Company.
         examine Company’s bank and merchant processing statements
         and/or the collateral where located and the interior and exterior        1.22. Additional Costs.
         of any of Seller’s places of business. Any such examination of any       (a) Monthly Program Fee. In addition to the other fees provided
         of Seller’s business may include, among other things, whether            for herein, Company shall be entitled, without notice or invoice, to
         Seller: (a) has a place of business that is separate from any            a nonrefundable monthly maintenance fee of $195.00 to be
         personal residence; (b) is open for business; (c) has sufficient         collected via ACH Debit and which shall be due for each month, or
         inventory to conduct its business; and (d) has one or more point-        portion thereof, during the term of this Agreement. Said fee shall
         of-sale terminals to process credit, debit, and/or bank card             be due and owing upon the first mensiversary of the date of this
         transactions. When performing an examination, Company or its             Agreement and on every mensiversary of the date of this
         designated representatives and agents may photograph the                 Agreement while Seller maintains a balance due to Company.
         interior and exterior of any of Seller’s places of business, including   Each monthly maintenance fee shall be earned upon Company’s
         any signage and point-of-sale terminals, and may photograph any          receipt thereof in consideration of Company's accepting this
         principal of the Seller. Company or any of its agents shall have the     engagement and servicing the instant transaction as described
         right to inspect, audit, check, and make extracts from any copies        herein and shall in no way be deemed to represent a diminution
         of the books, records, journals, orders, receipts, and/or                of the purchase price set forth herein. It is hereby agreed and
         correspondence that relate to Seller’s accounts or other                 acknowledged that this monthly program fee represents the fair
         transactions between the parties thereto and the general financial       and reasonable cost incurred by the Company in its ongoing
         condition of Seller, and Company may remove any of such records          servicing.
         temporarily for the purpose of having copies made thereof.
         Company shall have the right to hire a Certified Public                  (b) UCC subordination fee. In addition to the other fees provided
         Accountant, licensed in the state where the business is located, to      for herein, Company shall be entitled, without notice or invoice,
         perform analysis of the accounting records for the purpose of            and at Company’s sole discretion, to a nonrefundable fee of $500
         determining if the Purchased Percentage of receipts has been             each time Company subordinates Company’s security interest to
         made available for remittance to Company. Seller hereby agrees           another party.
         to fully cooperate with such analysis upon the Company’s request.
         In furtherance of the above, Seller agrees to provide current Bank       (c) Bank Change Fee- $50.00 --- This fee is charged each time
         and Merchant Processing account statement(s) upon Company’s              when Seller requires a change of bank account to be debited,
         Request together with real-time access to any and all of Seller’s        requiring Company to adjust its system.
         bank, deposit, merchant or other financial account(s) via an online
         banking aggregation service, including, but not limited to,              II. REPRESENTATIONS, WARRANTIES AND COVENANTS. Seller
         upSWOT, Decision Logic and Plaid, provided by Company to                 represents warrants and covenants that, as of this date, and,
         Seller at the time of underwriting or via the on-line portal of          unless expressly stated otherwise during the term of this
         Seller’s financial institution(s) (collectively, the “Online Bank        Agreement:
         Access”). It is agreed and understood that Company shall be
         entitled, and may at its sole discretion, periodically monitor           2.1. Financial Condition and Financial Information. Seller’s and
         Seller’s financial account(s) whether or not such account(s) were        Guarantor’s bank and financial statements, copies of which have
         disclosed prior to entering into the Agreement, via Online Bank          been furnished to Company, and future statements which will be
         Access, that the ability to access such information is a material        furnished to Company hereafter UPON REASONABLE REQUEST of
         term of consideration under this Agreement and that the                  Company are genuine and fairly represent the Average Daily
         withholding or removal of such access shall, upon five (5) days’         Receipts of Seller at such dates and since those dates there have
         written notice, constitute a material breach of this Agreement.          been no material adverse changes, financial or otherwise, in such
                                                                                  condition, operation or ownership of Seller. Seller further
         1.20. Overages. Seller hereby acknowledges and agrees that, in           represents that it has disclosed any and all Bank and Merchant
         the event of any renewal of the Program, any payment overages            Processing Accounts maintained by Seller and/or its affiliates to
         shall be applied to its renewal balance unless otherwise requested       Company. Seller and Guarantor affirmatively represent that they
         prior to such renewal. In the event Seller does not opt to renew         are in compliance and shall remain in compliance and not in
         its participation in the Program, overages (if any) shall be returned    default of any contractual obligations. Seller and Guarantor have
         within a reasonable time after completion of the Program and             a continuing affirmative obligation to inform Company of any
         after satisfaction of any and all fees and costs provided herein.        material adverse change in their Average Daily Receipts, operation
                                                                                  or ownership. Company may request statements at any time
         1.21. Third Party Agents. Seller hereby acknowledges and                 during the performance of this Agreement and the Seller and
         agrees that it shall not utilize, retain or otherwise engage any         Guarantor shall provide them to Company within three (3)




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         business days of such a request. Failure to do so is a material        purchase of, a loan against, collateral against or the sale or
         breach of this Agreement.                                              purchase of credits against, Future Receipts or future check sales
                                                                                with any party other than Company without Company’s prior
         2.2. Governmental Approvals. Seller is in compliance and shall         written approval.
         remain in compliance with all laws. Seller represents that it holds
         all necessary permits, licenses, and authorizations to operate, own    2.9. Unencumbered Receipts. Seller has good, complete and
         and lease its properties and to conduct the business in which it is    marketable title to all Future Receipts, free and clear of any and all
         presently engaged and/or will engage in hereafter.                     liabilities, liens, claims, changes, restrictions, conditions, options,
                                                                                rights, mortgages, security interests, equities, pledges and
         2.3. Authorization. Seller and the person(s) signing this              encumbrances of any kind or nature whatsoever or any other
         Agreement on behalf of Seller have full power and authority to         rights or interests that may be inconsistent with the transactions
         incur and perform the obligations under this Agreement, all of         contemplated with, or adverse to, the Company’s interests. Seller
         which have been duly authorized.                                       shall disclose to Company any additional funding pursuant to any
                                                                                similar agreement presently in effect.
         2.4. Insurance. Company reserves the right to take insurance at
         Company’s expense.                                                     2.10. Business Purpose. Seller represents that it is a valid
                                                                                business presently operating and in good standing under all of its
         2.5. Processing and Banking Agreement. Seller will not change          contractual obligations and under the laws of the jurisdictions in
         its Merchant Processor, financial institution or bank account(s) or    which it is organized and/or operates, and Seller is entering into
         take any other action (“Changes”) that could have an adverse           this Agreement for commercial / business purposes and not as a
         effect upon Seller’s obligations under this Agreement, including       consumer for personal, family or household purposes. Seller
         but not limited to, restricting Company’s ability to withdraw ACH      further represents that no aspect(s) of its business are presently
         payments from Seller’s account(s), without Company’s prior             impaired.
         written consent, and shall provide Company with written
         authorization(s) as necessary, from time to time, to permit            2.11. Leases. Seller represents that it is in good standing under
         Company to ACH debit Seller’s account. Notwithstanding any of          any premises lease(s) wherein Seller conducts business (“Leased
         the foregoing, it is expressly agreed and understood that any such     Premises”) and that Seller is entitled to remain in possession of
         Changes effectuated without Company’s prior written consent            such Leased Premises for a period of at least 360 days from the
         shall be a material breach of this Agreement.                          date of this Agreement.

         2.6. Change of Name or Location. Seller will not conduct Seller’s      2.12. Default Under Other Contracts. Seller explicitly represents
         businesses under any name other than as disclosed to the               that its execution of and/or performance under this Agreement
         Processor and Company, nor shall Seller change any of its places       will not cause or create an event of default by Seller under any
         of business without Company’s prior written consent.                   contract with another person or entity.

         2.7. No Insolvency. As of the date of this Agreement, Seller           2.13. Simultaneous Funding. Seller hereby represents that it has
         represents that it is operational, operating in the normal course of   not and shall not receive or request any additional funding
         business, is not insolvent and does not contemplate filing for         pursuant to any similar Agreement with any other entity within 30
         bankruptcy or foresee any significant change in circumstances          days hereof and shall not request or receive any additional
         that would negatively impact its projected revenues within the         funding or enter into any factoring arrangement within 30 days
         foreseeable future. Seller further represents that it has not          hereof without Company’s prior written consent.
         consulted with a bankruptcy attorney or debt consolidation
         company within the past six (6) months. Seller also represents         2.14. Good Faith. Seller and Guarantor(s) hereby affirm that Seller
         that: (a) it has not filed or contemplated filing any petition for     is receiving the Purchase Price and selling Company the
         bankruptcy protection under Title 11 of the United States Code;        Purchased Amount in good faith and will use the Purchase Price
         (b)    it has not filed or contemplated filing an insolvency           funds to maintain and grow Seller’s business. Based upon Seller’s
         proceeding (sometimes referred to as an “Assignment of the             and Guarantor’s calculations and experience in operating Seller’s
         Benefit of Creditors”) pursuant to federal or any state law; and       business, Seller and Guarantor(s) are confident that the Purchase
         that (c) there is no involuntary petition for bankruptcy protection    Price paid by Company in exchange for the Purchased Amount of
         under Title 11 of the United States Code brought or pending            Future Receipts constitutes fair consideration for the present value
         against Seller, nor does Seller anticipate that an involuntary         of such Future Receipts and will be used in a manner that will
         petition will be filed against it.                                     benefit Seller’s current and future business operations.

         NOTWITHSTANDING ANY OF THE FOREGOING WHICH MAY                         III. MISCELLANEOUS
         SUGGEST THE CONTRARY, IT IS EXPRESSLY AGREED AND
         UNDERSTOOD THAT A BANKRUPTCY OR INSOLVENCY FILING                      3.1. Modifications; Agreements. No modification, amendment,
         BY SELLER SHALL NOT, IN AND OF ITSELF, CONSTITUTE A                    waiver, or consent of any provision of this Agreement shall be
         DEFAULT HEREUNDER.                                                     effective unless the same shall be in writing and signed by
                                                                                Company.
         2.8. Working Capital Funding. Seller shall not enter into any
         arrangement, agreement or commitment that relates to or                3.2. Assignment. Company may assign, transfer, or sell its rights
         involves the Future Receipts or invoices, whether in the form of a     to receive the Purchased Amount or delegate its duties




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         hereunder, either in whole or in part.                                  State of New York, County of Nassau (the “Acceptable Forums”).
                                                                                 Seller agrees that the Acceptable Forums are convenient to it and
         3.3. Notices. Except as otherwise provided in this Agreement, all       submits to the jurisdiction of the Acceptable Forums and waives
         notices and other communications hereunder shall be deemed to           any and all objections to jurisdiction or venue. Seller further
         have been sufficiently given when sent via electronic mail to           submits to the jurisdiction of the Acceptable Forums over all
         rtritinger@mazzonicenter.org and legal@thelcfgroup.com and/or           depository accounts irrespective of their location or whether the
         when mailed, postage prepaid, via 2-3 day shipping through a            subject banking institution deems themselves a separate entity.
         nationally recognized courier, including, but not limited to, the       Should such proceeding be initiated in any other forum, Seller
         USPS, FedEx or UPS, such notices or communications to be                waives any right to oppose any motion or application made by
         addressed as follows:                                                   Company to transfer such proceeding to an Acceptable Forum.

         If to LCF:                                                              3.6. Survival of Representation, etc. All representations,
                                                                                 warranties and covenants herein shall survive the execution and
         THE LCF GROUP, INC.                                                     delivery of this Agreement and shall continue in full force until all
         Attn: Legal Department                                                  obligations under this Agreement shall have been satisfied in full
         3000 Marcus Avenue, Suite 2W15                                          and this Agreement shall have terminated.
         Lake Success, NY 11042
         legal@thelcfgroup.com                                                   3.7. Severability. If any of the provisions in this Agreement are
                                                                                 found to be invalid, illegal, or unenforceable in any respect, the
         If to Obligor(s):                                                       validity, legality, and enforceability of any other provision
                                                                                 contained herein shall not in any way be affected or impaired.
         1348 Bainbridge Street,
         Philadelphia, Pennsylvania 19147                                        3.8. Interpretation. All parties acknowledge that: (i) they
         rtritinger@mazzonicenter.org                                            understand the seriousness of the provisions of this Agreement,
                                                                                 including, but not limited to, that this Agreement constitutes a
         or at such other address as the party to whom such notice or            non-recourse purchase and sale of future receivables, and that
         demand Is directed may have designated in writing to the other          this Agreement includes a Jury Trial Waiver, a provision providing
         party hereto by notice as provided in this Section 3.3. Each of the     for the arbitration of disputes, a waiver on class, collective and/or
         parties hereto shall have the right to rely on written notice sent by   representative actions, a Security Agreement and Guaranty(s) of
         electronic mail as an original notice given hereunder. Each of the      performance of Seller’s obligations under the Agreement hereon;
         signatories to this Agreement irrevocably consents to service of        and (ii) all parties and signatories have had a full opportunity to
         process by Certified Mail at the address listed with the Notices        consult with counsel of their choice in their preferred language or
         provision of this Agreement contained within this paragraph. Each       have decided not to avail themselves of that opportunity. The
         of the signatories to this Agreement agrees that its submission to      parties to this Agreement acknowledge that this Agreement is a
         jurisdiction and consent to service of process by mail is made for      result of extensive negotiations between the parties and that this
         the express benefit of each of the other signatories to this            Agreement shall be construed without regard to any presumption
         Agreement.                                                              or rule requiring construction or interpretation against the party
                                                                                 drafting or causing any instrument to be drafted.
         3.4. Waiver of Remedies. No failure on the part of Company to
         exercise, and no delay in exercising, any right under this                3.9. Monitoring, Recording and Solicitations. Seller and
         Agreement shall operate as a waiver thereof, nor shall any single       Guarantor authorize Company, its affiliates, agents, marketing
         or partial exercise of any right under this Agreement preclude any      partners and independent contractors to contact Seller and
         other or further exercise thereof or the exercise of any other right.   Guarantor at any telephone number Seller or Guarantor provides
         The remedies provided hereunder are cumulative and not                  to Company or from which Seller or Guarantor places a call to
         exclusive of any remedies provided by law or equity.                    Company or any telephone number where Company believes it
                                                                                 may reach Seller or Guarantor, using any means of
         3.5. Binding Effect; Governing Law, Venue and Jurisdiction.             communication including, but not limited to, calls or text
         This Agreement shall be binding upon and inure to the benefit of        messages to mobile, cellular, wireless or similar devices or calls or
         Seller, Company and their respective successors and assigns,            text messages using an automated telephone dialing system
         except that Seller shall not have the right to assign its rights        and/or artificial voices or prerecorded messages, even if Seller or
         hereunder or any interest herein without the Company’s prior            Guarantor incurs charges for receiving such communications.
         written consent which consent may be withheld in Company’s sole         Seller and Guarantor also agree that Company, its affiliates,
         discretion. Company reserves the rights to assign this Agreement        agents, and independent contractors may use any other medium
         with or without prior written notice to Seller. This Agreement shall    not prohibited by law including, but not limited to, mail, email,
         be governed by and construed in accordance with the procedural          and facsimile to contact Seller or Guarantor. Seller or Guarantor
         and substantive laws of the State of New York, without regard to        expressly consent to conduct business by electronic means. Seller
         any applicable principles of conflicts of law. Any suit, action or      acknowledges and agrees that Company may monitor and/or
         proceeding arising hereunder, or the interpretation, performance        record any communications and Seller consents to such
         or breach hereof, shall, if Company so elects, be instituted in the     monitoring and/or recording by Company. Seller or Guarantor are
         state courts located within the State of New York, County of            not required to agree to this section 3.9 in order to enter into this
         Nassau and/or those federal courts having jurisdiction over the         Agreement. If Seller or Guarantor wish to opt out of this section
                                                                                 3.9 or wish to change how Company contacts them for marketing




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         purposes, such request shall be made in writing in accordance           and enforcement, the delinquent party will be responsible for any
         with the notice provisions of this Agreement.                           attorney, court or other fees associated with such action. The
                                                                                 parties agree to split all Mediation and Civil Arbitration, Inc. d/b/a
         IV. JURY TRIAL WAIVER; COUNTERCLAIM WAIVER; CLASS                       RapidRuling fees evenly and the commencing party shall be
         ACTION WAIVER; CONSENT TO SERVICE; ARBITRATION.                         entitled to any unreimbursed monies paid on behalf of the non-
                                                                                 commencing party within any award.
         4.1 JURY TRIAL WAIVER. The parties hereto waive trial by jury in
         any court in any suit, action or proceeding on any matter arising
         in connection with or in any way related to the transactions of                  [Remainder of Page Intentionally Left Blank]
         which this Agreement is a part or the enforcement hereof. The
         parties hereto acknowledge that each makes this waiver
         knowingly, willingly, and voluntarily and without duress, and only
         after extensive consideration of the ramifications of this waiver
         with their attorneys.

         4.2 CLASS ACTION WAIVER. The parties hereto waive any right
         to assert any claims against the other party as a representative or
         member in any class, representative or collective action, except
         where such waiver is prohibited by law as against public policy. To
         the extent either party is permitted by law or court of law to
         proceed with a class representative or collective action against the
         other, the parties hereby agree that: (1) the prevailing party shall
         not be entitled to recover attorneys’ fees or costs associated with
         pursuing the class or representative action (notwithstanding any
         other provision in this Agreement); and (2) the party who initiates
         or participates as a member of the class will not submit a claim or
         otherwise participate in any recovery secured through the class,
         collective or representative action.

         4.3. WAIVER OF COUNTERCLAIMS. Seller waives the right to
         interpose any counterclaim in any court in any suit, action or
         proceeding on any matter arising in connection with or in any way
         related to the transactions of which this agreement is a part or the
         enforcement hereof. Seller acknowledges that it makes this waiver
         knowingly, willingly, and voluntarily and without duress, and only
         after extensive consideration of the ramifications of this waiver
         with their attorneys.

         4.4. ARBITRATION. Notwithstanding the foregoing, any dispute,
         claim or controversy arising out of or relating to this Agreement,
         the Security Agreement or the guaranty(s) herein, or the breach of
         any of the said Agreement, Security Agreement or the guaranty(s),
         shall be, at the election of either party, settled by arbitration
         administered by Mediation and Civil Arbitration, Inc. d/b/a
         RapidRuling (www.rapidruling.com) in accordance with its
         Arbitration Rules & Procedures effective at the time a claim is
         made, and judgment on the award rendered by the arbitrator(s)
         may be entered in any court having jurisdiction thereof. An
         election to arbitration by either party shall be deemed effective by
         the commencement of an arbitration proceeding with Mediation
         and Civil Arbitration, Inc. The parties consent to electronic service
         of process, with service to be made to the following email
         addresses              rtritinger@mazzonicenter.org              and
         legal@thelcfgroup.com and/or when mailed, postage prepaid, via
         2-3-day shipping through a nationally recognized courier,
         including, but not limited to, the USPS, FedEx or UPS, such notices
         or communications to be sent to the addresses provided in
         section 3.3 hereof. For the avoidance of doubt, lack of actual
         receipt or refusal to accept delivery shall not affect the
         effectiveness of any such notice or communication provided that
         such notice is properly directed to the above-mentioned email
         address(es). The parties agree that, in the event of confirmation




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         Entire Agreement. Any provision of this Agreement prohibited by law shall be ineffective only to the extent of such prohibition without invalidating
         the remaining provisions hereof. This Agreement together with the Security Agreement, Personal Guaranty of Performance, Power of Attorney and
         any schedules or addenda hereto, unless specifically enumerated within a writing subscribed to by all parties hereto, embody the entire agreement
         between Seller and Company and supersede all prior agreements and understandings, including any representations by Seller’s broker to Seller,
         relating to the subject matter hereof but shall not vitiate, supersede or cancel any concurrent agreement or guaranty presently in effect involving any
         of the parties hereto unless such concurrent agreement or guaranty presently in effect is specifically referenced in an addendum, appendix or exhibit
         executed in conjunction with this Agreement. It is further agreed and understood that Seller is not required to utilize a broker to consummate this
         transaction, that any broker involved in the procurement of this Agreement is an agent of the Seller and that any fees paid by Seller to its broker is
         separate and apart from this Agreement. Any words used in this Agreement in the singular, where the context so permits, shall be deemed to include
         the plural and vice versa. The definitions of words in the singular in this Agreement shall apply to such words when used in the plural where the
         context so permits and vice versa.
         SELLER #1
                     [sig|req|signer1]
         By:______________________________                                                                                                                      THE LCF GROUP, INC.
             Signature                                                                                                                                          [legal_signature]
             Rachelle Tritinger / Owner
              _______________________________________________________________________________________________________________________



               Print Name and Title                                                                                                                             ______________________________________________
                                                                                                                                                                By: Robert Klieber
              _                                               _________________________________________________________________________



            SS#                                                                                                                                                 Title: Chief Operating Officer
         OWNER/GUARANTOR #1
                      [sig|req|signer1]
         By: ______________________________
           Signature
           Rachelle Tritinger / Owner
            _________________________________________________________________________________________________________________________



           Print Name and Title




                                                                                                                                               13                                                 Initials: [$in1]
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            GUARANTY - PERSONAL GUARANTY(S) OF PERFORMANCE
        This PERSONAL GUARANTY OF PERFORMANCE is entered into in conjunction with that certain AGREEMENT FOR
        PURCHASE AND SALE OF FUTURE RECEIVABLES (hereinafter “PSFRA”, which together with the SELLER AGREEMENT
        TERMS AND CONDITIONS, the SECURITY AGREEMENT, the PERSONAL GUARANTY(S) OF PERFORMANCE, the POWER
        OF ATTORNEY and any appendices and addenda hereto and executed in conjunction herewith, shall be collectively
        referred to as the “Agreement”), made at the specific insistence and request of Mazzoni Center DBA Mazzoni Center
        ("Seller") on this 11 day of September, 2024 and made within the State of New York, County of Nassau, by and between The
        LCF Group, Inc., having an office at 3000 Marcus Avenue, Suite 2W15, Lake Success NY 11042 (the "Company"), and Seller,
        having an office at 1348 Bainbridge Street, Philadelphia, Pennsylvania 19147.


            Company is buying the Purchased Amount of Future Receipts               insolvency (including, but not limited to, filing for protection
            knowing the risks that Seller’s business may slow down or fail,         under the United States Bankruptcy Code or a state assignment
            and Company assumes these risks based on Seller’s                       for the benefit of creditors action) shall not – in and of itself - be
                                                                                    deemed an event of default under the Agreement and/or this
            representations, warranties and covenants in the Agreement
                                                                                    Guaranty.
            which are designed to give Company a reasonable and fair
            opportunity to receive the benefit of its bargain.                      Guarantor Waivers. Guarantor hereby expressly waives any
                                                                                    requirement that Company notify Guarantor of any of the
            Guarantor(s) represent that they (i) will derive a direct or indirect   following events and, as such, Guarantor will not be released
            economic benefit from the Agreement; and (ii) are directly or           from their obligations under the Agreement and this Guaranty if
            indirectly involved in the business operations of Seller.               it is not notified of:
                                                                                         i.     Seller’s breach of its performance obligations under
            Accordingly, as further consideration under the Agreement, the                      the Agreement;
            undersigned Guarantor hereby: (i) reaffirms that this Agreement              ii.    any adverse change in Seller’s financial condition or
            evidences the purchase and sale of Receivables and does not                         business;
            constitute a loan; and (ii) unconditionally guarantees to                    iii.   any sale or other disposition of any collateral securing
                                                                                                the Guaranteed Obligations or any other guarantee of
            Company, Seller’s good faith, truthfulness and performance of
                                                                                                the Guaranteed Obligations;
            all of the representations, warranties, covenants made by Seller             iv.    Company’s acceptance of the Agreement; or
            in the Agreement and as each agreement may be renewed,                       v.     any renewal, extension or other modification of the
            amended, extended, or otherwise modified (the “Guaranteed                           Seller Agreement or Seller’s other obligations to
            Obligations”).                                                                      Company.


            Seller and Guarantor acknowledge that this Guaranty is not a            In addition, Company may take any of the following actions
            personal guaranty of payment, but of performance.                       without releasing Guarantor from any of its obligations under
                                                                                    the Agreement:
            Scope of Guaranty. Guarantor’s obligations are due at the time               i.   renew, extend, or otherwise modify the Agreement or
            of any breach by Seller of any representation, warranty, or                       Seller’s other obligations to Company;
            covenant made by Seller in the Agreement. In the event Seller                ii. release Seller from its obligations to Company;
                                                                                         iii. sell, release, impair, waive, or otherwise fail to realize
            fails to perform any of the Guaranteed Obligations, Company
                                                                                               upon any collateral securing the Guaranteed
            may recover from Guarantor(s) for all of Company’s losses,
                                                                                               Obligations or any other guaranty of the Guaranteed
            damages, and remedies specified in section 1.14 of the                             Obligations; and
            Agreement by enforcing its rights under this Guaranty without                iv. foreclose on any collateral securing the Guaranteed
            first seeking to obtain payment from Seller, any other guarantor,                  Obligations or any other guaranty of the Guaranteed
            or any Collateral, Additional Collateral or Cross- Collateral                      Obligations in a manner that impairs or precludes the
            Company may hold pursuant to the Agreement or any other                            right of Guarantor(s) to obtain reimbursement for
                                                                                               payment under the Agreement or this Guaranty. Until
            agreement or guaranty.
                                                                                               the Purchased Amount plus any of Seller’s other
                                                                                               obligations to Company under the Agreement are
            In the event that Company must return any amount paid by                           satisfied, Guarantor(s) shall not seek reimbursement
            Seller or any other guarantor of the Guaranteed Obligations                        from Seller or any other guarantor for any amounts
            because that person has become subject to a proceeding,                            paid by it under this Agreement or Guaranty.
            including, but not limited to, proceedings under the United                        Guarantor(s) permanently waive and shall not seek to
            States Bankruptcy Code or any state counterpart, Guarantor(s)’                     exercise any of the following rights that they may
            obligations under the Agreement and this Guaranty shall                            have against Seller, any other guarantor, or any
            include that amount. For the avoidance of doubt, an event of
                                                                            14                                                      Initials: [$in1]
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                       collateral provided by Seller or any other guarantor,        assert any claims against the other party as a representative or
                       for any amounts paid by it, or acts performed by it,         member in any class, representative, or collective action, except
                       under the Agreement or this Guaranty: a)                     where such waiver is prohibited by law as against public policy.
                       subrogation; b) reimbursement; c) performance; d)
                                                                                    To the extent either party is permitted by law or court of law to
                       indemnification; or e) contribution.
                                                                                    proceed with a class, representative, or collective action against
                                                                                    the other, the parties hereby agree that: (1) the prevailing party
            Guarantor Acknowledgement. Guarantor(s) acknowledge that
                                                                                    shall not be entitled to recover attorneys' fees or costs
            they understand the seriousness of the provisions of this
                                                                                    associated with pursuing the class or representative action
            Guaranty, including, but not limited to, that the Agreement
                                                                                    (notwithstanding any other provision in the Agreement); and (2)
            constitutes a non-recourse purchase and sale of future
                                                                                    the party who initiates or participates as a member of the class
            receivables, and that the Agreement includes a Jury Trial Waiver,
                                                                                    will not submit a claim or otherwise participate in any recovery
            a provision providing for the arbitration of disputes, a waiver on
                                                                                    secured through the class or representative action. Seller and
            class actions, collective and/or representative actions, a Security
                                                                                    Guarantor(s) acknowledge that it makes this waiver knowingly,
            Agreement and Guaranty(s) of performance of Seller’s
                                                                                    willingly, voluntarily, and without duress, and only after
            obligations under the Agreement; and that, prior to entering
                                                                                    extensive consideration of the ramifications of this waiver with
            into the Agreement and this Guaranty, all parties and
                                                                                    their attorneys.
            signatories have had a full opportunity to consult with counsel
            of their choice in their preferred language or have decided not
                                                                                    ARBITRATION. Notwithstanding the foregoing, any dispute,
            to avail themselves of that opportunity. The parties to this
                                                                                    claim, or controversy arising out of or relating to the
            agreement acknowledge that the Agreement is a result of                 Agreement, the Security Agreement, the Power of Attorney(s) or
            extensive negotiations between the parties and that the                 any Guaranty(s) related to the foregoing, or the breach of any of
            Agreement shall be construed without regard to any                      the said Agreement, the Security Agreement, the Power of
            presumption or rule requiring construction or interpretation            Attorney(s) or any Guaranty(s) shall be, at the election of either
            against the party drafting or causing any instrument to be              party, settled by arbitration administered by Mediation and Civil
                                                                                    Arbitration, Inc. d/b/a RapidRuling (www.rapidruling.com) in
            drafted.
                                                                                    accordance with its Arbitration Rules & Procedures effective at
                                                                                    the time a claim is made, and judgment on the award rendered
            Joint and Several Liability. The obligations hereunder of the           by the arbitrator(s) may be entered in any court having
            persons or entities constituting Guarantors under this Guaranty         jurisdiction thereof. An election to arbitrate by either party shall
            are joint and several.                                                  be deemed effective by the commencement of an arbitration
                                                                                    proceeding with Mediation and Civil Arbitration, Inc. d/b/a
            Jurisdiction and Choice of Law. This Guaranty and the rights            RapidRuling. The parties’ consent to electronic service of
                                                                                    process, with service to be made to the following email
            and obligations of the parties hereunder shall be construed in
                                                                                    addresses             rtritinger@mazzonicenter.org              and
            accordance with and governed by the laws of the State of New
                                                                                    legal@thelcfgroup.com and/or when mailed, postage prepaid,
            York. The state courts located In Nassau County, State of New           via 2–3-day shipping through a nationally recognized courier,
            York, and the federal courts within the Eastern District of New         including, but not limited to, the USPS, FedEx or UPS, such
            York (as applicable) shall have exclusive jurisdiction over all legal   notices or communications to be sent to the addresses provided
            proceedings relating to this Guaranty.                                  in section 3.3 of the Agreement (“Notices”). The parties agree
                                                                                    that, in the event of confirmation and enforcement, the
                                                                                    delinquent party will be responsible for any attorney, court, or
            JURY TRIAL WAIVER. The parties hereto waive trial by jury in
                                                                                    other fees associated with such action. The parties agree to split
            any court in any suit, action, or proceeding on any matter              all Mediation and Civil Arbitration, Inc. fees evenly and the
            arising in connection with or in any way related to the                 commencing party shall be entitled to any unreimbursed
            transactions of which the Agreement and/or this Guaranty is a           monies paid on behalf of the non-commencing party within any
            part or the enforcement hereof. The parties hereto acknowledge          award.
            that each makes this waiver knowingly, willingly, voluntarily, and
                                                                                    Notices. Except as otherwise provided in the Agreement and/or
            without duress, and only after extensive consideration of the
                                                                                    this Guaranty, all notices and other communications hereunder
            ramifications of this waiver with their attorneys.
                                                                                    shall be deemed to have been sufficiently given when sent via
                                                                                    electronic   mail     to    rtritinger@mazzonicenter.org  and
            WAIVER OF COUNTERCLAIMS. Seller waives the right to                     legal@thelcfgroup.com and/or when mailed, postage prepaid,
            interpose any counterclaim in any court in any suit, action, or         via 2-3-day shipping through a nationally recognized courier,
            proceeding on any matter arising in connection with or in any           including, but not limited to, the USPS, FedEx or UPS, such
            way related to the transactions of which the Agreement and/or           notices or communications to be addressed as follows:
            this Guaranty is a part or the enforcement hereof. Seller
            acknowledges that it makes this waiver knowingly, willingly,
            voluntarily, and without duress, and only after extensive
            consideration of the ramifications of this waiver with their
            attorneys.

            CLASS ACTION WAIVER. The parties hereto waive any right to



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            •    If to LCF:

                 THE LCF GROUP, INC.
                 Attn: Legal Department
                 3000 Marcus Avenue, Suite 2W15
                 Lake Success, NY 11042
                 legal@thelcfgroup.com

            •    If to Guarantor(s):

                 1348 Bainbridge Street,
                 Philadelphia, Pennsylvania 19147
                 rtritinger@mazzonicenter.org



              or at such other address as the party to whom such notice or
            demand Is directed may have designated in writing to the other
            party hereto by notice as provided in this section. Each of the
            parties hereto shall have the right to rely on written notice sent
            by electronic mail as an original notice given hereunder. Each
            of the signatories to this Guaranty irrevocably consents to
            service of process by Certified Mail at the addresses listed
            within this section. Each of the signatories to this Guaranty
            agrees that its submission to jurisdiction and consent to service
            of process by mail is made for the express benefit of each of the
            other signatories to this Guaranty of process by Certified Mail at
            the addresses listed within this section. Each of the signatories
            to this Guaranty agrees that its submission to jurisdiction and
            consent to service of process by mail is made for the express
            benefit of each of the other signatories to this Guaranty.



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            THE SELLER AGREEMENT TERMS AND CONDITIONS, ALONG WITH ALL DEFINITIONS AND INFORMATION SET FORTH THEREIN ARE
            HEREBY INCORPORATED IN AND MADE A PART OF THIS GUARANTY. CAPITALIZED TERMS NOT DEFINED IN THE SECURITY
            AGREEMENT AND GUARANTY, SHALL HAVE THE MEANING SET FORTH IN THE SELLER AGREEMENT, INCLUDING THE TERMS AND
            CONDITIONS.

            OWNER/GUARANTOR #1
                        [sig|req|signer1]
            By:______________________________                                                                                                                     THE LCF GROUP, INC.
               Signature                                                                                                                                          [legal_signature]
               Rachelle Tritinger / Owner
               ________________________________________________________________________________________________________________________




               Print Name and Title                                                                                                                               _______________________
                                                                                                                                                                  By: Robert Klieber
                                                    ___________________________________________________________________________________



               SS#                                                                                                                                                Title: Chief Operating Officer




                                                                                                                                               17                                              Initials: [$in1]
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                          The LCF Group, Inc. - SECURITY AGREEMENT
         Seller’s Legal Name (“Seller"): Mazzoni Center

         D/B/A: Mazzoni Center

         Federal TAX ID#

         Guarantor(s)’ Legal Name(s) (“Guarantor(s)”): 1334-48 Bainbridge Street LLC EIN:

         Federal TAX ID#

         Personal Guarantor(s)’ Name(s) (“Personal Guarantor(s)”) Rachelle Tritinger

         Social Security#                     , --, --, --

         Physical Address: 1348 Bainbridge Street City: Philadelphia, State: Pennsylvania Zip: 19147


         THIS SECURITY AGREEMENT is entered into by and between THE LCF GROUP, INC. (“LCF” or “Company”), having an office at 3000 Marcus
         Avenue, Suite 2W15, Lake Success NY 11042, and the above-listed Seller(s), having a place of business as listed above, any Guarantor(s) listed
         above (“Guarantor(s)”), having a place of business as listed above, and any Personal Guarantor(s) (“Personal Guarantor(s)”), having a place of
         business as listed above listed above (the Seller, any Guarantor(s), and any Personal Guarantor(s) shall be collectively referred to as,
         “Obligor(s)”, and Obligors together with LCF shall collectively be referred to as, the “Parties”), as security for, and to guarantee the
         performance and observance of, all obligations and agreements of any kind of Obligor(s) to LCF, however evidenced, whether now existing
         or hereafter arising, whether direct or indirect, joint or several, primary or secondary, liquidated or unliquidated, secured or unsecured,
         original or renewed or extended, including, without limitation, those which arise under or in connection with any of the agreements now or
         hereafter in existence (the “Obligations”), the Parties hereto agree that:


         1.   LCF and Seller have entered into one or more agreements
              wherein LCF has purchased a certain sum of Future Receipts            3.   Obligor hereby further grants to LCF a security interest (the
              from Obligor(s). Said agreement(s) may hereafter be                        “Security Interest”) in all of Obligor’s shares in the Seller or
              supplemented, renewed, modified, and/or augmented by                       Guarantor entities, all of Obligor LLC interests in any of the
              way of further agreements for same, in the event of which                  Seller or Guarantor(s) entities, Obligor(s) personal property,
              the instant agreement shall still be considered in full force              tangible and intangible, wherever located, whether now
              and effect (the “Agreement”).                                              owned or hereafter acquired, including, without limitation, all
                                                                                         equipment, Inventory, contract rights, franchise agreements,
         2.   The Future Receipts sold by Seller to Company pursuant to                  copyrights, patents, trade names, trademarks, fixtures,
              this Agreement are “accounts” or “payment intangibles” as                  permits, licenses, accounts receivable, deposit accounts,
              those terms are defined in the Uniform Commercial Code as                  lease rights, and payments due from credit card and bank
              in effect in the state in which the Seller is located (the “UCC”)          card companies or processors, and to the extent not
              and such sale shall constitute and shall be construed and                  otherwise included, all proceeds and products of the
              treated for all purposes as a true and complete sale,                      foregoing, in whatever form including, without limitation, all
              conveying good title to the Future Receipts free and clear of              payments under insurance, whether or not LCF is the loss
              any liens and encumbrances, from Seller to Company. To the                 payee thereof, all proceeds of any governmental taking, and
              extent the Future Receipts are “accounts” or “payment                      any indemnity, warranty, letter of credit (including the right
              intangibles” then: (i) the sale of the Future Receipts creates a           to draw on such letter of credit), or guaranty payable by
              security interest as defined in the UCC; (ii) this Agreement               reason of any default under, loss of, damage to, or otherwise
              constitutes a “security agreement” under the UCC; and (iii)                with respect to, any of the foregoing (collectively, the
              Company has all the rights of a secured party under the UCC                “Collateral”).
              with respect to such Future Receipts. Seller further agrees
              that, with or without an Event of Default, Company may                4.   Obligor(s) will perform all lawful acts which LCF deems
              notify account debtors, or other persons obligated on the                  necessary or desirable to protect the Security Interest or
              Future Receipts, or holding the Future Receipts, of Seller’s               otherwise to carry out the provisions of this Agreement,
              sale of the Future Receipts, and may instruct them to make                 including, but not limited to, the execution of Uniform
              payment or otherwise render performance to or for the                      Commercial Code financing, continuation, amendment and
              benefit of Company.                                                        termination statements, and similar instruments and the



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                procurement of waivers and disclaimers of interest in the                  relating to the Collateral, to the extent set forth therein, to
                Collateral by the owners of any real estate on which the                   perform all of Its Obligations thereunder to the same extent
                Collateral is located. Obligor(s) shall furnish LCF, from time to          as if this Security Agreement had not been executed; and (ii)
                time, upon reasonable request, with financial statements as                the exercise by LCF of any of its rights pursuant to the
                well as written statements and schedules identifying and                   Purchase and Sale of Future Receivables Agreement, this
                describing the Collateral in such detail as LCF may require.               Security Agreement, any Guaranty(s) of performance, any
                                                                                           Power of Attorney or LCF’s obtaining a judgment shall not
         5.     Obligor hereby authorizes LCF to file, without the signature               release any Obligations under this Security Agreement, any
                of Obligor, one or more UCC-1 Financing and/or                             other contracts, or agreements relating to the Collateral.
                Continuation Statements, and amendments thereto, relating
                to the Collateral. Obligor irrevocably appoints LCF as its          6.     The Obligor may not sell, assign, or otherwise transfer any
                authorized representative (coupled with an interest), with full            interest in all or a portion of the Collateral, outside of the
                authority in the place and stead of Obligor and in its name or             ordinary course of business, without first obtaining LCF’s
                otherwise, from time to time, in LCF’s discretion, to take any             written consent. Should such consent be given, Obligor
                action or execute any instrument which LCF may deem                        agrees to account to LCF for the proceeds of any such sale,
                necessary and advisable to accomplish the purposes of this                 to hold such proceeds in trust for LCF, and to pay same to
                Agreement, including, without limitation:                                  LCF to be applied against the Obligations of Obligor to LCF.
                                                                                           Obligor authorizes LCF to track the whereabouts of any
         (i)    to obtain and adjust insurance, at LCF’s expense, required to              Collateral. Obligor represents and warrants that:
                be paid to LCF hereunder;
                                                                                    (i)    all of the Collateral is and shall continue to be located at the
         (ii)   to collect moneys due and to become due under or in                        address set forth above. In the event Obligor utilizes multiple
                respect of any of the Collateral;                                          locations in the ordinary course of business, Collateral shall
                                                                                           continue to be located at said locations;
         (iii) to receive, endorse, and collect any checks, drafts, or other
               instruments, document, or chattel paper in connection with           (ii)   none of the Collateral shall be removed from such location,
               clause (i) or clause (ii) above;                                            outside of the ordinary course of business, unless LCF
                                                                                           receives written notice of such removal, stating the address
         (iv) to sign Obligor’s name on any invoice or bill of lading                      to which such Collateral will be removed, at least thirty (30)
              relating to any account, on drafts against customers, on                     days prior to such removal;
              schedules and assignment of accounts, on notices of
              assignments, financing statements, and other public records,          (iii) Obligor is the lawful owner of the Collateral free from any
              on verification of accounts and on notices to customers and                 adverse lien, security Interest, encumbrance, or any other
              account debtors (including notices directing customers and                  interest whatsoever, and has the sole right to grant a security
              account debtors to make payment directly to LCF); and                       interest therein and will defend the Collateral against dilution
                                                                                          and all claims and demands of all persons;
         (v)    to file any claims or take any action or institute any
                proceeding on behalf of Obligor which LCF may deem                  (iv) Obligor will keep the Collateral free and clear of all
                necessary or desirable for the collection of any of the                  attachments, levies, taxes, liens, security Interests, and
                Collateral or otherwise to enforce the rights of LCF with                encumbrances of every kind and nature;
                respect to any of the Collateral.
                                                                                    (v)    Obligor will not, outside of the ordinary course of business,
                If Obligor fails to perform under any agreement contained                  sell, exchange, or otherwise dispose of the Collateral or any
                herein, LCF may itself perform, or cause performance of, such              of LCF’s rights therein or permit any lien or security interest
                agreement, and the costs and expenses incurred by LCF in                   to attach to same (except the lien created by this
                connection therewith shall be payable by Obligor and shall                 Agreement), without LCF’s prior written consent;
                be fully secured hereby.
                                                                                    (vi) Obligor shall execute any written Instruments and do any
                The powers conferred upon LCF hereunder are solely to                    other acts necessary to effectuate more fully the purposes
                protect its interest in the Collateral and shall not impose any          and provisions of this Agreement, including such instruments
                duty upon LCF to exercise any such powers. LCF shall have                as LCF may require to perfect LCF’s interest therein in any
                no duty to Obligor with respect to the Collateral other than             filing office;
                the duty to use reasonable care in the safe custody of any of
                the Collateral in its possession. Without limiting the              (vii) Obligor will not permit anything to be done that may impair
                generality of the foregoing, LCF, although it may do so at its            or lessen the value of any of the Collateral or the security
                option, shall be under no obligation to Obligor or any other              interest granted by this Agreement;
                party to take any steps necessary to preserve rights in the
                Collateral against other parties or any other rights pertaining     (viii) Obligor will indemnify and hold LCF harmless from all loss,
                to the Collateral, including, without limitation, the                      costs, damage, liability or expense, including reasonable
                performance of Obligor’s obligations under any agreement.                  attorney’s fees, that LCF may sustain or incur to enforce
                                                                                           payment, performance or fulfillment of any of the
                Anything herein to the contrary notwithstanding, (i) Obligor               Obligations secured hereby or In the enforcement of this
                shall remain liable under any contracts and agreements                     Agreement and the priority thereof or in the prosecution or




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                defense of any action or proceeding either against LCF or                  remedy available at law (including those available under the
                Obligor concerning any matter growing out of or in                         provisions of the UCC) or in equity to collect, enforce, or
                connection with this Agreement and/or any of the                           satisfy any obligations then owing, whether by acceleration
                Obligations secured hereby and/or any of the Collateral; and               or otherwise, to wit:

        (ix)    the execution of this Agreement has been duly approved by           (i)    In the event of a Default, LCF may, in its discretion, deem all
                the undersigned in any manner required by law.                             of the Obligations of Obligor immediately due and owing
                                                                                           without further notice and without legal process, and
         7.     Obligor shall maintain insurance covering the Collateral with              immediately take possession of the Collateral in furtherance
                financially sound and reputable insurers, satisfactory to LCF              thereof, sell or otherwise dispose of such Collateral or any
                against such risks as are customarily insured by a business in             part thereof, and pursue any and all further rights and
                the same or similar industry and similarly situated for an                 remedies it may have under the law including, without
                amount not less than the full replacement value of such                    limitation, the rights of a secured party under New York law
                Collateral. All such insurance policies covering property on               and/or the Uniform Commercial Code. Obligor shall pay all
                and after the date the Collateral becomes subject to the                   expenses and reimburse LCF for all expenditures, including
                Security Interest shall be written so as to be payable in the              reasonable attorneys’ fees, collection fees, and legal
                event of loss to LCF and shall provide for at least 30 days                expenses, in connection with LCF’s exercise of any of its
                prior written notice to LCF prior to cancellation or                       rights and remedies under this Agreement;
                modification of each such policy. LCF is hereby appointed as
                Obligor’s irrevocable authorized representative during the          (ii)   In the event any consent, approval, or authorization of any
                term of this Agreement to settle any claims with insurers in               governmental agency shall be necessary to effectuate any
                the event of loss or damage, and, upon an Event of Default                 such sale or sales of the Collateral by LCF, Obligor shall
                under this Agreement, to cancel, assign, or surrender any                  execute such instruments as may be required to obtain such
                insurance policies.                                                        consent, approval, or authorization. After deduction of all
                                                                                           reasonable costs and expenses of collection, custody, sale,
         8.     The following shall constitute events of default (“Default”)               other disposition, delivery, and all other charges (including
                under this Agreement and shall be hereinafter referred to as               reasonable attorneys’ fees) due against the Collateral, any
                “Default” or “Defaults”:                                                   residue of the proceeds of any such sale or other disposition
                                                                                           shall be applied to payment of the Obligations, except as
         (i)    Default or breach by Obligor of any Obligation under any                   otherwise provided by law or directed by any court of
                agreement between Obligor and LCF;                                         competent jurisdiction thereof. Obligor shall be liable for any
                                                                                           deficiency in payment of the Obligations, including all
         (ii)   Obligor’s failure to comply with any of the terms of this                  reasonable costs and expenses of collection, custody, sale,
                Security Agreement;                                                        other disposition, delivery, and all other charges (including
                                                                                           reasonable attorney’s fees) secured by the Collateral;
         (iii) any material representation, warranty, or other statement of
               fact given herein or in any writing at any time furnished by or      (iii) Upon the occurrence of a Default and at any time or times
               on behalf of Obligor to LCF in connection with this                        thereafter, subject to the provisions of applicable law, LCF
               Agreement or otherwise shall be false or misleading in any                 may institute proceedings in any court of competent
               material respect when given;                                               jurisdiction for the appointment of a receiver of the
                                                                                          Collateral or of any part thereof or may by instrument in
         (iv) Any event of default pursuant to the PSFRA entered into in                  writing appoint any person to be receiver of the Collateral or
              conjunction with the instant Security Agreement;                            any part thereof; and any such receiver appointed by
                                                                                          instrument in writing shall have the power to:
         (v)    Judgment or decree is entered appointing a receiver, trustee,       a.    take possession of the Collateral or any part thereof;
                liquidator, or conservator of Obligor or any substantial part
                of its assets by virtue of an allegation of fraud or dishonesty     b.     carry on the business of Obligor;
                engaged in by Obligor;
                                                                                    c.     borrow money on the security of the Collateral required for
         (vi)    a petition under the federal bankruptcy laws or any state                 the maintenance, preservation, or protection of the Collateral
                insolvency law is filed against Obligor or any guarantor of                or any part thereof or for the carrying on of the business of
                the Obligations by virtue of an allegation of fraud or                     Obligor; and
                dishonesty engaged in by Obligor;
                                                                                    d.     sell, lease, or otherwise dispose of the whole or any part of
         (vii) judgments aggregating in excess of $25,000 are rendered                     the Collateral at public auction, by public tender, or by
               against Obligor or any attachments, injunctions, or                         private sale, either for cash or upon credit, at such time and
               executions are issued against any Collateral having an                      upon such terms and conditions as the receiver may
               aggregate value in excess of $25,000; and                                   determine; provided that any such receiver shall be deemed
                                                                                           the agent of Obligor and LCF shall not be in any way
         (viii) Obligor sells or transfers its business, in whole or in part               responsible for any misconduct or negligence of any such
                without prior written consent of LCF.                                      receiver.

         9.     Upon any Event of Default, Company may pursue any




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         10. Obligor shall be liable for, and Company may charge and
             collect all costs and expenses, including, but not limited to,     15. To the extent permitted by law, Obligor hereby waives
             attorney’s fees provided for within this Agreement, which              demand for payment, notice of dishonor or protest, and all
             may be incurred by Company in protecting, preserving, and              other notices of any kind in connection with the Obligations
             enforcing Company’s security interest and rights.                      except notices required hereby, by law or by any other
                                                                                    agreement between Obligor and LCF. LCF may release,
         11. Obligor(s) each agree not to create, incur, assume, or permit          exchange, or modify any Collateral or security which It may
             to exist, directly or indirectly, any lien on or with respect to       from time to time hold and may release, surrender, or modify
             any of the Collateral, the Additional Collateral, or the Cross-        the liability of any third party without giving notice
             Collateral, as applicable without prior written consent of LCF         hereunder to Obligor. Such modifications, changes, renewals,
             and further represent that their execution of and/or                   releases, or other actions shall in no way affect any of the
             performance contemplated under this Agreement will not                 Obligations or Obligor’s other obligations hereunder.
             cause or create an event of default by Obligor(s) under any
             contract with another person or entity.                            16. Obligor will pay, indemnify, and hold harmless LCF from and
                                                                                    against all costs and expenses (including taxes, if any) arising
         12. Company shall have the right to cure Obligor’s default in the          out of or incurred in connection with any transfer of
             payment of rent on the following terms. In the event Obligor           Collateral into or out of the name of LCF.
             is served with papers in an action against Obligor for
             nonpayment of rent or for summary eviction, Company may            17. Obligor(s) each agree to execute any documents or take any
             execute its rights and remedies hereunder and, to the extent           action in connection with this Agreement as LCF deems
             permissible by law, deem this document to act as an                    necessary to perfect or maintain LCF’s priority security
             Assignment of Lease from Obligor to LCF. Obligor also                  interest in the Collateral, together with any Additional
             agrees that Company may enter into an agreement with                   Collateral and Cross-Collateral as the case may be, including
             Obligor’s landlord giving Company the right: (a) to enter              the execution of any account control agreements. Seller and
             Obligor’s premises and take possession of the furnishings,             Guarantor each hereby authorize Company to file any
             fixtures, and equipment therein for the purpose of protecting          financing statements deemed necessary by Company to
             and preserving same; and (b) to assign Obligor’s lease to              perfect or maintain Company’s security interest, which
             another qualified operator capable of operating a business             financing statement may contain notification that Seller and
             comparable to Obligor’s at such premises.                              Guarantor have granted a negative pledge to Company with
                                                                                    respect to the Collateral, the Additional Collateral and the
         13. In the event Obligor shall have defaulted upon its obligations         Cross-Collateral, and that any subsequent lien or may be
             under the Agreement prior to a bankruptcy filing under                 tortiously interfering with Company’s rights.
             Chapters 7, 11, or 13 of the Federal Bankruptcy Code, in
             consideration of the advances made by LCF to Obligor under         18. Except as otherwise provided in this Agreement, all notices
             the Purchase and Sale of Future Receivables Agreement and              and other communications hereunder shall be deemed to
             other good and valuable consideration, Obligor hereby                  have been sufficiently given when sent via electronic mail to
             consents to modification of the automatic stay set forth in 11         rtritinger@mazzonicenter.org and legal@thelcfgroup.com
             U.S.C. §362 to allow LCF to immediately take possession of             and/or when mailed, postage prepaid, by certified or
             the Collateral, sell same, and apply the sale proceeds to the          registered mail, return receipt requested, and the sender
             payment of the Obligations. Obligor understands that LCF is            shall have received such return receipt, or sent by trackable
             making such advances in reliance upon Obligor’s agreement              courier service, such notices or communications to be
             to such modification of the automatic stay.                            addressed as follows:
                                                                                •   If to LCF:
         14. In the event Obligor shall have defaulted upon its obligations
             under the Agreement prior to a bankruptcy filing under                  THE LCF GROUP, INC.
             Chapters 7, 11, or 13 of the Federal Bankruptcy Code, in                Attn: Legal Department
             consideration of the advances made by LCF to Obligor under              3000 Marcus Avenue, Suite 2W15
             the Purchase and Sale of Future Receivables Agreement and               Lake Success, NY 11042
             other good and valuable consideration, Obligor shall                    legal@thelcfgroup.com
             reimburse LCF for all of LCF’s reasonable cost and expenses
             (including, without limitation, reasonable legal fees and          •    If to Obligor(s):
             expenses including, but not limited to, any liquidated legal
             fees provided for within the Agreement) in connection with              1348 Bainbridge Street,
             or arising out of this Agreement or any Default, enforcement            Philadelphia, Pennsylvania 19147
             or collection proceeding resulting therefrom, including,                rtritinger@mazzonicenter.org
             without limitation, all manner of participation in: (a)
             bankruptcy, insolvency, receivership, foreclosure, winding up,
             or liquidation proceedings of the Obligor, (b) judicial or              or at such other address as the party to whom such notice or
             regulatory proceedings in connection with the collection of             demand Is directed may have designated in writing to the
             the Obligations, and (c) workout, restructuring, and other              other party hereto by notice as provided in this section 18.
             negotiations or proceedings (whether or not any transaction             Each of the parties hereto shall have the right to rely on
             contemplated thereby is consummated) in connection with                 written notice sent by electronic mail as an original notice
             the collection of the Obligations.                                      given hereunder. Each of the signatories to this Agreement



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              irrevocably consents to service of process by Certified Mail at        to assert any claims against the other party as a
              the address listed within this section. Each of the signatories        representative or member in any class, representative, or
              to this Agreement agrees that its submission to jurisdiction           collective action, except where such waiver is prohibited by
              and consent to service of process by mail is made for the              law as against public policy. To the extent either party is
              express benefit of each of the other signatories to this               permitted by law or court of law to proceed with a class,
              Agreement.                                                             representative, or collective action against the other, the
                                                                                     parties hereby agree that: (1) the prevailing party shall not be
         19. No course of dealing between Obligor(s) and LCF, nor any                entitled to recover attorneys' fees or costs associated with
             delay in exercising, on the part of LCF, any right, power, or           pursuing the class or representative action (notwithstanding
             privilege hereunder shall preclude any other or further                 any other provision in this Agreement); and (2) the party who
             exercise thereof or the exercise of any other right, power, or          initiates or participates as a member of the class will not
             privilege. The rights and remedies hereunder are cumulative             submit a claim or otherwise participate in any recovery
             and are in addition to, and not exclusive of, any rights or             secured through the class or representative action. The
             remedies provided by law or in equity, including, without               parties hereto acknowledge that each makes this waiver
             limitation, the rights and remedies of a secured party under            knowingly, willingly, voluntarily, and without duress, and only
             the Uniform Commercial Code. It is understood and agreed                after extensive consideration of the ramifications of this
             that all understandings and agreements heretofore had                   waiver with their attorneys.
             between the parties, if any, with respect to the subject matter
             hereof, are merged into this Security Agreement, which alone       25. WAIVER OF COUNTERCLAIMS. Seller waives the right to
             fully and completely expresses their agreement with respect            interpose any counterclaim in any court in any suit, action, or
             thereto.                                                               proceeding on any matter arising in connection with or in
                                                                                    any way related to the transactions of which this Agreement
         20. This Agreement and the rights and obligations of the parties           is a part or the enforcement hereof. Seller acknowledges that
             hereunder shall be construed in accordance with and                    it makes this waiver knowingly, willingly, voluntarily, and
             governed by the laws of the State of New York. The state               without duress, and only after extensive consideration of the
             courts located In Nassau County, State of New York, and the            ramifications of this waiver with their attorneys.
             federal courts of the Eastern District of New York, shall have
             exclusive jurisdiction over all legal proceedings relating to      26. ARBITRATION. Notwithstanding the foregoing, any dispute,
             this Agreement.                                                        claim, or controversy arising out of or relating to this
                                                                                    Agreement, the Security Agreement or the guaranty(s)
         21. This Agreement shall be binding upon, and inure to, the                herein, or the breach of any of the said Agreement, Security
             benefit of the parties hereto and their respective successors          Agreement or the guaranty(s), shall be, at the election of
             and assigns, including any other holder(s) of any obligations,         either party, settled by arbitration        administered by
             provided, however, that Obligor(s) shall have no rights of             Mediation and Civil Arbitration, Inc. d/b/a RapidRuling
             assignment without the prior written consent of LCF. This              (www.rapidruling.com) in accordance with its Arbitration
             Agreement may be executed in one or more counterparts,                 Rules & Procedures effective at the time a claim is made, and
             each of which shall together constitute the same agreement.            judgment on the award rendered by the arbitrator(s) may be
             The invalidity or unenforceability of any provision hereof             entered in any court having jurisdiction thereof. An election
             shall in no way affect the validly or enforceability of any            to arbitrate by either party shall be deemed effective by the
             other provision hereof. No modification, recission, waiver,            commencement of an arbitration proceeding with Mediation
             release, or amendment of this Security Agreement shall be              and Civil Arbitration, Inc. d/b/a RapidRuling. The parties’
             made except by a written agreement executed by Obliger                 consent to electronic service of process, with service to be
             and LCF. A copy of this Agreement may be accepted as an                made       to      the     following     email      addresses
             original.                                                              rtritinger@mazzonicenter.org and legal@thelcfgroup.com
                                                                                    and/or when mailed, postage prepaid, via 2-3-day shipping
         22. USE OF IDENTIFYING INFORMATION. It is expressly agreed                 through a nationally recognized courier, including, but not
             and understood that in conjunction with this provision,                limited to, the USPS, FedEx or UPS, such notices or
             Company may disclose identifying information including, but            communications to be sent to the addresses provided in
             not limited to, the FEIN Number or Social Security Number              section 18 hereof. The parties agree that, in the event of
             of Seller or any Guarantor(s) to third parties with which              confirmation and enforcement,
             Company communicates in its exercising of any remedies
             available to Company.                                                         [Remainder of Page Intentionally Left Blank]


         23. JURY TRIAL WAIVER. The parties hereto waive trial by jury in
             any court in any suit, action, or proceeding on any matter
             arising in connection with or in any way related to the
             transactions of which this Agreement is a part or the
             enforcement hereof. The parties hereto acknowledge that
             each makes this waiver knowingly, willingly, voluntarily, and
             without duress, and only after extensive consideration of the
             ramifications of this waiver with their attorneys.

         24. CLASS ACTION WAIVER. The parties hereto waive any right



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    the delinquent party will be responsible for any attorney, court, or
    other fees associated with such action. The parties agree to split all
    Mediation and Civil Arbitration, Inc. d/b/a RapidRuling fees evenly
    and the commencing party shall be entitled to any unreimbursed
    monies paid on behalf of the non-commencing party within any
    award.

    SELLER #1
                [sig|req|signer1]
    By:______________________________                                                                                                               THE LCF GROUP, INC.
        Signature                                                                                                                                   [legal_signature]
       Rachelle Tritinger / Owner
         ________________________________________________________________________________________________________________________




       Print Name and Title                                                                                                                         ______________________
                                                                                                                                                    By: Robert Klieber
                                                       ___________________________________________________________________________



       SS#                                                                                                                                          Title: Chief Operating Officer
    OWNER/GUARANTOR #1
                 [sig|req|signer1]
    By: ______________________________
      Signature
      Rachelle Tritinger / Owner
       _________________________________________________________________________________________________________________________



      Print Name and Title




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                                           POWER OF ATTORNEY
    KNOWN ALL BY THESE PRESENTS that I, Rachelle Tritinger, principal and/or sole proprietor of Mazzoni Center, doing business as
    Mazzoni Center, at 1348 Bainbridge Street, Philadelphia, Pennsylvania 19147 (hereinafter ‘Mazzoni Center’), does hereby appoint THE
    LCF GROUP, INC., (hereinafter, ‘”LCF”) as my true and lawful attorney in fact:

    1.   To have full power and authority to direct any Merchant Processor being used by Mazzoni Center to make payments to LCF as
         contemplated under the Agreement dated September 11, 2024 (the “Agreement”) between Mazzoni Center and LCF;

    2.   To have full power and authority to direct any Merchant Processor being used by Mazzoni Center to direct the entirety of Mazzoni
         Center’s credit card receivables to LCF in order to satisfy amounts due to LCF under the Agreement;

    3.   To have full power and authority to direct Bank of America - Bank and any and all other Banks in which Mazzoni Center or
         Rachelle Tritinger holds an account to direct payment(s) to LCF as contemplated under the ACH/ADF Authorization Agreement
         between Mazzoni Center and LCF;

    4.   To communicate with Bank of America - Bank and any and all other Banks to obtain information regarding the business accounts
         of Mazzoni Center, including without limitation, obtaining balances, account numbers, and copies of all statements and/or
         banking transactions;

    5.   To enter into, make, sign, execute, endorse, accept, and deliver any and all documents, agreements, contracts, or other writings,
         or to perform any other act, deed, matter, or thing to effectuate the intent of the Agreement dated September 11, 2024 between
         Mazzoni Center and LCF;

    6.   To obtain and adjust insurance at LCF’s expense;

    7.   To withdraw any monies held on account with any debt settlement companies;

    8.   To receive, endorse, negotiate, and collect any checks, notes, drafts, instruments, documents, or chattel paper in connection any
         amounts due to LCF as contemplated under the Agreement dated September 11, 2024 (the “Agreement”) between Mazzoni
         Center and LCF;

    9.   To cancel, modify, repudiate, or terminate any agreement(s) with any vendor, consultant, or service provider of Mazzoni Center;

    10. To sign Mazzoni Center ‘s name on any invoice, bill of lading, or assignment directing customers or account debtors to make
        payment directly to LCF;

    11. To file any claims or take any action or institute any proceeding which Company may deem necessary for the collection of any
        of the undelivered Purchased Amount from the Collateral, or otherwise to enforce its rights with respect to payment of the
        Purchased Amount;

    12. To create and negotiate a check or draft in Seller’s name utilizing any account information on file in satisfaction of Seller’s
        obligations to Company, Company’s designee, or Company’s nominee; and

    13. To institute a wire transfer of funds from Seller’s deposit account(s) to Company, Company’s designee, or Company’s nominee.




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    I HAVE RECEIVED A COPY OF THIS POWER OF ATTORNEY AND I DO HEREBY STATE AND DECLARE THAT THIS POWER OF ATTORNEY
    SHALL NOT BE AFFECTED BY MY SUBSEQUENT DISABILITY OR INCOMPETENCE; AND FURTHER, I DO HEREBY RATIFY AND CONFIRM
    ALL WHATSOEVER MY SAID ATTORNEY SHALL DO OR CAUSE TO BE DONE BY VIRTUE OF THIS POWER OF ATTORNEY.

    This Power of Attorney shall be used only upon Seller’s violation of any of the terms of the Agreement dated September 11,
    2024 between Mazzoni Center and LCF.

    IN WITNESS WHEREOF, the said Mazzoni Center has caused this instrument to be signed, sealed and acknowledged by its duly
    authorized qualified officer, Rachelle Tritinger this 11 day of September, 2024.

    KNOW ALL BY THESE PRESENTS:
    SELLER #1
               [sig|req|signer1]
    By:______________________________                                                                                                             THE LCF GROUP, INC.
       Signature                                                                                                                                  [legal_signature]
       Rachelle Tritinger / Owner
       ________________________________________________________________________________________________________________________




       Print Name and Title                                                                                                                       ______________________
                                                                                                                                                  By: Robert Klieber
                                                   ____________________________________________________________________________



       SS#                                                                                                                                        Title: Chief Operating Officer
       Mazzoni Center
       _________________________________________________________________________________________________________________________



       Company




                                                                                                                                          25                                                 Initials: [$in1]
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    AUTHORIZATION AGREEMENT FOR DIRECT DEPOSITS (ACH CREDITS) AND DIRECT PAYMENTS (ACH DEBITS)
    This Authorization Agreement for Direct Deposits (ACH Credits) and Direct Payments (“Daily ACH Authorization”) is part
    of (and incorporated by reference into) the Merchant Agreement (the “Agreement”).
    DEFINITIONS:

    Company: THE LCF GROUP, INC.
    Merchant: Mazzoni Center
              (Merchant’s Legal Name)

    Merchant Agreement: Merchant Agreement Between Company and Merchant Dated September 11 ,2024

    DESIGNATED CHECKING ACCOUNT INFORMATION
    Bank Name:                    Bank Telephone Number:
    Merchant Tax ID:
                         EDACTED
    Routing Number:      Account Number:

    Capitalized terms used in this Authorization Agreement without definition shall have the meanings set forth in the Merchant
    Agreement. Merchant should keep a copy of this important legal document for Merchant’s records. By signing below Merchant
    attests that the Designated Checking Account was established for business purposes and not for personal, family or household
    purposes.

    DISBURSMENT OF PURCHASE PRICE. By signing below, Merchant authorizes Company to disburse the Purchase Price less
    any applicable fees set forth in the Agreement upon Advance approval by initiating an ACH credit to the bank account described
    below (or a substitute bank account Merchant later identifies and is acceptable to Company) (the “Account”).
    COLLECTION OF FUNDS ARISING FROM FUTURE RECEIPTS. By signing below, Merchant authorizes Company to collect the
    funds that Company is entitled to receive under the Agreement by initiating ACH debits to the Account as follows:
    For an amount up to $6,041.67 (or) Percentage of each banking deposit 12.00% together with a nonrefundable monthly
    maintenance fee of $195.00 pursuant to section 1.22 of the terms and conditions of this PSFRA
    On the following days: Each business day. On the business day immediately following any business day(s) on which
    Merchant’s bank was not open or was not able to process ACH transactions, the Company will debit the Designated Bank Account
    for an amount equal to the sum of (i) the Daily Payment amount due on that business day plus (ii) the Daily Payment amount(s)
    due on the proceeding business day(s) when the Bank was not open or could not process ACH transactions.
    MISCELLANEOUS. Merchant understands that Merchant is responsible for ensuring that funds arising from Future Receipts
    remain in the Account each day until Company debits the amount that the Agreement authorizes Company to debit from the
    Account for that day. Company is not responsible for any overdrafts or rejected transactions that may result from the Company
    debiting any of Merchant’s accounts. The ACH authorizations provided for in this agreement will remain in effect until Company
    has received written notification from Merchant of its termination in such time and in such manner as to afford Company and
    Merchant’s depository bank a reasonable opportunity to act on it. Company is not responsible for any fees charged by Merchant’s
    bank as the result of credits or debits initiated under this Agreement. The origination of ACH transactions to Merchant’s accounts,
    including, but not limited to, the Account, must comply with the provisions of U.S. law and NACHA Rules.

    MERCHANT SIGNATURE

    Merchants Legal Name: Mazzoni Center


    Signature:               [sig|req|signer1]
                              _____________________________________________________________________________________________________________________________
                                                                                                                                                                        Executive Financial Officer
                                                                                                                                                               Title: [text|req|signer1|Title|Title1]
                                                                                                                                                                    _________________________________________________________________________________________________   __




    Date: [date|req|signer1|Date
           9/11/2024             Signed|DateSign1]
          _____________________________________________________________________________________________________________________________________________




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                                           Advance Repurchase Addendum


    Re: The Purchase and Sale of Future Receivables Agreement (“PSFRA”) between The LCF
    Group, Inc. (“company”) and Mazzoni Center (seller) dated September 11, 2024 wherein
    Company purchased $362,500.00 of Seller’s future receivables for $250,000.00.


    Company agrees to accept an Accelerated Repurchase Amount pursuant to the below schedule
    provided that Seller remains in full compliance with all obligations pursuant to the PSFRA and
    provided that there has been no event of default by Seller up to and including the date of the
    Accelerated Repurchase:


      Pay within X Calendar Days                             Discounted Repurchase Amount
      30.00                                                  $337,500.00
      60.00                                                  $350,000.00




    Seller shall not be entitled to any Accelerated Repurchase if same is paid to Company by any
    third-party on behalf of Seller.


    Executed and agreed on this 11 day of September, 2024,


    Seller                            Guarantor                      The LCF Group, Inc.

    [sig|req|signer1] [sig|req|signer1]
    X__________________               X_________________            X_________________
    Print Name: [text|req|fullname1]
                 Rachelle Tritinger                                  Print Name:




                                                              27                                  Initials: [$in1]
                                                                                                           _____________________________
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Certificate Of Completion
Envelope Id: 25ECFEAC339D4068A0FC5C6C711960A3                                                 Status: Completed
Subject: Mazzoni Center DBA Mazzoni Center - Strategic Funding Group - SFG - Contract
ClientId: 8d51b80a-a211-48d0-a935-9241993ee83e
Source Envelope:
Document Pages: 27                               Signatures: 11                               Envelope Originator:
Certificate Pages: 5                             Initials: 27                                 Underwriting
AutoNav: Enabled                                                                              3000 Marcus Ave Ste 2W15
EnvelopeId Stamping: Enabled                                                                  New York, NY 10001
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                             underwriting@thelcfgroup.com
                                                                                              IP Address: 52.247.86.22

Record Tracking
Status: Original                                 Holder: Underwriting                         Location: DocuSign
        9/11/2024 8:43:13 AM                              underwriting@thelcfgroup.com

Signer Events                                    Signature                                    Timestamp
Rachelle Tritinger (Owner 1 )                                                                 Sent: 9/11/2024 8:43:15 AM
rtritinger@mazzonicenter.org                                                                  Viewed: 9/11/2024 9:24:56 AM
Executive Financial Officer                                                                   Signed: 9/11/2024 9:26:24 AM
Security Level:                                                                               Focused View
   .None                                         Signature Adoption: Pre-selected Style
   ID: d0e93010-b7f9-440c-a2bd-6fd09648410c      Using IP Address: 50.201.139.106
   9/11/2024 9:24:43 AM
Electronic Record and Signature Disclosure:
   Accepted: 9/11/2024 9:24:55 AM
   ID: 9f5d733c-90fb-4a8f-9e9c-d808d1447a81


In Person Signer Events                          Signature                                    Timestamp

Editor Delivery Events                           Status                                       Timestamp

Agent Delivery Events                            Status                                       Timestamp

Intermediary Delivery Events                     Status                                       Timestamp

Certified Delivery Events                        Status                                       Timestamp

Carbon Copy Events                               Status                                       Timestamp
amadera@thelcfgroup.com                                                                       Sent: 9/11/2024 9:26:26 AM
amadera@thelcfgroup.com
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

ashivhare@thelcfgroup.com                                                                     Sent: 9/11/2024 9:26:27 AM
ashivhare@thelcfgroup.com
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

tjameer@thelcfgroup.com                                                                       Sent: 9/11/2024 9:26:27 AM
tjameer@thelcfgroup.com
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
                      Case 2:24-cv-05921-KSM             Document 1-3   Filed 11/05/24     Page 37 of 129

Carbon Copy Events                              Status                            Timestamp
   Not Offered via DocuSign

underwriting@thelcfgroup.com                                                      Sent: 9/11/2024 9:26:26 AM
underwriting@thelcfgroup.com
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

vyadav@thelcfgroup.com                                                            Sent: 9/11/2024 9:26:27 AM
vyadav@thelcfgroup.com
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                  Signature                         Timestamp

Notary Events                                   Signature                         Timestamp

Envelope Summary Events                         Status                            Timestamps
Envelope Sent                                   Hashed/Encrypted                  9/11/2024 8:43:15 AM
Certified Delivered                             Security Checked                  9/11/2024 9:24:56 AM
Signing Complete                                Security Checked                  9/11/2024 9:26:24 AM
Completed                                       Security Checked                  9/11/2024 9:26:27 AM

Payment Events                                  Status                            Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 2/14/2024 10:11:53 AM
                    Case 2:24-cv-05921-KSM                  Document 1-3       Filed 11/05/24   Page 38 of 129
Parties agreed to: Rachelle Tritinger (Owner 1 )




             ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

             From time to time, The LCF Group (we, us or Company) may be required by law to provide to
             you certain written notices or disclosures. Described below are the terms and conditions for
             providing to you such notices and disclosures electronically through the DocuSign system.
             Please read the information below carefully and thoroughly, and if you can access this
             information electronically to your satisfaction and agree to this Electronic Record and Signature
             Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
             use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
             system.


             Getting paper copies

             At any time, you may request from us a paper copy of any record provided or made available
             electronically to you by us. You will have the ability to download and print documents we send
             to you through the DocuSign system during and immediately after the signing session and, if you
             elect to create a DocuSign account, you may access the documents for a limited period of time
             (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
             send you paper copies of any such documents from our office to you, you will be charged a
             $0.00 per-page fee. You may request delivery of such paper copies from us by following the
             procedure described below.


             Withdrawing your consent

             If you decide to receive notices and disclosures from us electronically, you may at any time
             change your mind and tell us that thereafter you want to receive required notices and disclosures
             only in paper format. How you must inform us of your decision to receive future notices and
             disclosure in paper format and withdraw your consent to receive notices and disclosures
             electronically is described below.


             Consequences of changing your mind

             If you elect to receive required notices and disclosures only in paper format, it will slow the
             speed at which we can complete certain steps in transactions with you and delivering services to
             you because we will need first to send the required notices or disclosures to you in paper format,
             and then wait until we receive back from you your acknowledgment of your receipt of such
             paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
             receive required notices and consents electronically from us or to sign electronically documents
             from us.


             All notices and disclosures will be sent to you electronically
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Unless you tell us otherwise in accordance with the procedures described herein, we will provide
electronically to you through the DocuSign system all required notices, disclosures,
authorizations, acknowledgements, and other documents that are required to be provided or made
available to you during the course of our relationship with you. To reduce the chance of you
inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
notices and disclosures to you by the same method and to the same address that you have given
us. Thus, you can receive all the disclosures and notices electronically or in paper format through
the paper mail delivery system. If you do not agree with this process, please let us know as
described below. Please also see the paragraph immediately above that describes the
consequences of your electing not to receive delivery of the notices and disclosures
electronically from us.


How to contact The LCF Group:

You may contact us to let us know of your changes as to how we may contact you electronically,
to request paper copies of certain information from us, and to withdraw your prior consent to
receive notices and disclosures electronically as follows:
To contact us by email send messages to: hiriarte@thelcfgroup.com


To advise The LCF Group of your new email address

To let us know of a change in your email address where we should send notices and disclosures
electronically to you, you must send an email message to us at hiriarte@thelcfgroup.com and in
the body of such request you must state: your previous email address, your new email
address. We do not require any other information from you to change your email address.

If you created a DocuSign account, you may update it with your new email address through your
account preferences.


To request paper copies from The LCF Group

To request delivery from us of paper copies of the notices and disclosures previously provided
by us to you electronically, you must send us an email to hiriarte@thelcfgroup.com and in the
body of such request you must state your email address, full name, mailing address, and
telephone number. We will bill you for any fees at that time, if any.


To withdraw your consent with The LCF Group

To inform us that you no longer wish to receive future notices and disclosures in electronic
format you may:
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i. decline to sign a document from within your signing session, and on the subsequent page,
select the check-box indicating you wish to withdraw your consent, or you may;

ii. send us an email to hiriarte@thelcfgroup.com and in the body of such request you must state
your email, full name, mailing address, and telephone number. We do not need any other
information from you to withdraw consent.. The consequences of your withdrawing consent for
online documents will be that transactions may take a longer time to process..


Required hardware and software

The minimum system requirements for using the DocuSign system may change over time. The
current system requirements are found here: https://support.docusign.com/guides/signer-guide-
signing-system-requirements.


Acknowledging your access and consent to receive and sign documents electronically

To confirm to us that you can access this information electronically, which will be similar to
other electronic notices and disclosures that we will provide to you, please confirm that you have
read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
your future reference and access; or (ii) that you are able to email this ERSD to an email address
where you will be able to print on paper or save it for your future reference and access. Further,
if you consent to receiving notices and disclosures exclusively in electronic format as described
herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
clicking ‘CONTINUE’ within the DocuSign system.

By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify The LCF Group as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by The LCF Group during the course of your relationship with The LCF
        Group.
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                 EXHIBIT B
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                                REVENUE PURCHASE AGREEMENT
                     PURCHASE AND SALE OF FUTURE RECEIPTS (the “Agreement”)

Dated SEPTEMBER 11, 2024, Between AKF Inc, DBA FundKite, located at 88 Pine Street, 24th Floor, New York NY 10005
hereafter known as ("BUYER"), the ("SELLER") listed below and each guarantor identiﬁed below (each a "Guarantor")

                                               (“THE SELLER”)
                                            MERCHANT INFORMATION

SELLER's Legal Name: MAZZONI CENTER DBA:​ MAZZONI CENTER / MAZZONI CENTER OUR HEALTH.
OUR LIVES. OUR COMMUNITY.

Physical Address: 1348 BAINBRIDGE ST, PHILADELPHIA, PA 19147

Mailing Address: 1348 BAINBRIDGE ST, PHILADELPHIA, PA 19147

Primary Telephone: 1-267-389-3431 Business Website: https://www.mazzonicenter.org/

Type of Entity: Corporation State of Incorporation: PA

Tax Id Number:                 Date Business Started: 07/20/1981

Name of Primary Authorized Signer: RACHELLE DENISE TRITINGER Position or Title: CFO

Email for Owner: rtritinger@mazzonicenter.org

Purchase Price: $500,000.00
(The agreed upon Purchase Price for the Receipts sold by SELLER to BUYER)

Fees Deducted: $20,185.00
(See Appendix A for breakdown of fees)

Disbursement Amount: $479,815.00
(The dollar amount BUYER will pay to SELLER after deducting the Fees Deducted)

Purchased Amount: $690,000.00
(The dollar value of the Receipts being sold and remitted to BUYER from SELLER)

Remittance Percentage: 9%
(The percentage of Receipts SELLER agrees to remit to BUYER each week.​

Initial Estimated Remittance Amount (Weekly): $24,642.86
(The dollar amount to be debited each week. from the SELLER's bank account as described below, subject to
reconciliation)

Reconciliation Frequency: Monthly
*Reconciliation may result in an adjustment to the Initial Estimated Remittance Amount.

Designated Bank Account (the “Designated Account”)




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                                         ​AKF Inc DBA FundKite © 2024 All Rights Reserved v041224
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Name of Bank:                    ABA Transit/Routing #:                  Checking Account #             ​



Upon the terms and subject to the conditions set forth in this Agreement, DBA MAZZONI CENTER / MAZZONI CENTER
OUR HEALTH. OUR LIVES. OUR COMMUNITY. hereby sells, assigns and transfers to AKF Inc. DBA Fundkite (“FUNDKITE”
and “BUYER") in consideration for the funds provided (the “PURCHASE PRICE”), all of SELLER's future sales, accounts,
contract rights and other obligations and entitlements arising from or relating to the payment of monies
from SELLER's customers and/or third-party payers and the proceeds thereof including, but not limited to all payments
made by cash, check, electronic transfer or other form of monetary payment in the course of the Seller's business (the
“Receipts”), in the amount speciﬁed above (the “Purchased Amount”) to be remitted by the percentage of Receipts
speciﬁed above (the "Remittance Percentage") until the Purchased Amount has been remitted by SELLER to BUYER.
(SELLER, BUYER and each Guarantor shall collectively be referred hereinafter to as the “PARTIES”).

SELLER shall remit the Remittance Percentage of Receipts to BUYER, until such time as BUYER receives full remittance
of the Purchased Amount and any outstanding fees in accordance with Appendix A hereto. SELLER hereby authorizes
BUYER to ACH Debit the initial estimated and adjusted remittance amounts from the Designated Account stated above
(each a “Remittance Date”) and will provide BUYER with access codes and monthly bank statements thereto. BUYER is
not responsible for any overdrafts or rejected transactions that may result from BUYER ACH debiting the speciﬁed
remittances under the terms of this Agreement.

BUYER has calculated the Initial Estimated Remittance Amount based on SELLER'S actual Receipts prior to the date of
this Agreement, determined by BUYER based on a review of Banking Records provided by SELLER. SELLER
acknowledges and agrees that the Initial Estimated Remittance Amount is an accurate estimate of the Remittance
Percentage of SELLER's actual Receipts prior to the date of this Agreement.

A list of all fees applicable under this Agreement is outlined in Appendix A. SELLER agrees to pay all fees as described
therein.



I. TERMS OF ENROLLMENT IN PROGRAM

1.1 SELLER Deposit Account. SELLER shall deposit all Receipts into the Designated Account with a bank acceptable to
BUYER. SELLER authorizes BUYER and/or its agent to withdraw the Remittance Percentage or Initial Estimated/Adjusted
Remittance Amount from the Designated Account. The authorization shall be irrevocable without the written consent of
the BUYER. For the duration of this Agreement, SELLER shall have the use and enjoyment of Receipts above the
Remittance Percentage to be remitted to BUYER. Additionally, the Remittance Percentage of Receipts are to be held in
trust in the Designated Account for the beneﬁt of BUYER and SELLER shall have no legal or equitable interest in said
Receipts.

1.2 Non-Recourse Sale of Future Receipts (THIS IS NOT A LOAN). SELLER is selling a portion of Receipts to BUYER
at a discount, not borrowing money from BUYER. There is no interest rate or payment schedule and no time period
during which the Purchased Amount must be collected by BUYER. BUYER is taking the risk that Receipts may be
remitted more slowly than BUYER may have anticipated or projected because SELLER's business has slowed down, or
the full Purchased Amount may never be remitted because SELLER's business ﬁled a Chapter 7 liquidation or otherwise
ceased operations in the ordinary course of business. BUYER is buying the Purchased Amount of Receipts knowing the
risks that SELLER's business, despite SELLER's reasonable eﬀorts, may slow down or fail, and BUYER assumes these
risks based on SELLER's representations, warranties, and covenants in this Agreement that are designed to give BUYER
a reasonable and fair opportunity to receive the beneﬁt of its bargain. By this Agreement, SELLER transfers to BUYER
full and complete ownership of the Purchased Amount of Receipts and SELLER retains no legal or equitable interest
therein. SELLER will treat the Purchase Price and Purchased Amount in a manner consistent with a sale in its accounting
records and tax returns. BUYER is entitled to audit SELLER's accounting records upon reasonable notice in order to
verify compliance. SELLER waives any rights of privacy, conﬁdentiality or taxpayer privilege in any litigation or




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arbitration in which SELLER asserts that this transaction is anything other than a purchase and sale of future Receipts.

1.3 Reconciliation (IMPORTANT PROTECTION FOR SELLER). SELLER acknowledges and agrees that the Initial
Estimated Remittance Amount is an accurate estimate of the Remittance Percentage of SELLER's actual Receipts prior
to the date of this Agreement. SELLER has the right to obtain reconciliations to ensure that the Remittance Amount
continues to be an accurate estimate of the Remittance Percentage of SELLER’s actual Receipts over the course of this
Agreement.

      a) Periodic Reconciliation. BUYER shall perform periodic reconciliations according to the agreed Reconciliation
      Frequency.

      b) SELLER May Obtain Additional Reconciliations. SELLER may obtain additional reconciliations between any
      periodic reconciliations by sending a written request by email to customerservice@fundkite.com.

      c) Banking Records. SELLER agrees to provide Banking Records requested by BUYER to complete each
      reconciliation. As used in this Agreement, “Banking Records” means bank statements, accounts receivable
      reports, credit card receipts, view-only access to SELLER’s business bank accounts, and other business or
      banking records reasonably likely to provide evidence of SELLER’s actual Receipts for the applicable
      reconciliation period. BUYER will calculate SELLER’s actual Receipts based solely upon a review of the requested
      Banking Records. BUYER is not obligated to complete any reconciliation for which requested Banking Records are
      unavailable or not provided.

      d) Adjusting the Remittance Amount. No later than three (3) business days following BUYER’s receipt of the
      requested Banking Records, BUYER shall adjust the Remittance Amount so that subsequent withdrawals from the
      Designated Account are equal to the Remittance Percentage of the actual Receipts collected by SELLER during
      the reconciliation period, as reasonably determined by BUYER .

      e) Failure to Provide Reconciliation Information. If SELLER fails to provide requested Banking Records within
      seven (7) calendar days after written notice from BUYER, BUYER may adjust the Remittance Amount to the Initial
      Estimated Remittance Amount.

1.4 Processing Trial and BUYER’S Acceptance of Agreement. Prior to paying the Disbursement Amount to SELLER,
BUYER shall have the right to instruct the credit/debit card processor used by SELLER for conducting its business to
conduct a processing trial (a “Processing Trial”) to determine whether settlement amounts of Receipts will be
processed, reported and paid as contemplated under this Agreement. SELLER agrees that BUYER will make its ﬁnal
decision, in its sole and absolute discretion and with or without regard for the results of the Processing Trial, whether to
purchase the Purchased Amount of Receipts after completing the Processing Trial or opting not to conduct a Processing
Trial, and any underwriting conducted by BUYER. If BUYER elects to purchase the Purchased Amount of Receipts, BUYER
will pay the Disbursement Amount to SELLER, and SELLER's obligations hereunder to remit the Purchased Amount shall
commence immediately. The obligation of BUYER under this Agreement will not be eﬀective unless and until BUYER has
completed its review of the SELLER and has accepted this Agreement by delivering the Disbursement Amount.

1.5 Financial Condition. SELLER authorizes BUYER and its agents to investigate their ﬁnancial responsibility and
history, and will provide to BUYER any ﬁnancial or bank statements, tax returns, credit card statements and accounts
receivable reports, and view-only access to any business bank account maintained by SELLER, as BUYER deems
necessary prior to or at any time after execution of this Agreement. A photocopy of this authorization will be deemed as
acceptable for release of ﬁnancial information. BUYER is authorized to require Seller to provide updated information and
ﬁnancial proﬁles from time to time as it deems appropriate.

1.6 Transactional History. SELLER authorizes BUYER to obtain SELLER's banking records, payment processing
transaction records and records of activity with any online seller or marketplace to verify information provided
by SELLER in connection with the performance of this program.

1.7 Indemniﬁcation. SELLER indemniﬁes and hold harmless BUYER, Processor, any and each of SELLER's, and any




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Account Debtors, their oﬃcers, directors, attorneys, assigns, agents and shareholders against all loses, damages,
claims, liabilities and expenses (including reasonable attorney's fees) incurred, resulting from (a) all claims asserted by
BUYER and its agents for amounts owed to BUYER from SELLER and (b) actions taken by Processor, SELLER’s Banks and
Account Debtors in reliance upon any information or instructions provided by BUYER and (c) litigation with SELLER and
Guarantor(s). SELLER agrees to indemnify and hold harmless BUYER its oﬃcers, directors, attorneys, assigns, agents
and shareholders against all losses, damages, claims, liabilities, and expenses (including reasonable attorney’s fees)
that they may have of any kind arising out of or related to the Agreement and enforcement of BUYER’s remedies
thereunder.

1.8 No Liability. In no event will BUYER and its agents, attorneys, assigns or aﬃliates be liable for any claims asserted
by SELLER or Guarantor(s) under any legal theory for lost proﬁts, lost revenue, lost business opportunities, exemplary,
punitive, special, incidental, indirect or consequential damages, each of which is knowingly and voluntarily waived by
SELLER or Guarantor(s). In the event these claims are nonetheless raised, SELLER and Guarantor(s) will be jointly liable
for all of BUYER's attorney's fees and expenses resulting therefrom.

1.9 Reliance on Terms. Notwithstanding the fact that Processor, SELLER’s bank, Guarantor(s)'s bank and Account
Debtors, and their aﬃliates, are not parties to this Agreement, Sections 1.1, 1.2, 1.3, 1.4, 1.5 1.6, 1.7, 1.8, 1.9, 1.10,
1.13, 1.14, 2.3, 2.5, 2.6, and 2.7 of this Agreement are also for the beneﬁt of BUYER, SELLER’s bank and Guarantor(s)'s
bank, Account Debtors and Processor, and each of their respective oﬃcers, directors, attorneys, assigns, agents and
shareholders, and these parties may rely upon these terms and raise them as a defense in any action.

1.10 Disclosure of Information. SELLER, Guarantor(s) and each person signing this Agreement on behalf of SELLER
and/or as Owner or Guarantor(s), in respect of himself or herself personally authorizes BUYER to disclose information
concerning SELLER, Guarantor(s)’s and each Owner's credit standing (including credit bureau reports that BUYER
obtains) and business conduct to agents, aﬃliate subsidiaries, and credit reporting bureaus. SELLER and each Owner
and Guarantor(s) hereby waive to the maximum extent permitted by law any claim for damages against BUYER or any
of its aﬃliates relating to any (i) investigation undertaken by or on behalf of BUYER as permitted by this Agreement or
(ii) disclosure of information as permitted by this Agreement.

1.11 D/B/A's. SELLER, Guarantor(s), and each Owner acknowledges that BUYER may be using "doing business as" or
"d/b/a" names or authorized agents in connection with various matters relating to the transaction between BUYER and
SELLER, including the ﬁling of UCC-1 ﬁnancing statements and other notices or ﬁling.

1.12 Bank Holidays and Other Bank Closures. BUYER will debit the Initial Estimated/Adjusted Remittance Amount
only on each weekday on which SELLER’s bank is open and able to process ACH transactions.

1.13 ACH Authorization. If an ACH transaction is rejected by SELLER’s ﬁnancial institution for any reason other than a
stop payment order placed by SELLER with its ﬁnancial institution, including without limitation insuﬃcient funds, SELLER
agrees that BUYER may resubmit up to two times any ACH transaction that is dishonored. SELLER’s bank may charge
SELLER fees for unsuccessful ACH entries. SELLER agrees that BUYER has no liability to SELLER for such fees. In the
event BUYER makes an error in processing any payment or credit, SELLER authorizes BUYER to initiate ACH entries to or
from the Designated Account or bank account to correct the error. SELLER acknowledges that the origination of ACH
entries to and from the Designated Account or bank account must comply with applicable law and applicable network
rules. SELLER agrees to be bound by the Rules and Operating Guidelines of NACHA. SELLER will not dispute any ACH
transaction initiated pursuant to this Authorization, provided the transaction corresponds to the terms of this
Authorization. SELLER requests the ﬁnancial institution that holds the Designated Account and bank account to honor all
ACH entries initiated in accordance with this Authorization.



II. REPRESENTATIONS, WARRANTIES, AND COVENANTS

SELLER represents, warrants and covenants that as of this date and, unless expressly stated otherwise, during the




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                                           ​AKF Inc DBA FundKite © 2024 All Rights Reserved v041224
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course of this Agreement:

2.1 Accounts Receivables and Financial Information. SELLER's accounts receivables and payable reports, bank and
ﬁnancial statements, copies of which have been furnished to BUYER, and future statements which will be furnished
hereafter at the discretion of BUYER, fairly represent the performance and ﬁnancial condition of SELLER at the dates the
statements are provided. All performance and ﬁnancial information provided to BUYER by SELLER and any Guarantor(s)
is truthful, complete and accurate as of the date of this Agreement. BUYER may request Banking Records at any time
during the performance of this Agreement and the SELLER shall provide them to BUYER within ﬁve business days.
SELLER's failure to do so is a material breach of this Agreement.

2.2 Government Approvals. SELLER is in compliance and shall comply with all laws and has valid permits,
authorizations and licenses to own operate and lease its properties and to conduct the business in which it is presently
engaged.

2.3 Authorization. SELLER, and the persons(s) signing this Agreement on behalf of SELLER and Guarantor(s), have full
power and authority to incur and perform the obligations under this Agreement, all of which have been duly authorized.

2.4 No Diversion of Receipts. SELLER must deposit all Receipts into the Designated Account on a daily basis and
must instruct SELLER'S credit card processor to deposit all Receipts of Seller into the Designated Account on a daily
basis. SELLER agrees not to (i) change the Designated Account, (ii) add an additional business bank account into
which SELLER deposits Receipts without the express written consent of BUYER, (iii) revoke BUYER’S authorization to
debit the Designated Account, (iv) close the Designated Account without the express written consent of BUYER or, (v)
take any other action with the intent to interfere with BUYER’S right to collect the purchased Receipts.

2.5 Change of Name, Location or Type of Business. SELLER will not conduct SELLER's business, or any similar
business, under any name other than as disclosed to the Processor and BUYER or change the type of business it
operates or any of its places of business without prior written consent from BUYER. Such change made without the prior
written consent of BUYER shall be a material breach of this Agreement.

2.6 Estoppel Certiﬁcate. SELLER will at any time, and from time to time, upon at least one (1) day's prior notice from
BUYER to SELLER execute, acknowledge and deliver to BUYER and/or to any other person, ﬁrm or corporation speciﬁed
to BUYER a statement certifying that this Agreement is unmodiﬁed and in full force and eﬀect (or, if there have been
modiﬁcations, the same is in full force and eﬀect as modiﬁed and stating the modiﬁcations) and stating the dates on
which the Purchased Amount or any portion thereof has been remitted.

2.7 No Bankruptcy or Assignment. As of the date of this Agreement, SELLER does not contemplate and has not ﬁled
any petition for bankruptcy protection or assignment for the beneﬁt of creditors, and there has been no involuntary
petition or receivership brought or pending against SELLER. SELLER further warrants that as of the date of this
Agreement, SELLER does not anticipate ﬁling any such bankruptcy petition and has no knowledge of or reason to
believe any creditor has any cause to ﬁle an involuntary petition or receivership as against SELLER.

2.8 Working Capital Funding. At any time either contemporaneous with or after the execution of this Agreement,
SELLER shall not, unless permitted in writing by BUYER, enter into any arrangement, agreement, or a loan that relates
to or encumbers Seller’s Receipts or future revenue with any party other than BUYER.

2.9 Unencumbered Receipts. SELLER warrants that, unless otherwise disclosed in writing to BUYER prior to the date
of this Agreement, SELLER has good, complete and marketable title to all of its Receipts free and clear of any and all
liabilities, liens, claims, changes, restriction, conditions, options, rights, mortgages, security, interests, equities, pledges
and encumbrances of any kind or nature whatsoever or any other rights or interests that may be inconsistent with the
transactions contemplated with, or adverse to the interests of BUYER. SELLER shall not voluntarily transfer or sell all or
substantially all of its assets, shares and/or membership interests without prior written consent of BUYER.

2.10 Business Purposes. SELLER is a valid business in good standing under the laws of the jurisdictions in which it is
organized and/or operates, and SELLER is entering into this Agreement for business purposes and not for consumer,




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personal, family or household purposes.

2.11 Defaults Under Other Contracts. SELLER's execution of and/or performance under this Agreement will not
cause or create an event of default by SELLER under any contract with another person or entity.

2.12 Bank Account. SELLER represents and warrants that (i) any bank account disclosed by SELLER (including but not
limited to the Designated Account) to BUYER is SELLER’s bank account; (ii) the person executing this Authorization on
behalf of SELLER is an authorized signer on the bank account and has the power and authority to authorize BUYER to
initiate ACH transactions to and from the bank account; and (iii) the bank account is a legitimate, open, and active bank
account used solely for business purposes and not for personal, family or household purposes.



III. REMEDIES FOR SELLER’S BREACH OF THIS AGREEMENT

3.1 Remedies. If SELLER violates any term or covenant in this Agreement or if any representation or warranty
by SELLER in this Agreement proves to have been incorrect, false or misleading in any material respect when
made, BUYER may proceed to protect and enforce its rights including, but not limited to, the following:

a) The Remittance Percentage shall equal 100%. The full unremitted Purchased Amount plus all fees and charges
(including legal fees) assessed under this Agreement will become due and payable in full immediately.

b) BUYER may enforce the provisions of the Guaranty of Performance against each Guarantor.

c) SELLER shall pay to BUYER all reasonable costs associated with SELLER'S breach, including a Breach Administration
Fee, as set forth and deﬁned in the Appendix A. Buyer may proceed to protect and enforce its rights and remedies by
arbitration or lawsuit. In any such arbitration or lawsuit, under which BUYER shall recover judgment
against SELLER, SELLER shall be liable for all of BUYER's costs, including but not limited to all reasonable attorneys’ fees
and court costs. However, the rights of BUYER under this provision shall be limited as provided in the arbitration
provision set forth below.

d) BUYER may debit depository accounts wherever situated by means of ACH debit or facsimile signature on a
computer-generated check drawn on any of SELLER'S bank accounts for all sums due to BUYER.

3.2 Remedies Are Cumulative, Subject to Arbitration. Subject to Arbitration as provided in Section 4.14 of this
Agreement, all rights, powers, and remedies of BUYER in connection with this Agreement may be exercised at any time
by BUYER after the occurrence of a breach, are cumulative and not exclusive, and shall be in addition to any other
rights, powers or remedies provided by law or equity.

3.3 Required Notiﬁcations. SELLER is required to give BUYER three (3) days prior written notice of intent to change
the Designated Account with updated account information attached to the notice. SELLER is required to give BUYER ten
(10) days' written notice of the intent to sell, assign or transfer all or substantially all of the SELLER's assets or stock
and shall provide BUYER in writing the name, address, phone number, email address and facsimile number of the
proposed assignee, transferee or BUYER's legal representative or owner.

3.4 Security Interest. The Parties agree and understand this purchase and sale transaction is governed by Article 9 of
the Uniform Commercial Code (the “UCC”) and BUYER has a security interest in the Receipts purchased. The Receipts
purchased are Accounts and General Intangibles pursuant to UCC Article 9, and BUYER has a security interest in all (a)
SELLER’s present and future Accounts, and General Intangibles, as such terms are deﬁned in the UCC, now owned or
hereafter owned or acquired by SELLER; and (b) all proceeds, as that term is deﬁned in Article 9 of the UCC (a and b
collectively, the “Collateral”). The security interests created by this transaction and evidenced by this Agreement shall
secure all of the BUYER’s entitlements under this or any other agreement now existing or later entered into between
SELLER and BUYER or an aﬃliate of BUYER. SELLER authorizes BUYER to ﬁle one or more UCC-1 forms consistent with
the UCC in order to give notice that the Purchased Amount of Future Receipts is the sole property of BUYER. BUYER may




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notify Account Debtors and/or other persons obligated on the Receipts or Accounts, of SELLER’s sale of the Receipts and
may instruct them to make payment or otherwise render performance to or for the beneﬁt of BUYER. SELLER authorizes
BUYER to debit the Designated Account and all other business bank accounts of SELLER for all costs incurred by BUYER
associated with the ﬁling, amendment or termination of any UCC ﬁlings.

3.5 Negative Pledge. SELLER agrees not to create, incur, or assume, directly or indirectly, any lien on or with respect
to any of the Collateral (as deﬁned in section 3.4 above), as applicable.



IV. MISCELLANEOUS.

4.1 Modiﬁcations. No modiﬁcation, amendment, waiver or consent of any provision of this Agreement shall be
eﬀective unless the same shall be in writing and signed by BUYER.

4.2 Assignment. BUYER may assign, transfer or sell its right to receive the Purchased Amount or delegate its duties
hereunder, either in whole or in part. The Parties have entered into this Agreement in the State of New York and the
Parties further agree that BUYER is the absolute owner of Receipts in consideration of the funds provided. Fundkite may
act as the lead purchaser for itself and other co-investors making FUNDKITE on behalf of itself and all co-investors
collectively “FUNDKITE” and “BUYER”.

4.3 Notices. All notices as required by Section 3.3 hereunder shall be delivered by certiﬁed mail; return receipt
requested to the respective Parties to this Agreement at the addresses set forth in this Agreement and shall become
eﬀective only upon receipt. All other notices, requests, consent, demands, and other communications may be made in
writing sent by regular mail and/or electronic mail to SELLER at rtritinger@mazzonicenter.org and to BUYER at
customerservice@fundkite.com.

4.4 Waiver of Remedies. No failure on the part of BUYER to exercise and no delay in exercising any right under this
Agreement shall operate as a waiver thereof, nor shall any single or partial exercise of any other right under this
Agreement preclude any other or further exercise thereof or the exercise of any other right. Subject to Arbitration, as
provided in section 4.14 of this Agreement, the remedies provided hereunder are cumulative and not exclusive to any
remedies provided by law or equity.

4.5 Phone Recordings and Contact. SELLER and each Guarantor(s) agree that any call between them and BUYER and
its owners, managers, employees and agents may be recorded and/or monitored. Furthermore, SELLER and
Guarantor(s) acknowledge and agree that: (i) they have an established business relationship with BUYER, its managers,
employees and agents (collectively, the “BUYER Parties”) and that SELLER and Guarantor(s) may be contacted by any
of the BUYER Parties from time-to-time regarding SELLER’s performance of its obligations under this Agreement or
regarding other business transactions; (ii) they will not claim that such communications and contacts are unsolicited or
inconvenient; and (iii) any such contact may be made by any of the BUYER Parties in person or at any phone number
(including mobile phone number), email addresses, or facsimile number belonging to SELLER and Guarantor(s)’s oﬃce,
or its owners, managers, oﬃcers, or employees.

4.6 Binding Eﬀect. This Agreement shall be binding upon and inure to the beneﬁt of SELLER, BUYER, and their
respective successors and assigns, except that SELLER shall not have the right to assign its rights hereunder or any
interest herein without the prior written consent of BUYER which consent may be withheld in BUYER's sole discretion.
BUYER reserves the right to assign this Agreement with or without prior written notice to SELLER.

4.7 Governing Law, Venue, and Jurisdiction. Except as set forth in the Arbitration section, this Agreement shall be
governed by or constructed in accordance with the laws of the state of New York, without regard to any applicable
principles of conﬂicts of law. Any suit, action, or proceeding arising out of any disputes between the SELLER,
Guarantor(s) and the BUYER, its aﬃliates agents, attorneys and assigns herein, or arising out of the Agreement
hereunder, or the interpretation, performance or breach hereof, shall if BUYER so elects, be instituted in any court
sitting in New York State, (the "Acceptable Forums"). SELLER and each Guarantor(s) agree that the Acceptable Forums




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are convenient to it/them and submit to the jurisdiction of the Acceptable Forums and waive any and all objections to
jurisdiction or venue. Should such proceeding be initiated in any other forum, SELLER and each Guarantor(s) waive any
right to oppose any motion or application made by BUYER to transfer and/or dismiss such proceeding.

4.8 Survival of Representation, etc. All representations, warranties and covenants herein shall survive the full
execution and delivery of this Agreement and shall continue in full force until all obligations under this Agreement shall
have been satisﬁed in full.

4.9 Severability. In case any of the provisions in this Agreement is found to be invalid, illegal or unenforceable in any
respect, the validity, legality and enforceability of any other provision contained herein shall not in any way be aﬀected
or impaired. Any provision hereof prohibited by law shall be ineﬀective only to the extent of such prohibition without
invalidating the remaining provisions of this Agreement.

4.10 Entire Agreement. This Agreement and any Guaranty embody the entire agreement between SELLER and BUYER
and Guarantor(s) and supersede all prior agreements and understanding relating to the subject matter hereof.

4.11 JURY TRIAL WAIVER. THE PARTIES HERETO WAIVE TRIAL BY JURY IN ANY COURT IN ANY SUIT, ACTION OR
PROCEEDING ON ANY MATTER ARISING IN CONNECTION WITH OR IN ANY WAY RELATED TO THE
TRANSACTIONS OF WHICH THIS AGREEMENT IS A PART, OR THE ENFORCEMENT THEREOF. THE PARTIES
HERETO ACKNOWLEDGE THAT EACH PARTY AGREES TO THIS WAIVER KNOWINGLY, WILLINGLY AND
VOLUNTARILY AND WITHOUT DURESS, AND ONLY AFTER EXTENSIVE CONSIDERATION OF THE RAMIFICATIONS
OF THIS WAIVER WITH THEIR ATTORNEYS.

4.12 CLASS ACTION WAIVER. THE PARTIES HERETO WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST THE
OTHER PARTY AS A REPRESENTATIVE OR MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION, EXCEPT
WHERE SUCH WAIVER IS PROHIBITED BY LAW AGAINST PUBLIC POLICY. TO THE EXTENT ANY PARTY IS
PERMITTED BY LAW TO PROCEED WITH A CLASS OR REPRESENTATIVE ACTION AGAINST THE OTHER, THE
PARTIES HEREBY AGREE THAT: (1) THE PREVAILING PARTY SHALL NOT BE ENTITLED TO RECOVER
ATTORNEYS’ FEES OR COSTS ASSOCIATED WITH PURSUING THE CLASS OR REPRESENTATIVE ACTION
(NOTWITHSTANDING ANY OTHER PROVISION IN THIS AGREEMENT); AND (2) THE PARTY WHO INITIATES OR
PARTICIPATES AS A MEMBER OF THE CLASS WILL NOT SUBMIT A CLAIM OR OTHERWISE PARTICIPATE IN ANY
RECOVERY SECURED THROUGH THE CLASS OR REPRESENTATIVE ACTION.

4.13 SERVICE OF PROCESS. SELLER HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES PERSONAL
SERVICE OF LEGAL PROCESS AND ANY OBJECTION TO THE ABSENCE OF PERSONAL SERVICE OF PROCESS
AND HEREBY AGREES TO ACCEPT SERVICE OF LEGAL PROCESS BY (I) ELECTRONIC MAIL SENT TO SELLER’S
EMAIL ADDRESS PROVIDED TO BUYER BY SELLER ("LAST KNOWN EMAIL ADDRESS OF SELLER”), (II) UNITED
STATES POSTAL SERVICES FIRST CLASS OR CERTIFIED MAIL SENT TO SELLER’S MAILING ADDRESS PROVIDED
TO BUYER BY SELLER ("LAST KNOWN ADDRESS OF SELLER”), OR (III) BY ANY OTHER MEANS PERMITTED BY
NEW YORK LAW. SELLER UNDERSTANDS AND AGREES THAT AN ACTION, LAWSUIT, OR CONTROVERSY MAY
BE TAKEN UP AND CONSIDERED BY A COURT WITHOUT ANY FURTHER NOTICE. SERVICE OF PROCESS SHALL
BE EFFECTIVE UPON SENDING / MAILING OF SERVICE OF PROCESS BY BUYER ("SERVICE DATE”). SELLER
SHALL NOTIFY BUYER OF ANY CHANGE TO ITS LAST KNOWN EMAIL ADDRESS OR ITS LAST KNOWN ADDRESS
FOR SERVICE. UNLESS BUYER IS NOTIFIED OF A CHANGE, BUYER’S LAST KNOWN EMAIL ADDRESS OR ITS
LAST KNOWN ADDRESS SHALL BE PRESUMED TO BE ACCURATE AND VALID FOR THE PURPOSES OF SERVICE
OF PROCESS AND NOTICES. THIS PROVISION SHALL SUPERSEDE ANY NOTICE REQUIREMENTS IN THE
CONTRACT WITH RESPECT TO SERVICE OF PROCESS. SELLER WILL HAVE THIRTY (30) CALENDAR DAYS FROM
THE SERVICE DATE OF THE SERVICE OF PROCESS HEREUNDER IN WHICH TO RESPOND. FURTHERMORE,
SELLER EXPRESSLY CONSENTS THAT ANY AND ALL NOTICE(S), DEMAND(S), OR OTHER COMMUNICATION(S)
UNDER AND PURSUANT TO THIS AGREEMENT SHALL BE DELIVERED IN ACCORDANCE WITH THE PROVISIONS
OF THIS AGREEMENT.

4.14 ARBITRATION. IF BUYER, SELLER OR ANY GUARANTOR(S) REQUESTS, THE OTHER PARTIES AGREE TO




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ARBITRATE ALL DISPUTES AND CLAIMS ARISING OUT OF OR RELATING TO THIS AGREEMENT. IF BUYER,
SELLER OR ANY GUARANTOR(S) SEEKS TO HAVE A DISPUTE SETTLED BY ARBITRATION, THAT PARTY MUST
FIRST SEND TO ALL OTHER PARTIES, BY CERTIFIED MAIL, A WRITTEN NOTICE OF INTENT TO ARBITRATE. IF
BUYER, SELLER OR ANY GUARANTOR(S) DO NOT REACH AN AGREEMENT TO RESOLVE THE CLAIM WITHIN 30
DAYS AFTER THE NOTICE IS RECEIVED, BUYER, SELLER OR ANY GUARANTOR(S) MAY COMMENCE AN
ARBITRATION PROCEEDING WITH MEDIATION AND CIVIL ARBITRATION, INC. D/B/A RAPIDRULING ("RAPID”)
OR, IN CASE RAPID IS UNAVAILABLE AS ARBITRATOR AT THE TIME WHEN THE INTENT TO ARBITRATE ARISES,
THE PARTIES HERETO MAY COMMENCE AN ARBITRATION PROCEEDING WITH JAMS, FORMERLY KNOWN AS
JUDICIAL ARBITRATION AND MEDIATION SERVICES, INC. (“JAMS”), OR, ALTERNATIVELY, THE PARTY
INTENDING TO ARBITRATE A DISPUTE BETWEEN THE PARTIES HERETO MAY SEEK COURT’S APPOINTMENT OF
AN ARBITRATOR TO ARBITRATE A DISPUTE BETWEEN THE PARTIES HERETO. BUYER WILL PROMPTLY
REIMBURSE SELLER OR THE GUARANTOR(S) FOR ANY ARBITRATION FILING FEE, HOWEVER, IN THE EVENT
THAT BOTH SELLER AND THE GUARANTOR(S) MUST PAY FILING FEES, BUYER WILL ONLY REIMBURSE
SELLER’S ARBITRATION FILING FEE AND, EXCEPT AS PROVIDED IN THE NEXT SENTENCE, BUYER WILL PAY ALL
ADMINISTRATION AND ARBITRATOR FEES. IF THE ARBITRATOR FINDS THAT EITHER THE SUBSTANCE OF THE
CLAIM RAISED BY SELLER OR THE GUARANTOR(S) OR THE RELIEF SOUGHT BY SELLER OR THE
GUARANTOR(S) IS IMPROPER OR NOT WARRANTED, AS MEASURED BY THE STANDARDS SET FORTH IN
FEDERAL RULE OF PROCEDURE 11(B), THEN BUYER WILL PAY THESE FEES ONLY IF REQUIRED BY RAPID OR
JAMS RULES. SELLER AND THE GUARANTOR(S) AGREE THAT, BY ENTERING INTO THIS AGREEMENT, THEY ARE
WAIVING THE RIGHT TO TRIAL BY JURY. BUYER, SELLER OR ANY GUARANTOR(S) MAY BRING CLAIMS AGAINST
ANY OTHER PARTY ONLY IN THEIR INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN
ANY PURPORTED CLASS OR REPRESENTATIVE PROCEEDING. FURTHER, BUYER, SELLER AND ANY
GUARANTOR(S) AGREE THAT THE ARBITRATOR MAY NOT CONSOLIDATE PROCEEDINGS FOR MORE THAN ONE
PERSON’S CLAIMS, AND MAY NOT OTHERWISE PRESIDE OVER ANY FORM OF A REPRESENTATIVE OR CLASS
PROCEEDING, AND THAT IF THIS SPECIFIC PROVISION DEALING WITH THE PROHIBITION ON CONSOLIDATED,
CLASS OR AGGREGATED CLAIMS IS FOUND UNENFORCEABLE, THEN THE ENTIRETY OF THIS ARBITRATION
CLAUSE SHALL BE NULL AND VOID. THIS AGREEMENT TO ARBITRATE IS GOVERNED BY THE FEDERAL
ARBITRATION ACT AND NOT BY ANY STATE LAW REGULATING THE ARBITRATION OF DISPUTES. THIS
AGREEMENT IS FINAL AND BINDING EXCEPT TO THE EXTENT THAT AN APPEAL MAY BE MADE UNDER THE
FAA. ANY ARBITRATION DECISION RENDERED PURSUANT TO THIS ARBITRATION AGREEMENT MAY BE
ENFORCED IN ANY COURT WITH JURISDICTION. THE TERMS “DISPUTES” AND “CLAIMS” SHALL HAVE THE
BROADEST POSSIBLE MEANING.

4.15 RIGHT TO OPT OUT OF ARBITRATION. SELLER AND GUARANTOR(S)(S) MAY OPT OUT OF THIS
ARBITRATION CLAUSE. TO OPT OUT OF THIS ARBITRATION CLAUSE, SELLER AND EACH GUARANTOR(S) MUST
SEND BUYER A NOTICE THAT THE SELLER AND EACH GUARANTOR(S) DOES NOT WANT THIS ARBITRATION
CLAUSE TO APPLY TO THIS AGREEMENT. FOR ANY OPT OUT TO BE EFFECTIVE, SELLER AND EACH
GUARANTOR(S) MUST SEND AN OPT OUT NOTICE TO THE FOLLOWING ADDRESS BY REGISTERED MAIL,
WITHIN 14 DAYS AFTER THE DATE OF THIS AGREEMENT:

ARBITRATION OPT OUT,
FundKite, 88 Pine St, 24th Floor New York NY 10005.

4.16 Facsimile Acceptance. Facsimile signatures shall be deemed acceptable for all purposes.

4.17 Electronic Signatures. Electronic (digital) signatures and “DocuSign” signatures shall be deemed acceptable for
all purposes.

4.18 Counterparts. This Agreement may be executed in any number of counterparts, each of which shall be deemed
to be an original, but all such counterparts shall together constitute one and the same Agreement. Electronic signatures
complying with the New York Electronic Signatures and Records Act (N.Y. State Tech. §§ 301-309), as amended from
time to time, or other applicable law will be deemed original signatures for purposes of this Agreement. Transmission by
telecopy, electronic mail or other transmission method of an executed counterpart of this Agreement will constitute due




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and suﬃcient delivery of such counterpart.




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THE "TERMS OF ENROLLMENT IN PROGRAM", APPENDIX “A” AND “GUARANTY OF PERFORMANCE” ARE
HEREBY INCORPORATED IN AND MADE A PART OF THIS AGREEMENT.

Agreement of SELLER: By signing below SELLER agrees to the terms and conditions contained in this Agreement,
including those terms and conditions on the preceding and following pages, and further agrees that this transaction is
for business purposes and not for personal, family, or household purposes, and SELLER will use all funds received
from BUYER to operate or grow its business.

SELLER: MAZZONI CENTER




Agreed to by: Signature

it's CFO (Title)

Agreement of Each Owner Guarantor(s) and Aﬃliated Business Guarantor(s): Each Owner, Guarantor and
Aﬃliated Business Guarantor signing below agrees to the terms of this Agreement, including those terms and conditions
on the preceding and following pages, and further agrees that this transaction is for business purposes and not for
personal, family, or household purposes, and SELLER will use all funds received from BUYER to operate or grow its
business.

Sign as Owner:

Print Name: RACHELLE DENISE TRITINGER




Signature

Individual Guarantors
Guarantor

Print Name: RACHELLE DENISE TRITINGER

Social Security Number:

Driver's License:            State Issued: Pennsylvania




Signature




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                                      Aﬃliated Business Guarantors

​
    Guarantor: 1334-48 BAIN BRIDGE STREET LLC




    by Signature
    Address: 1348 BAINBRIDGE STREET, PHILADELPHIA, PA 19147
    Tax Id#: - State of Incorporation: Pennsylvania



    Guarantor: MAZZONI CENTER D/B/A Mazzoni Center - Washington West




    by Signature
    Address: 1201 Locust St, Philadelphia, PA 19107
    Tax Id#:            State of Incorporation: Pennsylvania




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                                      GUARANTY OF PERFORMANCE

A. BUYER has purchased Future Receipts of SELLER, pursuant to that REVENUE PURCHASE AGREEMENT Purchase and
Sale of Future Receipts (the “Agreement”) dated, incorporated herein.

B. The undersigned Guarantor(s) hereby are parties to the Agreement and each agrees to irrevocably, absolutely and
unconditionally guarantee to BUYER, SELLER’s prompt and complete performance of the following “Guaranteed
Obligations”:

      1. SELLER'S obligation to deposit all Receipts into the Designated Account on a daily basis and
      instruct SELLER'S credit card processor to deposit all Receipts of SELLER into the Designated Account on a daily
      basis.

      2. SELLER'S obligation not to (i) change the Designated Account, (ii) add an additional business bank account,
      (iii) revoke BUYER's authorization to debit the Designated Account, (iv) close the Designated Account without the
      express written consent of BUYER or, (v) take any other action with the intent to interfere with BUYER's right to
      collect the purchased Receipts.

      3. SELLER’s obligation not to enter into any arrangement, agreement, or a loan that relates to or
      encumbers SELLER'S Receipts of future revenue with any party other than BYUER, unless permitted in writing by
      BUYER;

      4. SELLER’s representations, covenants and warranties shall be truthful, accurate and complete and shall not be
      misleading in any material respect when made;

      5. SELLER’s obligation to provide Banking Records to BUYER in accordance with the Agreement;

      6. SELLER’s obligation to not voluntarily transfer or sell all or substantially all of its assets, shares and/or
      membership interests without prior written consent of BUYER;

Indemniﬁcation. Guarantor indemniﬁes and hold harmless BUYER against all loses, damages, claims, liabilities and
expenses (including reasonable attorney's fees) incurred, resulting from SELLER’s failure to perform any of the
Guaranteed Obligations.

Guarantor(s) Waivers. In the event that the SELLER fails to perform any of the Guaranteed Obligations, BUYER may
enforce its rights under this Guaranty against any and all Guarantor(s) without ﬁrst seeking to obtain performance from
SELLER or any other Guarantor(s). BUYER is not required to notify Guarantor(s) of any of the following events and
Guarantor(s) will not be released from its obligations under this Guaranty if it is not notiﬁed of: (i) SELLER’s default, or
failure to perform any obligations under the Agreement; (ii) BUYER’s acceptance of the Agreement or this Guaranty;
and (iii) any renewal, extension or other modiﬁcation of the Agreement or SELLER'S other obligations to BUYER. In
addition, BUYER may take any of the following actions without releasing Guarantor(s) from any of its obligations under
this Guaranty: (i) renew, extend or otherwise modify the Agreement or SELLER’s other obligations to BUYER; and (ii)
release SELLER from its obligations to BUYER. Until SELLER’s obligations to BUYER under the Agreement are satisﬁed in
full, Guarantor(s) shall not seek reimbursement from SELLER or any other Guarantor(s) for any amounts paid by it under
this Guaranty.

Guarantor(s) permanently waives and shall not seek to exercise any of the following rights that it may have against the
SELLER, any other Guarantor(s), or any collateral provided by SELLER or any other Guarantor(s), for any amounts paid
by it, or acts performed by it, under this agreement: (i) subrogation; (ii)reimbursement; (iii)performance; (iv)
indemniﬁcation; or (v) contribution. In the event that BUYER must return any amount paid by or on behalf of SELLER or
any other Guarantor(s) including but not limited to, a proceeding ﬁled under the United States Bankruptcy Code or any
similar law, Guarantor(s)’s obligations under this agreement shall include any such amounts.




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Acknowledgment of Purchase. Guarantor(s) acknowledges and agrees that the Purchase Price paid by BUYER to
SELLER in exchange for the Purchased Amount of Receipts is a purchase of the Purchased Amount of Receipts and is
not intended to be treated as a loan or ﬁnancial accommodation from BUYER to SELLER. Guarantor(s) speciﬁcally
acknowledges that BUYER is not a lender, bank or credit card processor, and that BUYER has not oﬀered any loans to
SELLER. Guarantor(s) acknowledges the Receipts Purchase Price paid to SELLER is good and valuable consideration for
the sale of the Purchased Amount of Receipts.
Joint and Several Liability. The obligations hereunder of the persons or entities constituting Guarantor(s) under this
Agreement are joint and several.

JURY TRIAL WAIVER. THE PARTIES HERETO WAIVE TRIAL BY JURY IN ANY COURT IN ANY SUIT, ACTION OR
PROCEEDING ON ANY MATTER ARISING IN CONNECTION WITH OR IN ANY WAY RELATED TO THE
TRANSACTIONS OF WHICH THIS AGREEMENT IS A PART OR THE ENFORCEMENT THEREOF. THE PARTIES
HERETO ACKNOWLEDGE THAT EACH PARTY AGREES TO THIS WAIVER KNOWINGLY, WILLINGLY AND
VOLUNTARILY AND WITHOUT DURESS, AND ONLY AFTER EXTENSIVE CONSIDERATION OF THE RAMIFICATIONS
OF THIS WAIVER WITH THEIR ATTORNEYS.

CLASS ACTION WAIVER. THE PARTIES HERETO WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST THE
OTHER PARTY AS A REPRESENTATIVE OR MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION, EXCEPT
WHERE SUCH WAIVER IS PROHIBITED BY LAW AGAINST PUBLIC POLICY. TO THE EXTENT ANY PARTY IS
PERMITTED BY LAW OR COURT OF LAW TO PROCEED WITH A CLASS OR REPRESENTATIVE ACTION AGAINST
THE OTHER, THE PARTIES HEREBY AGREE THAT: (1) THE PREVAILING PARTY SHALL NOT BE ENTITLED TO
RECOVER ATTORNEYS’ FEES OR COSTS ASSOCIATED WITH PURSUING THE CLASS OR REPRESENTATIVE
ACTION (NOTWITHSTANDING ANY OTHER PROVISION IN THIS AGREEMENT); AND (2) THE PARTY WHO
INITIATES OR PARTICIPATES AS A MEMBER OF THE CLASS WILL NOT SUBMIT A CLAIM OR OTHERWISE
PARTICIPATE IN ANY RECOVERY SECURED THROUGH THE CLASS OR REPRESENTATIVE ACTION.

ARBITRATION. IF BUYER, SELLER OR ANY GUARANTOR(S) REQUESTS, THE OTHER PARTIES AGREE TO
ARBITRATE ALL DISPUTES AND CLAIMS ARISING OUT OF OR RELATING TO THIS AGREEMENT. IF BUYER,
SELLER OR ANY GUARANTOR(S) SEEKS TO HAVE A DISPUTE SETTLED BY ARBITRATION, THAT PARTY MUST
FIRST SEND TO ALL OTHER PARTIES, BY CERTIFIED MAIL, A WRITTEN NOTICE OF INTENT TO ARBITRATE. IF
BUYER, SELLER OR ANY GUARANTOR(S) DO NOT REACH AN AGREEMENT TO RESOLVE THE CLAIM WITHIN 30
DAYS AFTER THE NOTICE IS RECEIVED, BUYER, SELLER OR ANY GUARANTOR(S) MAY COMMENCE AN
ARBITRATION PROCEEDING WITH MEDIATION AND CIVIL ARBITRATION, INC. D/B/A RAPIDRULING ("RAPID”)
OR, IN CASE RAPID IS UNAVAILABLE AS ARBITRATOR AT THE TIME WHEN THE INTENT TO ARBITRATE ARISES,
THE PARTIES HERETO MAY COMMENCE AN ARBITRATION PROCEEDING WITH JAMS, FORMERLY KNOWN AS
JUDICIAL ARBITRATION AND MEDIATION SERVICES, INC. (“JAMS”), OR, ALTERNATIVELY, THE PARTY
INTENDING TO ARBITRATE A DISPUTE BETWEEN THE PARTIES HERETO MAY SEEK COURT’S APPOINTMENT OF
AN ARBITRATOR TO ARBITRATE A DISPUTE BETWEEN THE PARTIES HERETO. BUYER WILL PROMPTLY
REIMBURSE SELLER OR THE GUARANTOR(S) FOR ANY ARBITRATION FILING FEE, HOWEVER, IN THE EVENT
THAT BOTH SELLER AND THE GUARANTOR(S) MUST PAY FILING FEES, BUYER WILL ONLY REIMBURSE
SELLER’S ARBITRATION FILING FEE AND, EXCEPT AS PROVIDED IN THE NEXT SENTENCE, BUYER WILL PAY ALL
ADMINISTRATION AND ARBITRATOR FEES. IF THE ARBITRATOR FINDS THAT EITHER THE SUBSTANCE OF THE
CLAIM RAISED BY SELLER OR THE GUARANTOR(S) OR THE RELIEF SOUGHT BY SELLER OR THE
GUARANTOR(S) IS IMPROPER OR NOT WARRANTED, AS MEASURED BY THE STANDARDS SET FORTH IN
FEDERAL RULE OF PROCEDURE 11(B), THEN BUYER WILL PAY THESE FEES ONLY IF REQUIRED BY RAPID OR
JAMS RULES. SELLER AND THE GUARANTOR(S) AGREE THAT, BY ENTERING INTO THIS AGREEMENT, THEY ARE
WAIVING THE RIGHT TO TRIAL BY JURY. BUYER, SELLER OR ANY GUARANTOR(S) MAY BRING CLAIMS AGAINST
ANY OTHER PARTY ONLY IN THEIR INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN
ANY PURPORTED CLASS OR REPRESENTATIVE PROCEEDING. FURTHER, BUYER, SELLER AND ANY
GUARANTOR(S) AGREE THAT THE ARBITRATOR MAY NOT CONSOLIDATE PROCEEDINGS FOR MORE THAN ONE
PERSON’S CLAIMS, AND MAY NOT OTHERWISE PRESIDE OVER ANY FORM OF A REPRESENTATIVE OR CLASS
PROCEEDING, AND THAT IF THIS SPECIFIC PROVISION DEALING WITH THE PROHIBITION ON CONSOLIDATED,
CLASS OR AGGREGATED CLAIMS IS FOUND UNENFORCEABLE, THEN THE ENTIRETY OF THIS ARBITRATION




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                                         ​AKF Inc DBA FundKite © 2024 All Rights Reserved v041224
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CLAUSE SHALL BE NULL AND VOID. THIS AGREEMENT TO ARBITRATE IS GOVERNED BY THE FEDERAL
ARBITRATION ACT AND NOT BY ANY STATE LAW REGULATING THE ARBITRATION OF DISPUTES. THIS
AGREEMENT IS FINAL AND BINDING EXCEPT TO THE EXTENT THAT AN APPEAL MAY BE MADE UNDER THE
FAA. ANY ARBITRATION DECISION RENDERED PURSUANT TO THIS ARBITRATION AGREEMENT MAY BE
ENFORCED IN ANY COURT WITH JURISDICTION. THE TERMS “DISPUTES” AND “CLAIMS” SHALL HAVE THE
BROADEST POSSIBLE MEANING.

RIGHT TO OPT OUT OF ARBITRATION. SELLER AND GUARANTOR(S) MAY OPT OUT OF THIS ARBITRATION
CLAUSE. TO OPT OUT OF THIS ARBITRATION CLAUSE, SELLER AND EACH GUARANTOR(S) MUST SEND BUYER
A NOTICE THAT THE SELLER AND EACH GUARANTOR(S) DOES NOT WANT THIS CLAUSE TO APPLY TO THIS
AGREEMENT. FOR ANY OPT OUT TO BE EFFECTIVE, SELLER AND EACH GUARANTOR(S) MUST SEND AN OPT
OUT NOTICE TO THE FOLLOWING ADDRESS BY REGISTERED MAIL, WITHIN FOURTEEN 14 DAYS AFTER THE
DATE OF THIS AGREEMENT:

ARBITRATION OPT OUT,
FundKite, 88 Pine Street, 24th Floor Street New York NY 10005.

SERVICE OF PROCESS. EACH GUARANTOR(S) HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES
PERSONAL SERVICE OF LEGAL PROCESS AND ANY OBJECTION TO THE ABSENCE OF PERSONAL SERVICE OF
PROCESS AND HEREBY AGREES TO ACCEPT SERVICE OF LEGAL PROCESS BY (I) ELECTRONIC MAIL SENT TO
GUARANTOR’S EMAIL ADDRESS PROVIDED TO BUYER BY GUARANTOR ("LAST KNOWN EMAIL ADDRESS OF
GUARANTOR”), (II) UNITED STATES POSTAL SERVICES CERTIFIED MAIL SENT TO GUARANTOR’S MAILING
ADDRESS PROVIDED TO BUYER BY GUARANTOR ("LAST KNOWN ADDRESS OF GUARANTOR”), OR (III) BY ANY
OTHER MEANS PERMITTED BY NEW YORK LAW. GUARANTOR UNDERSTANDS AND AGREES THAT AN ACTION,
LAWSUIT, OR CONTROVERSY MAY BE TAKEN UP AND CONSIDERED BY A COURT WITHOUT ANY FURTHER
NOTICE. SERVICE OF PROCESS SHALL BE EFFECTIVE UPON SENDING / MAILING OF SERVICE OF PROCESS BY
BUYER ("SERVICE DATE”). GUARANTOR SHALL NOTIFY BUYER OF ANY CHANGE TO ITS LAST KNOWN EMAIL
ADDRESS OR ITS LAST KNOWN ADDRESS FOR SERVICE. UNLESS BUYER IS NOTIFIED OF A CHANGE, BUYER’S
LAST KNOWN EMAIL ADDRESS OR ITS LAST KNOWN ADDRESS SHALL BE PRESUMED TO BE ACCURATE AND
VALID FOR THE PURPOSES OF SERVICE OF PROCESS AND NOTICES. THIS PROVISION SHALL SUPERSEDE ANY
NOTICE REQUIREMENTS IN THE CONTRACT WITH RESPECT TO SERVICE OF PROCESS. EACH GUARANTOR(S)
WILL HAVE THIRTY (30) CALENDAR DAYS FROM THE SERVICE DATE OF THE SERVICE OF PROCESS
HEREUNDER IN WHICH TO RESPOND. FURTHERMORE, EACH GUARANTOR(S) EXPRESSLY CONSENTS THAT
ANY AND ALL NOTICE(S), DEMAND(S), REQUEST(S) OR OTHER COMMUNICATION(S) UNDER AND PURSUANT
TO THIS AGREEMENT SHALL BE DELIVERED IN ACCORDANCE WITH THE PROVISIONS OF THIS AGREEMENT.

Guarantor(s) Acknowledgement. Guarantor(s) acknowledges that: (i) He/She understands the seriousness of
provisions of this Agreement; (ii) He/She has had a full opportunity to consult with counsel of his/her choice; and (iii)
He/She has consulted with counsel of its choice or has decided not to avail himself/herself of that opportunity.




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THE TERMS, DEFINITIONS, CONDITIONS AND INFORMATION SET FORTH IN THE “REVENUE PURCHASE
AGREEMENT PURCHASE AND SALE OF FUTURE RECEIPTS” AND “TERMS OF ENROLLMENT IN PROGRAM” ARE
HEREBY INCORPORATED IN AND MADE A PART OF THIS PERFORMANCE GUARANTY.




Individual Guarantors
Guarantor

Print Name: RACHELLE DENISE TRITINGER

Social Security Number:

Driver's License:         State Issued: Pennsylvania




Signature




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                                      Aﬃliated Business Guarantors

​
    Guarantor: 1334-48 BAIN BRIDGE STREET LLC




    by Signature
    Address: 1348 BAINBRIDGE STREET, PHILADELPHIA, PA 19147
    Tax Id#: - State of Incorporation: Pennsylvania



    Guarantor: MAZZONI CENTER D/B/A Mazzoni Center - Washington West




    by Signature
    Address: 1201 Locust St, Philadelphia, PA 19107
    Tax Id#:            State of Incorporation: Pennsylvania




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                                  APPENDIX A: THE FEE STRUCTURE

A. Service Fees

      Origination FEE - $20,185.00 The Origination Fee is deducted from the Purchase Price.

B. NSF Fee - $35.00. The NSF Fee is due each time the BUYER’S debit ACH of the Account is rejected for insuﬃcient
funds. And will be debited from the SELLER'S account on the next available business day or added to the balance.

C. Rejected ACH Fee- $100.00. The Rejected ACH Fee is due if SELLER directs the bank to reject BUYER'S debit
ACH, and will be debited from the SELLER’S account on the next available business day or added to the balance.

D. Breach Administration Fee -If SELLER violates any term or covenant in this Agreement, and such breach is not
cured within and ﬁve (5) calendar days of its ﬁrst occurrence, SELLER shall pay the BUYER the amount of 25% of the
total amount of Purchased Amount outstanding.

The Breach Administration Fee is intended to compensate the BUYER for the additional administrative costs associated
with SELLER'S failure to comply with the terms of the Agreement. This amount will be added to the total amount to be
remitted by SELLER eﬀectively providing an additional discount to the BUYER. The parties agree that this fee is a good
faith estimate of the damages caused by the breach of the Agreement in addition to BUYER'S other remedies speciﬁed
in this Agreement, including the increased resources required to be expended by the BUYER to respond to the breach,
as well as other damages and expenses caused by the breach.


Agreement of Seller
MAZZONI CENTER




Agreed to by: Signature                                                                                     it's CFO (Title)




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                                                                                             ​


                              AUTHORIZATION AGREEMENT
                      FOR AUTOMATED CLEARING HOUSE TRANSACTIONS

MAZZONI CENTER (“SELLER”) hereby authorizes AKF Inc, DBA FundKite (“FUNDER”) to present automated clearing
house (ACH) debits to the following checking account in the amount of fees and other payments due to Funder from
Seller under the terms of that Revenue Purchase Agreement (the “Agreement”) dated SEPTEMBER 11, 2024 entered
into between Seller and FUNDER, as it may be amended, supplemented or replaced from time to time. Seller also
authorizes FUNDER to initiate additional entries (debits and credits) to correct any erroneous transfers. In
addition, SELLER violates any term or covenant in this Agreement, Seller authorizes FUNDER to debit any and all
accounts controlled by Seller or controlled by any entity with the same Federal Tax Identiﬁcation Number as Seller up to
the total amount, including but not limited to, all fees and charges, due to FUNDER from Seller under the terms of the
Agreement. Seller agrees to be bound by the Rules and Operating Guidelines of NACHA and represents and warrants
that the designated account is established and used primarily for commercial/business purposes, and not for consumer,
family or household purposes. Seller authorizes FUNDER to contact Seller’s ﬁnancial institution to obtain available
funds information and/or to verify any information Seller has provided about the designated checking account and to
correct any missing, erroneous or out-of-date information. Seller understands and agrees that any revocation or
attempted revocation of this Authorization will constitute an event of default under the Agreement. In the event that
Seller closes the designated checking account, or the designated checking account has insuﬃcient funds for any ACH
transaction under this Authorization, Seller authorizes FUNDER to contact Seller’s ﬁnancial institution and obtain
information (including account number, routing number and available balance) concerning any other deposit account(s)
maintained by Seller with Seller’s ﬁnancial institution, and to initiate ACH transactions under this Authorization to such
additional account(s).

Transfer Funds To/From:
Name of Bank:
ABA Transit/Routing
Checking Account #:


This authorization is to remain in full force and eﬀect until all amounts due to Buyer under the Agreement have been paid in full,
in such time and in such manner as to aﬀord Buyer a reasonable opportunity to act on it.


Seller Information:
Seller's Name: MAZZONI CENTER
Contract ID: 70234927 ​
Merchant’s Tax ID:
Print Name: RACHELLE DENISE TRITINGER
​Signature of Authorized Representative:




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                 EXHIBIT C
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                                                         Business Funding Application



COMPANY NAME                                                                                                     FEDERAL TAX ID
 Mazzoni Center

BUSINESS ADDRESS
 1348 Bainbridge St

CITY                                                    STATE                                                    ZIP CODE
 Philadelphia                                             Pennsylvania                                             19147

DATE BUSINESS STARTED                                   STATE OF INCORPORATION                                   TYPE OF ENTITY
 04/01/1982                                               Pennsylvania                                             Corporation

FIRST NAME                                              LAST NAME                                                TITLE
 Rachelle                                                 Tritinger                                                Executive

OWNER SSN                                               DATE OF BIRTH                                            OWNERSHIP %
                                                                                                                   100

OWNER HOME ADDRESS


                                                                                                                              REDACTED
CITY                                                    STATE                                                    ZIP CODE
                                                          Pennsylvania

SIGNATURE                                               TYPE YOUR NAME                                           DATE
                                                          Rachelle Tritinger                                       09/09/2024




 *By signing above, each of the above listed business applicant and principal owner (individually and collectively, you) authorize Fundkite (FundKite) and each
 of its representatives, successors, assigns and designees that may be involved with or acquire purchases of future receivables including Sales Based Financing
 transactions (recipients) to obtain consumer or personal and business reports and other information about you, including credit card processor statements and
 bank statements, from one or more consumer reporting agencies, such as TransUnion, Experian, and Equifax, and from other credit bureaus, banks, creditors
 and other third parties (1) to review the transaction you have applied for, including to authenticate your identity, verify information in your application, make
 underwriting decisions, and for related purposes, and (2) if your application results in your entering into any transaction with any of the recipients, to service,
 monitor, collect and enforce the transaction. You also authorize Fundkite, as agent for the recipients, to transmit this application form, along with any of the
 foregoing information obtained in connection with this application, to any or all of the recipients for the foregoing purposes. You also consent to the release, by
 any creditor or ﬁnancial institution, of any information relating to any of you, to Fundkite, as agent on behalf of the recipients, and to each of the recipients, on
 its own behalf.

 Consent to telephone calls: you expressly consent to receiving marketing and other calls and messages, to landline, wireless or similar devices, including auto-
 dialed and prerecorded message calls, and sms messages (including text messages) from recipients, at telephone numbers that you have provided. Message
 and data rates may apply.

 Each signer acknowledges that Fundkite and/or recipients may rely on the statements and information set forth in this application and that such statements
 and information may be incorporated by reference in any agreement any of the undersigned may enter into with Fundkite and/or recipients. Each of the
 undersigned hereby agrees to notify Fundkite and/or recipients promptly of any change in any such statement or information. Each signer has read and
 understands the terms of this application, including any addendum, and represents and warrants that the information contained herein is true and correct.

 I, principal owner(s) of the business applicant, authorize Fundkite and/or recipients to obtain my consumer report, including my credit score, and other
 information, for the purpose of obtaining a working capital for the business applicant.




ver:FB-IP: 68.162.70.34
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                                         Congratulations, On Your Preliminary Offer!

Dear MAZZONI CENTER,

This preliminary oﬀer (“Preliminary Oﬀer,” or “PO”) is based on an initial review and is not a guaranty or commitment that FundKite will
consummate a transaction. Complete contracts and documentation described herein must be provided for underwriting review before FundKite
will enter into a transaction. Any misrepresentation in the application submitted to FundKite or material adverse change may void this Preliminary
Oﬀer, which is subject to change or cancellation if the requested transaction no longer meets applicable requirements. Please take your time to
go over the below details and complete your documents.


                                                      PROPOSED FUNDING DETAILS

 ITEM                                     TERM                   DESCRIPTION

                                                                 The “Purchase Price” is the amount Fundkite (the “Buyer”) would remit
                                                                 to your business(es) (collectively, the “Seller”) in exchange for the
 Purchase Price                           $500,000.00
                                                                 Purchased Amount of receivables, as further reduced by Closing Costs
                                                                 below (if any).

                                                                 The “Purchased Amount” is the total future receivables purchased by
 Purchased Amount                         $690,000.00
                                                                 Buyer from Seller.

                                                                 The “Disbursement Amount” is the difference between the Purchase
                                                                 Price of receivables reduced by any Closing Costs, including a Prior
                                          $479,815.00
 Disbursement Amount                                             Balance, which will be remitted to your business bank account from the
                                                                 Purchase Price.

                                                                 Agreed-upon percentage (i.e. portion) of Seller’s future business revenue
 Specified Percentage                     9%
                                                                 to be remitted to Buyer until the Purchased Amount is received.

                                          Buyer will collect the Purchased Amount by debiting your business bank account in
                                          periodic remittances or “installments” that will occur Weekly. The initial Remittance
 Manner, frequency, and
                                          Amount will be $24,642.86, which is based upon 9% of your estimated revenue from
 amount of remittances
                                          documentation submitted, and representations, by Seller. For details on your right to
                                          Adjustment of the initial Remittance Amount, see Section 1.3 of your contract.

 Structure of Financing                   Revenue-based financing in the form of a purchase-and-sale of future business receivables.

                                          In order to ensure Seller’s prompt and complete remittance of the Purchased Amount,
 Seller’s Pledge of Security
                                          Seller shall grant Buyer a security interest in Seller’s accounts-receivables.

                                          Owner(s) of Seller(s) personal guarantee(s) of performance (not payment) of Seller’s
 Guaranty of Performance
                                          obligations under the proposed financing.

                                          As the pace of remittance is based upon the revenue flow of your business, there is no
                                          additional cost or fees accrued based solely on remittance pace (i.e. amount of time
                                          required to satisfy the Purchased Amount), whether slower or faster than anticipated based
 Costs or Discounts Associated
                                          upon documentation and representations made by your business in the application process.
 with Prepayment
                                          The contract does not provide a discount for rapid remittance of the Purchased Amount. For
                                          information on our Exceptional Delivery Options, e-mail us at
                                          customerservice@fundkite.com.




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                                                            CLOSING COSTS

 Origination Fee                     $20,185.00                 Buyer’s charge for origination fee.

                                                                Seller’s prior balance(s) due to Buyer and/or a third-party(s), which
 Prior Balance(s)                    To Be Determined           would be deducted from the Purchase Price and remitted/applied to
                                                                satisfy Seller’s obligations.

                            CREDIT AUTHORIZATION TO FUNDKITE AND RELATED ENTITIES



This Preliminary Offer is for informational purposes, and is intended to highlight some of the material terms and conditions of the
proposed Sale of Future Receipts Agreement (the "Agreement"), an offer being extended by Buyer, notwithstanding any
alternative description of a product that may have been communicated to the Seller. Among other things, Seller and Seller's
Owner(s) affirm and acknowledge that the Agreement requires that (i) the Owner will personally guaranty performance by the
Seller under the Agreement, (ii) the Purchased Amount will be reduced by Closing Costs; (iii) the Seller may be subject to certain
default fees/damages during the course of the Agreement, should an Event of Default occur; and (iv) to the extent the Specified
Percentage is remitted via Remittance Amount payments, those Remittance Amounts will be through an automated ACH debit of
the Seller’s bank account. This preliminary offer is not a contract and is not binding on either Buyer and/or Seller(s).


Test Deal Participation Email (hereinafter “you” “your” and “yours”) understand that by signing this notice, you are providing
“written instructions” under the Fair Credit Reporting Act to AKF Inc. dba FundKite (“FundKite”), thereby authorizing FundKite
to obtain information from your personal consumer credit report and business credit profile and/or other information from
TransUnion, Experian, Equifax, Thompson Reuters Clear and/or LexisNexis. You hereby authorize FundKite to obtain such
information to confirm your identity to avoid fraudulent transactions in your name, determine prequalification for a commercial
transaction or any other lawful purpose covered under the Fair Credit Reporting Act.

Principal Owner:

Print Name: RACHELLE DENISE TRITINGER




Signature:




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                                                 Funding Checkout

By checking by next to each statement below, you are verifying the statement is true, complete and accurate. If the
statement below is not true, complete and accurate, please contact FundKite Underwriting at (212)-952-0001 or by
email underwriting@fundkite.com


    My name is RACHELLE DENISE TRITINGER and I am a majority owner of MAZZONI CENTER.

    MAZZONI CENTER is open and operating without any restrictions.

    My average gross sales for the last four months are $1,130,871.65 per month.

   I have read and understand the Revenue Purchase Agreement and I agree to all the terms and conditions
therein.

    I understand this is NOT a loan and there is no interest rate, no ﬁxed payment and no maturity date associated
with the sale of my Receipts.

​   I have agreed to sell $690,000.00 of my Receipts to FundKite in exchange for the Purchase Price of $500,000.00
and I will remit to FundKite each week on Wednesday 9% of my sales until the Full Purchased Amount has been
paid.

    I will not sell additional receipts without FundKite’s prior written consent. Any sale of my Receipts without prior
written consent of FundKite is a material breach of the agreement.

    I am not in or contemplating business or personal bankruptcy.

   I have not taken any additional funding in the last 48 hours and have disclosed all prior funding agreements to
FundKite.

    I have disclosed any and all pending or entered judgments, liens or settlements as against the business or
individual owner, entered into or negotiated within the past 2 years.

    I will continue to provide FundKite with ongoing electronic access to the Designated Account and provide bank
statements, credit card receipts and batching reports for reconciliation or upon request.

   I have agreed to pay a service fee in the amount of $20,185.00 and as a result my net disbursement (Deposit to
my Account) will be $479,815.00 on day of funding.    I understand that Fundkite has relied upon the truthfulness,
accuracy and completeness of all the information I have provided to Fundkite and any misrepresentation of facts,
omission of facts or misleading information is a material breach of the Agreement.

    I am not currently planning to relocate the business within the next 12 months. If I decide to relocate the
business within the next 12 months I will notify FundKite prior to the move.




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          Reconciliations, Here's How it Works
                We reconcile your sales to ensure you are remitting

           payments that are reﬂective of your actual sales and not more.




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                                      Reconciliation Frequency




Weekly, each Tuesday we calculate your total Sales deposits for the previous 7 days, and debit the account the on the
                                                next business day.




Monthly, By the 12th of the month we calculate your total sales for the previous month and adjust your debits to reﬂect
                          the remittance percentage going forward until next reconciliation.




      Important - Your Reconciliation Frequency is Monthly Unless you select the option below


                                        Weekly Reconciliation




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                                       Schedule 1 to Revenue Purchase Agreement


As deﬁned in the Merchant Agreement Dated SEPTEMBER 11, 2024 , to which this Schedule is appended and made part
thereof, “FUNDER” encompasses the lead purchaser and any and all co-investors. The co-investors speciﬁcally include each
of the corporate persons named below:


 FundKite SPV LLC

 Fundkite SPV LLC Series 10/19/23

 Fundkite SPV LLC Series 10/31/23

 Fundkite SPV LLC Series 12/08/23

 Fundkite SPV LLC Series 02/23/24

 Fundkite SPV LLC Series 04/04/24

 1025MMT LLC

 American Direct Funding LLC

 Calitalist B2B Investment LLC

 DeRider Funding Capital LLC

 Moonbonk LLC

 LOUD Dividend Growth FUND I MCA LLC

 LOUD Private Growth I LLC

 Pinkdome Corporation


Nothing in this Schedule in any way modiﬁes the obligation of Merchant to deal exclusively with the FundKite as the sole
and exclusive party with authority to act on behalf of itself and any and all co-investors as FUNDER.

By signing below, Merchant acknowledges that each of the above-named co-investors may enforce any and all terms of the
Merchant Agreement against Merchant acting jointly, as a collective body, or severally, in their respective individual
capacity.

Acknowledgment of Merchant: Name Of Merchant: MAZZONI CENTER

Agreed to by: Print Name: RACHELLE DENISE TRITINGER It's CFO (Title)




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09-23-2024

VIA EMAIL: rtritinger@mazzonicenter.org rtritinger@mazzonicenter.org
MAZZONI CENTER DBA MAZZONI CENTER / MAZZONI CENTER OUR HEALTH. OUR LIVES. OUR
COMMUNITY.
Atten: RACHELLE DENISE TRITINGER
1348 BAINBRIDGE ST,
PHILADELPHIA, PA 19147

             RE: Notice of Event of Breach Under Revenue Purchase Agreement (“Agreement”) with AKF,
             Inc. d/b/a FundKite (“FundKite”) dated SEPTEMBER 11, 2024

                          URGENT IMMEDIATE RESPONSE REQUIRED

Dear RACHELLE DENISE TRITINGER,

I am writing to advise you that FundKite received notice that its scheduled ACH debit of Receipts
from the business bank account of MAZZONI CENTER (“Merchant”) Merchant’s Designated Account
was blocked.

FundKite’s inability to successfully debit the Merchant’s Designated Account due to any “block”
placed on its debits by or at your behest constitutes a breach of the Revenue Purchase Agreement
(the “Agreement”) between Merchant and FundKite. See Agreement, Section 2. When Merchant
breaches the Agreement, 100% of the uncollected Receipts that were purchased by FundKite
become immediately due and FundKite becomes entitled to a breach administration fee equal to 25%
of the amount of uncollected Receipts. See Agreement, Section 3.1 (d) and Appendix A (D).

Please contact FundKite before 3PM EST MONDAY SEPTEMBER 23RD, 2024 to discuss curing
Merchant’s breach of the Agreement. The failure to contact FundKite upon receipt of this notice
regarding this matter will result in the breach administration fee being incurred and FundKite may
take legal action to enforce its rights and remedies under the Agreement, including initiating a
lawsuit against the Merchant and all Guarantors, for breaching the Agreement.

The foregoing is without prejudice to FundKite’s rights and nothing contained herein shall be
deemed a waiver of any such rights, all of which are hereby expressly reserved.


Sincerely,


Yesenia Rodriguez
Recovery and Litigation
Email: yesenia.r@fundkite.com
Direct Line: 1-929-445-5600


[1] Capitalized terms not otherwise defined herein have the meaning given to them in the
Agreement.




                                        AKF Inc DBA FundKite © 2022 All Rights Reserved
Contract: # 70234927
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                  EXHIBIT F
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         Mazzoni Center d/b/a Mazzoni Center / Mazzoni Center Out Health. Our Lives. Our Community
                  1348 Bainbridge Street
      Philadelphia                                    PA                                       19147
        267-389-3431                                                           NPChrysanthem@MDWCG.com




                      The Claimant and Respondent entered into a Revenue Purchase Agreement on
                      September 11, 2024, which the respondent breached on September 19, 2024. See
                      RPA attached.
                         862,500.00
                            ✔                        ✔

                            ✔




          AKF, Inc d/b/a Fundkite                                                Oleg A. Mestechkin

                  88 Pine Street, Suite 2430                               Mestechkin Law Group P.C.
      New York                             10005                                 2218 Ocean Avenue
        NY                                                           Brooklyn                              11229
                                                                        NY
        om@lawmlg.com                                                  2122561113                    6463652069
                                                                       om@lawmlg.com

NOTICE PURSUANT TO NEW YORK'S CIVIL PRACTICE LAW AND RULES § 7503(c): unless the party served applies to stay the
arbitration within twenty (20) days after service the party served shall thereafter be precluded from objecting that a valid
agreement was not made or has not been complied with and from asserting in Court the bar of a limitation of time.
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Kathleen A. Brady, MD, MSCE (she/her/hers)
Director/Medical Director
Division of HIV Health
Philadelphia Department of Public Health

Philadelphia, PA 19107
E-mail:
Phone:
Fax:
https://phillykeeponloving.com/

From: Kathleen A Brady
Sent: Thursday, October 17, 2024 12:22 PM
To: Sultan Shakir        @mazzonicenter.org>
Subject: FW: Mazzoni Center

Hi Sultan,
I received this email from PDPH Chief of Staff yesterday. Can you tell me what’s going on? I’ve been
told to hold all of your invoices for payment. Should we set up a call to discuss?

Kathleen

Kathleen A. Brady, MD, MSCE (she/her/hers)
Director/Medical Director
Division of HIV Health
Philadelphia Department of Public Health

Philadelphia, PA 19107
E-mail:
Phone:
Fax:
https://phillykeeponloving.com/


From: Sara Enes
Sent: Tuesday, October 15, 2024 2:44 PM
To: Kathleen A Brady                  @phila.gov>; Naomi Mirowitz <                       @phila.gov>
Subject: Mazzoni Center

Hi Kathleen and Naomi,

I received an email late on Friday afternoon from the Law department regarding the Mazzoni Center.
The City received a lien notice from one of Mazzoni’s funders, indicating that Mazzoni has defaulted
on their loan. This lien exposes the city to liability, and we have been instructed by law not to make
any payments to Mazzoni until law determines liability and to whom we should be making payments. I
have already asked Bill Marks not to process payments. Please instruct your staff to do the same.

Please also reach out to Mazzoni and see if they can provide information about where they are
headed financially. I am happy to discuss further or relay any questions to law, or schedule a call for
all of us to discuss.


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Thanks,
Sara

Sara Enes Thorpe, MBA, MSW (she/her)
Chief of Staff
Philadelphia Department of Public Health

Philadelphia, PA 19107




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                   EXHIBIT I
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From: llg-notices@stripe.com <llg-notices@stripe.com>
Sent: Monday, October 28, 2024 5:23 AM
To: Sultan Shakir (He/Him) <sshakir@mazzonicenter.org>

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Subject: [EXTERNAL] UCC Lien Notice on your Stripe Account for Mazzoni Center d/b/a Mazzoni
Center / Mazzoni Center Our Health. Our Lives. Our Community., 1334-48 Bain Bridge Street Llc,
Mazzoni Center d/b/a Mazzoni Center - Washington West

Hi there,

This message is to notify you that Stripe received the attached notice regarding your Stripe account.
The notice seeks to have Stripe turn over funds in your Stripe account to the Creditor.

Until you resolve the situation with the Creditor, Stripe will hold a reserve for the amount sought by
the Creditor.

This is solely a notice of our receipt of the lien. We strongly encourage you to promptly reach out to
the Creditor to discuss the nature of this notice.

Best,
Stripe




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                                                                               October 1, 2024

Stripe, Inc.
Attn: Legal Order Processing

                           UCC LIEN & NOTICE OF ASSIGNMENT

RE:   Mazzoni Center d/b/a Mazzoni Center / Mazzoni Center Our Health. Our Lives.
Our Community., 1334-48 Bain Bridge Street Llc, Mazzoni Center d/b/a Mazzoni
Center - Washington West
      EIN:

       Rachelle Denise Tritinger
       SSN: XXX-XX-

        Additional Entities:
        Mazzoni Center d/b/a Mazzoni Center / Mazzoni Center Our Health. Our Lives. Our
        Community., 1334-48 Bain Bridge Street Llc, Mazzoni Center d/b/a Mazzoni Center
        - Washington West

Balance due to AKF Inc. DBA Fundkite: $690,000.00

Default Date:         9/19/2024
Balance Due:          $690,000.00

To Whom It May Concern:

       This notice is being sent pursuant to Uniform Commercial Code (UCC) Sections 9-406
and 9-607, as it has come to our attention that Stripe, Inc. has been conducting business with,
and forwarding receivables to, Mazzoni Center d/b/a Mazzoni Center / Mazzoni Center Our
Health. Our Lives. Our Community., 1334-48 Bain Bridge Street Llc, Mazzoni Center d/b/a
Mazzoni Center - Washington West (the “Merchant”), located at 1348 Bainbridge Street,
Philadelphia, PA 19147., which and owes receivables in the amount of $690,000.00 to AKF
Inc. d/b/a FundKite (“FundKite”) pursuant to a Revenue Purchase Agreement dated
9/11/2024 (the “Agreement”), under which the Merchant has defaulted. A copy of the
Agreement is enclosed for your reference.

       According to the Agreement, FundKite purchased the Merchant’s future accounts-
receivable, whereby FundKite would receive a percentage of all Merchant’s receivables. AKF
Inc. d/b/a FundKite has a properly perfected security interest in the receivables it purchased
from the Merchant pursuant to UCC §9-309.




           AKF Inc DBA FundKite | 2 S. Biscayne Blvd, Suite 2350 | Miami FL 33131
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        Pursuant to UCC §§ 9-406 1 and 9-607, you are directed to make payment of all
amounts due to the Merchant by Stripe, Inc. to AKF Inc. d/b/a FundKite as such amounts
become due. Making your payment directly to AKF Inc. d/b/a FundKite is the only way to
assume that your payment is, in fact, credited to your account obligations to the
Merchant. Please understand that no representative of the Merchant has any authority to
collect or receive your payment. Payment made to the Merchant will not discharge your
obligation as described above and will result in you paying the obligation twice as pursuant
to UCC §§9-406 and 9-607, once an account debtor 2 has been notified of an assignment of an
account, the account debtor may not discharge the obligation by payment to the assignor (in
this case, the Merchant). Thus, remitting payment to anyone other than AKF Inc. d/b/a
FundKite will still result in you still having to pay AKF Inc. d/b/a FundKite.

Payments shall be sent by WIRE to:

           FundKite
           88 Pine Street, Suite 2430
           New York, NY 10005

           BankUnited, N.A.
           Routing Number:
           Account Number:
           Ref: Mazzoni Center

CHECK by MAIL:

           FundKite
           Attn: Legal Department
           2 S. Biscayne Blvd, Suite 2350
           Miami FL 33131
           Ref: Mazzoni Center



1
  UCC 9-406(a) states, in relevant part, that “an account debtor Stripe, Inc. on an account, chattel paper, or a payment
intangible may discharge its obligation by paying the assignor [the Merchant] until, but not after, the account debtor
receives a notification… that the amount due or to become due has been assigned and that payment is to be made to the
assignee [AKF, Inc. d/b/a FundKite]. After receipt of the notification, the account debtor may discharge its obligation by
paying the assignee and may not discharge the obligation by paying the assignor.”

2
    UCC 9-102(a)(3): “Account debtor" means a person obligated on an account, chattel paper, or general intangible.”
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       We trust that you share AKF Inc. d/b/a FundKite’s desire to avoid the time, expense
and inconvenience which would inevitably accompany formal legal proceedings and will,
therefore, promptly forward full payment in order to amicably resolve this situation.

       Please comply with the above immediately and feel free to contact me at (305) 845-
0446 and/or at legalgroup@fundkite.com if you have any questions regarding this
notice. We thank you in advance for your anticipated cooperation in this matter.



                                                       Very truly yours,
                                                       AKF, Inc. d/b/a FundKite


                                                By:    ______________________________________
                                                       Justin Verger, VP Treasury

cc:     Legal Dept.
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                                                                                                                                               B0736-5832 09/12/2024 9:54 AM Received by Pennsylvania Department of State
                                                                                                                  20240912218151

                           COMMONWEALTH OF PENNSYLVANIA                                           Pennsylvania Department of State
                           Department of State
                           Bureau of Corporations and Charitable Organizations                              -FILED-
                           PO Box 8721
                           Harrisburg, Pennsylvania 17105-8721                                     File #: 20240912218151
                           UCC1 FINANCING STATEMENT                                                Date Filed: 9/12/2024
                           Fee: $84



Submitter contact information
  Contact Name                                                     CORPORATION SERVICE COMPANY
  Phone Number                                                     1-800-858-5294
  Email Address                                                    SPRFiling@cscglobal.com
Submitter information
  Name                                                             CORPORATION SERVICE COMPANY
  Address                                                          801 ADLAI STEVENSON DRIVE
                                                                   SPRINGFIELD, IL 62703
Debtors

                                            DEBTOR'S NAME                                            MAILING ADDRESS

   MAZZONI CENTER                                                                         1348 BAINBRIDGE ST
                                                                                          PHILADELPHIA, PA 19147
   MAZZONI CENTER OUR HEALTH. OUR LIVES. OUR COMMUNITY.                                   1348 BAINBRIDGE ST
                                                                                          PHILADELPHIA, PA 19147
   1334-48 BAIN BRIDGE STREET LLC                                                         1348 BAINBRIDGE STREET
                                                                                          PHILADELPHIA, PA 19147
   MAZZONI CENTER                                                                         1201 LOCUST ST
                                                                                          PHILADELPHIA, PA 19107
   MAZZONI CENTER - WASHINGTON WEST                                                       1201 LOCUST ST
                                                                                          PHILADELPHIA, PA 19107


Secured Parties

                                      SECURED PARTY'S NAME                                  MAILING ADDRESS                 Assignor

   CORPORATION SERVICE COMPANY, AS REPRESENTATIVE                                   PO BOX BOX 2576
                                                                                    SPRINGFIELD, IL 62708


Collateral
  Secured Party has purchased certain "Receipts" from Debtor. "Receipts" means payments received by Debtor, or its right to
  receive such payments, whether received in cash, check, electronic transfer, or other form of monetary payment and
  includes all payments made by a credit card, debit card, bank card, charge card.

  "Receipts" includes accounts and payment intangibles as defined under the Uniform Commercial Code.

  Debtor and Secured Party intend that the sale of Receipts is a sale and not an assignment for security.

  Notice: Pursuant to the agreement between Debtor and Secured Party, Debtor is prohibited from further encumbering the
  Receipts. In the event that any entity is granted a security interest in Debtor's Receipts contrary to the above, the Secured
  Party asserts a claim to any proceeds thereof received by such entity.

Designations
  Select the designation which describes this financing            Not Applicable
  statement
  Select an additional designation which describes this            Not Applicable
  financing statement
Alternative Designations
  Select the alternative designation which describes this          Not Applicable
  financing statement

                                                                                                                                       Page 1 of 2
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                                                                                              B0736-5833 09/12/2024 9:54 AM Received by Pennsylvania Department of State
Optional Submitter Reference Data             2925 24091




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                                REVENUE PURCHASE AGREEMENT
                     PURCHASE AND SALE OF FUTURE RECEIPTS (the “Agreement”)

Dated SEPTEMBER 11, 2024, Between AKF Inc, DBA FundKite, located at 88 Pine Street, 24th Floor, New York NY 10005
hereafter known as ("BUYER"), the ("SELLER") listed below and each guarantor identiﬁed below (each a "Guarantor")

                                               (“THE SELLER”)
                                            MERCHANT INFORMATION

SELLER's Legal Name: MAZZONI CENTER DBA:​ MAZZONI CENTER / MAZZONI CENTER OUR HEALTH.
OUR LIVES. OUR COMMUNITY.

Physical Address: 1348 BAINBRIDGE ST, PHILADELPHIA, PA 19147

Mailing Address: 1348 BAINBRIDGE ST, PHILADELPHIA, PA 19147

Primary Telephone:                       Business Website: https://www.mazzonicenter.org/

Type of Entity: Corporation State of Incorporation: PA

Tax Id Number:                 Date Business Started: 07/20/1981

Name of Primary Authorized Signer: RACHELLE DENISE TRITINGER Position or Title: CFO

Email for Owner:

Purchase Price: $500,000.00
(The agreed upon Purchase Price for the Receipts sold by SELLER to BUYER)

Fees Deducted: $20,185.00
(See Appendix A for breakdown of fees)

Disbursement Amount: $479,815.00
(The dollar amount BUYER will pay to SELLER after deducting the Fees Deducted)

Purchased Amount: $690,000.00
(The dollar value of the Receipts being sold and remitted to BUYER from SELLER)

Remittance Percentage: 9%
(The percentage of Receipts SELLER agrees to remit to BUYER each week.​

Initial Estimated Remittance Amount (Weekly): $24,642.86
(The dollar amount to be debited each week. from the SELLER's bank account as described below, subject to
reconciliation)

Reconciliation Frequency: Monthly
*Reconciliation may result in an adjustment to the Initial Estimated Remittance Amount.

Designated Bank Account (the “Designated Account”)




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                                         ​AKF Inc DBA FundKite © 2024 All Rights Reserved v041224
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Name of Bank:                    ABA Transit/Routing #:                  Checking Account #             ​



Upon the terms and subject to the conditions set forth in this Agreement, DBA MAZZONI CENTER / MAZZONI CENTER
OUR HEALTH. OUR LIVES. OUR COMMUNITY. hereby sells, assigns and transfers to AKF Inc. DBA Fundkite (“FUNDKITE”
and “BUYER") in consideration for the funds provided (the “PURCHASE PRICE”), all of SELLER's future sales, accounts,
contract rights and other obligations and entitlements arising from or relating to the payment of monies
from SELLER's customers and/or third-party payers and the proceeds thereof including, but not limited to all payments
made by cash, check, electronic transfer or other form of monetary payment in the course of the Seller's business (the
“Receipts”), in the amount speciﬁed above (the “Purchased Amount”) to be remitted by the percentage of Receipts
speciﬁed above (the "Remittance Percentage") until the Purchased Amount has been remitted by SELLER to BUYER.
(SELLER, BUYER and each Guarantor shall collectively be referred hereinafter to as the “PARTIES”).

SELLER shall remit the Remittance Percentage of Receipts to BUYER, until such time as BUYER receives full remittance
of the Purchased Amount and any outstanding fees in accordance with Appendix A hereto. SELLER hereby authorizes
BUYER to ACH Debit the initial estimated and adjusted remittance amounts from the Designated Account stated above
(each a “Remittance Date”) and will provide BUYER with access codes and monthly bank statements thereto. BUYER is
not responsible for any overdrafts or rejected transactions that may result from BUYER ACH debiting the speciﬁed
remittances under the terms of this Agreement.

BUYER has calculated the Initial Estimated Remittance Amount based on SELLER'S actual Receipts prior to the date of
this Agreement, determined by BUYER based on a review of Banking Records provided by SELLER. SELLER
acknowledges and agrees that the Initial Estimated Remittance Amount is an accurate estimate of the Remittance
Percentage of SELLER's actual Receipts prior to the date of this Agreement.

A list of all fees applicable under this Agreement is outlined in Appendix A. SELLER agrees to pay all fees as described
therein.



I. TERMS OF ENROLLMENT IN PROGRAM

1.1 SELLER Deposit Account. SELLER shall deposit all Receipts into the Designated Account with a bank acceptable to
BUYER. SELLER authorizes BUYER and/or its agent to withdraw the Remittance Percentage or Initial Estimated/Adjusted
Remittance Amount from the Designated Account. The authorization shall be irrevocable without the written consent of
the BUYER. For the duration of this Agreement, SELLER shall have the use and enjoyment of Receipts above the
Remittance Percentage to be remitted to BUYER. Additionally, the Remittance Percentage of Receipts are to be held in
trust in the Designated Account for the beneﬁt of BUYER and SELLER shall have no legal or equitable interest in said
Receipts.

1.2 Non-Recourse Sale of Future Receipts (THIS IS NOT A LOAN). SELLER is selling a portion of Receipts to BUYER
at a discount, not borrowing money from BUYER. There is no interest rate or payment schedule and no time period
during which the Purchased Amount must be collected by BUYER. BUYER is taking the risk that Receipts may be
remitted more slowly than BUYER may have anticipated or projected because SELLER's business has slowed down, or
the full Purchased Amount may never be remitted because SELLER's business ﬁled a Chapter 7 liquidation or otherwise
ceased operations in the ordinary course of business. BUYER is buying the Purchased Amount of Receipts knowing the
risks that SELLER's business, despite SELLER's reasonable eﬀorts, may slow down or fail, and BUYER assumes these
risks based on SELLER's representations, warranties, and covenants in this Agreement that are designed to give BUYER
a reasonable and fair opportunity to receive the beneﬁt of its bargain. By this Agreement, SELLER transfers to BUYER
full and complete ownership of the Purchased Amount of Receipts and SELLER retains no legal or equitable interest
therein. SELLER will treat the Purchase Price and Purchased Amount in a manner consistent with a sale in its accounting
records and tax returns. BUYER is entitled to audit SELLER's accounting records upon reasonable notice in order to
verify compliance. SELLER waives any rights of privacy, conﬁdentiality or taxpayer privilege in any litigation or




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                                           ​AKF Inc DBA FundKite © 2024 All Rights Reserved v041224
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arbitration in which SELLER asserts that this transaction is anything other than a purchase and sale of future Receipts.

1.3 Reconciliation (IMPORTANT PROTECTION FOR SELLER). SELLER acknowledges and agrees that the Initial
Estimated Remittance Amount is an accurate estimate of the Remittance Percentage of SELLER's actual Receipts prior
to the date of this Agreement. SELLER has the right to obtain reconciliations to ensure that the Remittance Amount
continues to be an accurate estimate of the Remittance Percentage of SELLER’s actual Receipts over the course of this
Agreement.

      a) Periodic Reconciliation. BUYER shall perform periodic reconciliations according to the agreed Reconciliation
      Frequency.

      b) SELLER May Obtain Additional Reconciliations. SELLER may obtain additional reconciliations between any
      periodic reconciliations by sending a written request by email to customerservice@fundkite.com.

      c) Banking Records. SELLER agrees to provide Banking Records requested by BUYER to complete each
      reconciliation. As used in this Agreement, “Banking Records” means bank statements, accounts receivable
      reports, credit card receipts, view-only access to SELLER’s business bank accounts, and other business or
      banking records reasonably likely to provide evidence of SELLER’s actual Receipts for the applicable
      reconciliation period. BUYER will calculate SELLER’s actual Receipts based solely upon a review of the requested
      Banking Records. BUYER is not obligated to complete any reconciliation for which requested Banking Records are
      unavailable or not provided.

      d) Adjusting the Remittance Amount. No later than three (3) business days following BUYER’s receipt of the
      requested Banking Records, BUYER shall adjust the Remittance Amount so that subsequent withdrawals from the
      Designated Account are equal to the Remittance Percentage of the actual Receipts collected by SELLER during
      the reconciliation period, as reasonably determined by BUYER .

      e) Failure to Provide Reconciliation Information. If SELLER fails to provide requested Banking Records within
      seven (7) calendar days after written notice from BUYER, BUYER may adjust the Remittance Amount to the Initial
      Estimated Remittance Amount.

1.4 Processing Trial and BUYER’S Acceptance of Agreement. Prior to paying the Disbursement Amount to SELLER,
BUYER shall have the right to instruct the credit/debit card processor used by SELLER for conducting its business to
conduct a processing trial (a “Processing Trial”) to determine whether settlement amounts of Receipts will be
processed, reported and paid as contemplated under this Agreement. SELLER agrees that BUYER will make its ﬁnal
decision, in its sole and absolute discretion and with or without regard for the results of the Processing Trial, whether to
purchase the Purchased Amount of Receipts after completing the Processing Trial or opting not to conduct a Processing
Trial, and any underwriting conducted by BUYER. If BUYER elects to purchase the Purchased Amount of Receipts, BUYER
will pay the Disbursement Amount to SELLER, and SELLER's obligations hereunder to remit the Purchased Amount shall
commence immediately. The obligation of BUYER under this Agreement will not be eﬀective unless and until BUYER has
completed its review of the SELLER and has accepted this Agreement by delivering the Disbursement Amount.

1.5 Financial Condition. SELLER authorizes BUYER and its agents to investigate their ﬁnancial responsibility and
history, and will provide to BUYER any ﬁnancial or bank statements, tax returns, credit card statements and accounts
receivable reports, and view-only access to any business bank account maintained by SELLER, as BUYER deems
necessary prior to or at any time after execution of this Agreement. A photocopy of this authorization will be deemed as
acceptable for release of ﬁnancial information. BUYER is authorized to require Seller to provide updated information and
ﬁnancial proﬁles from time to time as it deems appropriate.

1.6 Transactional History. SELLER authorizes BUYER to obtain SELLER's banking records, payment processing
transaction records and records of activity with any online seller or marketplace to verify information provided
by SELLER in connection with the performance of this program.

1.7 Indemniﬁcation. SELLER indemniﬁes and hold harmless BUYER, Processor, any and each of SELLER's, and any




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Account Debtors, their oﬃcers, directors, attorneys, assigns, agents and shareholders against all loses, damages,
claims, liabilities and expenses (including reasonable attorney's fees) incurred, resulting from (a) all claims asserted by
BUYER and its agents for amounts owed to BUYER from SELLER and (b) actions taken by Processor, SELLER’s Banks and
Account Debtors in reliance upon any information or instructions provided by BUYER and (c) litigation with SELLER and
Guarantor(s). SELLER agrees to indemnify and hold harmless BUYER its oﬃcers, directors, attorneys, assigns, agents
and shareholders against all losses, damages, claims, liabilities, and expenses (including reasonable attorney’s fees)
that they may have of any kind arising out of or related to the Agreement and enforcement of BUYER’s remedies
thereunder.

1.8 No Liability. In no event will BUYER and its agents, attorneys, assigns or aﬃliates be liable for any claims asserted
by SELLER or Guarantor(s) under any legal theory for lost proﬁts, lost revenue, lost business opportunities, exemplary,
punitive, special, incidental, indirect or consequential damages, each of which is knowingly and voluntarily waived by
SELLER or Guarantor(s). In the event these claims are nonetheless raised, SELLER and Guarantor(s) will be jointly liable
for all of BUYER's attorney's fees and expenses resulting therefrom.

1.9 Reliance on Terms. Notwithstanding the fact that Processor, SELLER’s bank, Guarantor(s)'s bank and Account
Debtors, and their aﬃliates, are not parties to this Agreement, Sections 1.1, 1.2, 1.3, 1.4, 1.5 1.6, 1.7, 1.8, 1.9, 1.10,
1.13, 1.14, 2.3, 2.5, 2.6, and 2.7 of this Agreement are also for the beneﬁt of BUYER, SELLER’s bank and Guarantor(s)'s
bank, Account Debtors and Processor, and each of their respective oﬃcers, directors, attorneys, assigns, agents and
shareholders, and these parties may rely upon these terms and raise them as a defense in any action.

1.10 Disclosure of Information. SELLER, Guarantor(s) and each person signing this Agreement on behalf of SELLER
and/or as Owner or Guarantor(s), in respect of himself or herself personally authorizes BUYER to disclose information
concerning SELLER, Guarantor(s)’s and each Owner's credit standing (including credit bureau reports that BUYER
obtains) and business conduct to agents, aﬃliate subsidiaries, and credit reporting bureaus. SELLER and each Owner
and Guarantor(s) hereby waive to the maximum extent permitted by law any claim for damages against BUYER or any
of its aﬃliates relating to any (i) investigation undertaken by or on behalf of BUYER as permitted by this Agreement or
(ii) disclosure of information as permitted by this Agreement.

1.11 D/B/A's. SELLER, Guarantor(s), and each Owner acknowledges that BUYER may be using "doing business as" or
"d/b/a" names or authorized agents in connection with various matters relating to the transaction between BUYER and
SELLER, including the ﬁling of UCC-1 ﬁnancing statements and other notices or ﬁling.

1.12 Bank Holidays and Other Bank Closures. BUYER will debit the Initial Estimated/Adjusted Remittance Amount
only on each weekday on which SELLER’s bank is open and able to process ACH transactions.

1.13 ACH Authorization. If an ACH transaction is rejected by SELLER’s ﬁnancial institution for any reason other than a
stop payment order placed by SELLER with its ﬁnancial institution, including without limitation insuﬃcient funds, SELLER
agrees that BUYER may resubmit up to two times any ACH transaction that is dishonored. SELLER’s bank may charge
SELLER fees for unsuccessful ACH entries. SELLER agrees that BUYER has no liability to SELLER for such fees. In the
event BUYER makes an error in processing any payment or credit, SELLER authorizes BUYER to initiate ACH entries to or
from the Designated Account or bank account to correct the error. SELLER acknowledges that the origination of ACH
entries to and from the Designated Account or bank account must comply with applicable law and applicable network
rules. SELLER agrees to be bound by the Rules and Operating Guidelines of NACHA. SELLER will not dispute any ACH
transaction initiated pursuant to this Authorization, provided the transaction corresponds to the terms of this
Authorization. SELLER requests the ﬁnancial institution that holds the Designated Account and bank account to honor all
ACH entries initiated in accordance with this Authorization.



II. REPRESENTATIONS, WARRANTIES, AND COVENANTS

SELLER represents, warrants and covenants that as of this date and, unless expressly stated otherwise, during the




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course of this Agreement:

2.1 Accounts Receivables and Financial Information. SELLER's accounts receivables and payable reports, bank and
ﬁnancial statements, copies of which have been furnished to BUYER, and future statements which will be furnished
hereafter at the discretion of BUYER, fairly represent the performance and ﬁnancial condition of SELLER at the dates the
statements are provided. All performance and ﬁnancial information provided to BUYER by SELLER and any Guarantor(s)
is truthful, complete and accurate as of the date of this Agreement. BUYER may request Banking Records at any time
during the performance of this Agreement and the SELLER shall provide them to BUYER within ﬁve business days.
SELLER's failure to do so is a material breach of this Agreement.

2.2 Government Approvals. SELLER is in compliance and shall comply with all laws and has valid permits,
authorizations and licenses to own operate and lease its properties and to conduct the business in which it is presently
engaged.

2.3 Authorization. SELLER, and the persons(s) signing this Agreement on behalf of SELLER and Guarantor(s), have full
power and authority to incur and perform the obligations under this Agreement, all of which have been duly authorized.

2.4 No Diversion of Receipts. SELLER must deposit all Receipts into the Designated Account on a daily basis and
must instruct SELLER'S credit card processor to deposit all Receipts of Seller into the Designated Account on a daily
basis. SELLER agrees not to (i) change the Designated Account, (ii) add an additional business bank account into
which SELLER deposits Receipts without the express written consent of BUYER, (iii) revoke BUYER’S authorization to
debit the Designated Account, (iv) close the Designated Account without the express written consent of BUYER or, (v)
take any other action with the intent to interfere with BUYER’S right to collect the purchased Receipts.

2.5 Change of Name, Location or Type of Business. SELLER will not conduct SELLER's business, or any similar
business, under any name other than as disclosed to the Processor and BUYER or change the type of business it
operates or any of its places of business without prior written consent from BUYER. Such change made without the prior
written consent of BUYER shall be a material breach of this Agreement.

2.6 Estoppel Certiﬁcate. SELLER will at any time, and from time to time, upon at least one (1) day's prior notice from
BUYER to SELLER execute, acknowledge and deliver to BUYER and/or to any other person, ﬁrm or corporation speciﬁed
to BUYER a statement certifying that this Agreement is unmodiﬁed and in full force and eﬀect (or, if there have been
modiﬁcations, the same is in full force and eﬀect as modiﬁed and stating the modiﬁcations) and stating the dates on
which the Purchased Amount or any portion thereof has been remitted.

2.7 No Bankruptcy or Assignment. As of the date of this Agreement, SELLER does not contemplate and has not ﬁled
any petition for bankruptcy protection or assignment for the beneﬁt of creditors, and there has been no involuntary
petition or receivership brought or pending against SELLER. SELLER further warrants that as of the date of this
Agreement, SELLER does not anticipate ﬁling any such bankruptcy petition and has no knowledge of or reason to
believe any creditor has any cause to ﬁle an involuntary petition or receivership as against SELLER.

2.8 Working Capital Funding. At any time either contemporaneous with or after the execution of this Agreement,
SELLER shall not, unless permitted in writing by BUYER, enter into any arrangement, agreement, or a loan that relates
to or encumbers Seller’s Receipts or future revenue with any party other than BUYER.

2.9 Unencumbered Receipts. SELLER warrants that, unless otherwise disclosed in writing to BUYER prior to the date
of this Agreement, SELLER has good, complete and marketable title to all of its Receipts free and clear of any and all
liabilities, liens, claims, changes, restriction, conditions, options, rights, mortgages, security, interests, equities, pledges
and encumbrances of any kind or nature whatsoever or any other rights or interests that may be inconsistent with the
transactions contemplated with, or adverse to the interests of BUYER. SELLER shall not voluntarily transfer or sell all or
substantially all of its assets, shares and/or membership interests without prior written consent of BUYER.

2.10 Business Purposes. SELLER is a valid business in good standing under the laws of the jurisdictions in which it is
organized and/or operates, and SELLER is entering into this Agreement for business purposes and not for consumer,




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personal, family or household purposes.

2.11 Defaults Under Other Contracts. SELLER's execution of and/or performance under this Agreement will not
cause or create an event of default by SELLER under any contract with another person or entity.

2.12 Bank Account. SELLER represents and warrants that (i) any bank account disclosed by SELLER (including but not
limited to the Designated Account) to BUYER is SELLER’s bank account; (ii) the person executing this Authorization on
behalf of SELLER is an authorized signer on the bank account and has the power and authority to authorize BUYER to
initiate ACH transactions to and from the bank account; and (iii) the bank account is a legitimate, open, and active bank
account used solely for business purposes and not for personal, family or household purposes.



III. REMEDIES FOR SELLER’S BREACH OF THIS AGREEMENT

3.1 Remedies. If SELLER violates any term or covenant in this Agreement or if any representation or warranty
by SELLER in this Agreement proves to have been incorrect, false or misleading in any material respect when
made, BUYER may proceed to protect and enforce its rights including, but not limited to, the following:

a) The Remittance Percentage shall equal 100%. The full unremitted Purchased Amount plus all fees and charges
(including legal fees) assessed under this Agreement will become due and payable in full immediately.

b) BUYER may enforce the provisions of the Guaranty of Performance against each Guarantor.

c) SELLER shall pay to BUYER all reasonable costs associated with SELLER'S breach, including a Breach Administration
Fee, as set forth and deﬁned in the Appendix A. Buyer may proceed to protect and enforce its rights and remedies by
arbitration or lawsuit. In any such arbitration or lawsuit, under which BUYER shall recover judgment
against SELLER, SELLER shall be liable for all of BUYER's costs, including but not limited to all reasonable attorneys’ fees
and court costs. However, the rights of BUYER under this provision shall be limited as provided in the arbitration
provision set forth below.

d) BUYER may debit depository accounts wherever situated by means of ACH debit or facsimile signature on a
computer-generated check drawn on any of SELLER'S bank accounts for all sums due to BUYER.

3.2 Remedies Are Cumulative, Subject to Arbitration. Subject to Arbitration as provided in Section 4.14 of this
Agreement, all rights, powers, and remedies of BUYER in connection with this Agreement may be exercised at any time
by BUYER after the occurrence of a breach, are cumulative and not exclusive, and shall be in addition to any other
rights, powers or remedies provided by law or equity.

3.3 Required Notiﬁcations. SELLER is required to give BUYER three (3) days prior written notice of intent to change
the Designated Account with updated account information attached to the notice. SELLER is required to give BUYER ten
(10) days' written notice of the intent to sell, assign or transfer all or substantially all of the SELLER's assets or stock
and shall provide BUYER in writing the name, address, phone number, email address and facsimile number of the
proposed assignee, transferee or BUYER's legal representative or owner.

3.4 Security Interest. The Parties agree and understand this purchase and sale transaction is governed by Article 9 of
the Uniform Commercial Code (the “UCC”) and BUYER has a security interest in the Receipts purchased. The Receipts
purchased are Accounts and General Intangibles pursuant to UCC Article 9, and BUYER has a security interest in all (a)
SELLER’s present and future Accounts, and General Intangibles, as such terms are deﬁned in the UCC, now owned or
hereafter owned or acquired by SELLER; and (b) all proceeds, as that term is deﬁned in Article 9 of the UCC (a and b
collectively, the “Collateral”). The security interests created by this transaction and evidenced by this Agreement shall
secure all of the BUYER’s entitlements under this or any other agreement now existing or later entered into between
SELLER and BUYER or an aﬃliate of BUYER. SELLER authorizes BUYER to ﬁle one or more UCC-1 forms consistent with
the UCC in order to give notice that the Purchased Amount of Future Receipts is the sole property of BUYER. BUYER may




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notify Account Debtors and/or other persons obligated on the Receipts or Accounts, of SELLER’s sale of the Receipts and
may instruct them to make payment or otherwise render performance to or for the beneﬁt of BUYER. SELLER authorizes
BUYER to debit the Designated Account and all other business bank accounts of SELLER for all costs incurred by BUYER
associated with the ﬁling, amendment or termination of any UCC ﬁlings.

3.5 Negative Pledge. SELLER agrees not to create, incur, or assume, directly or indirectly, any lien on or with respect
to any of the Collateral (as deﬁned in section 3.4 above), as applicable.



IV. MISCELLANEOUS.

4.1 Modiﬁcations. No modiﬁcation, amendment, waiver or consent of any provision of this Agreement shall be
eﬀective unless the same shall be in writing and signed by BUYER.

4.2 Assignment. BUYER may assign, transfer or sell its right to receive the Purchased Amount or delegate its duties
hereunder, either in whole or in part. The Parties have entered into this Agreement in the State of New York and the
Parties further agree that BUYER is the absolute owner of Receipts in consideration of the funds provided. Fundkite may
act as the lead purchaser for itself and other co-investors making FUNDKITE on behalf of itself and all co-investors
collectively “FUNDKITE” and “BUYER”.

4.3 Notices. All notices as required by Section 3.3 hereunder shall be delivered by certiﬁed mail; return receipt
requested to the respective Parties to this Agreement at the addresses set forth in this Agreement and shall become
eﬀective only upon receipt. All other notices, requests, consent, demands, and other communications may be made in
writing sent by regular mail and/or electronic mail to SELLER at rtritinger@mazzonicenter.org and to BUYER at
customerservice@fundkite.com.

4.4 Waiver of Remedies. No failure on the part of BUYER to exercise and no delay in exercising any right under this
Agreement shall operate as a waiver thereof, nor shall any single or partial exercise of any other right under this
Agreement preclude any other or further exercise thereof or the exercise of any other right. Subject to Arbitration, as
provided in section 4.14 of this Agreement, the remedies provided hereunder are cumulative and not exclusive to any
remedies provided by law or equity.

4.5 Phone Recordings and Contact. SELLER and each Guarantor(s) agree that any call between them and BUYER and
its owners, managers, employees and agents may be recorded and/or monitored. Furthermore, SELLER and
Guarantor(s) acknowledge and agree that: (i) they have an established business relationship with BUYER, its managers,
employees and agents (collectively, the “BUYER Parties”) and that SELLER and Guarantor(s) may be contacted by any
of the BUYER Parties from time-to-time regarding SELLER’s performance of its obligations under this Agreement or
regarding other business transactions; (ii) they will not claim that such communications and contacts are unsolicited or
inconvenient; and (iii) any such contact may be made by any of the BUYER Parties in person or at any phone number
(including mobile phone number), email addresses, or facsimile number belonging to SELLER and Guarantor(s)’s oﬃce,
or its owners, managers, oﬃcers, or employees.

4.6 Binding Eﬀect. This Agreement shall be binding upon and inure to the beneﬁt of SELLER, BUYER, and their
respective successors and assigns, except that SELLER shall not have the right to assign its rights hereunder or any
interest herein without the prior written consent of BUYER which consent may be withheld in BUYER's sole discretion.
BUYER reserves the right to assign this Agreement with or without prior written notice to SELLER.

4.7 Governing Law, Venue, and Jurisdiction. Except as set forth in the Arbitration section, this Agreement shall be
governed by or constructed in accordance with the laws of the state of New York, without regard to any applicable
principles of conﬂicts of law. Any suit, action, or proceeding arising out of any disputes between the SELLER,
Guarantor(s) and the BUYER, its aﬃliates agents, attorneys and assigns herein, or arising out of the Agreement
hereunder, or the interpretation, performance or breach hereof, shall if BUYER so elects, be instituted in any court
sitting in New York State, (the "Acceptable Forums"). SELLER and each Guarantor(s) agree that the Acceptable Forums




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are convenient to it/them and submit to the jurisdiction of the Acceptable Forums and waive any and all objections to
jurisdiction or venue. Should such proceeding be initiated in any other forum, SELLER and each Guarantor(s) waive any
right to oppose any motion or application made by BUYER to transfer and/or dismiss such proceeding.

4.8 Survival of Representation, etc. All representations, warranties and covenants herein shall survive the full
execution and delivery of this Agreement and shall continue in full force until all obligations under this Agreement shall
have been satisﬁed in full.

4.9 Severability. In case any of the provisions in this Agreement is found to be invalid, illegal or unenforceable in any
respect, the validity, legality and enforceability of any other provision contained herein shall not in any way be aﬀected
or impaired. Any provision hereof prohibited by law shall be ineﬀective only to the extent of such prohibition without
invalidating the remaining provisions of this Agreement.

4.10 Entire Agreement. This Agreement and any Guaranty embody the entire agreement between SELLER and BUYER
and Guarantor(s) and supersede all prior agreements and understanding relating to the subject matter hereof.

4.11 JURY TRIAL WAIVER. THE PARTIES HERETO WAIVE TRIAL BY JURY IN ANY COURT IN ANY SUIT, ACTION OR
PROCEEDING ON ANY MATTER ARISING IN CONNECTION WITH OR IN ANY WAY RELATED TO THE
TRANSACTIONS OF WHICH THIS AGREEMENT IS A PART, OR THE ENFORCEMENT THEREOF. THE PARTIES
HERETO ACKNOWLEDGE THAT EACH PARTY AGREES TO THIS WAIVER KNOWINGLY, WILLINGLY AND
VOLUNTARILY AND WITHOUT DURESS, AND ONLY AFTER EXTENSIVE CONSIDERATION OF THE RAMIFICATIONS
OF THIS WAIVER WITH THEIR ATTORNEYS.

4.12 CLASS ACTION WAIVER. THE PARTIES HERETO WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST THE
OTHER PARTY AS A REPRESENTATIVE OR MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION, EXCEPT
WHERE SUCH WAIVER IS PROHIBITED BY LAW AGAINST PUBLIC POLICY. TO THE EXTENT ANY PARTY IS
PERMITTED BY LAW TO PROCEED WITH A CLASS OR REPRESENTATIVE ACTION AGAINST THE OTHER, THE
PARTIES HEREBY AGREE THAT: (1) THE PREVAILING PARTY SHALL NOT BE ENTITLED TO RECOVER
ATTORNEYS’ FEES OR COSTS ASSOCIATED WITH PURSUING THE CLASS OR REPRESENTATIVE ACTION
(NOTWITHSTANDING ANY OTHER PROVISION IN THIS AGREEMENT); AND (2) THE PARTY WHO INITIATES OR
PARTICIPATES AS A MEMBER OF THE CLASS WILL NOT SUBMIT A CLAIM OR OTHERWISE PARTICIPATE IN ANY
RECOVERY SECURED THROUGH THE CLASS OR REPRESENTATIVE ACTION.

4.13 SERVICE OF PROCESS. SELLER HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES PERSONAL
SERVICE OF LEGAL PROCESS AND ANY OBJECTION TO THE ABSENCE OF PERSONAL SERVICE OF PROCESS
AND HEREBY AGREES TO ACCEPT SERVICE OF LEGAL PROCESS BY (I) ELECTRONIC MAIL SENT TO SELLER’S
EMAIL ADDRESS PROVIDED TO BUYER BY SELLER ("LAST KNOWN EMAIL ADDRESS OF SELLER”), (II) UNITED
STATES POSTAL SERVICES FIRST CLASS OR CERTIFIED MAIL SENT TO SELLER’S MAILING ADDRESS PROVIDED
TO BUYER BY SELLER ("LAST KNOWN ADDRESS OF SELLER”), OR (III) BY ANY OTHER MEANS PERMITTED BY
NEW YORK LAW. SELLER UNDERSTANDS AND AGREES THAT AN ACTION, LAWSUIT, OR CONTROVERSY MAY
BE TAKEN UP AND CONSIDERED BY A COURT WITHOUT ANY FURTHER NOTICE. SERVICE OF PROCESS SHALL
BE EFFECTIVE UPON SENDING / MAILING OF SERVICE OF PROCESS BY BUYER ("SERVICE DATE”). SELLER
SHALL NOTIFY BUYER OF ANY CHANGE TO ITS LAST KNOWN EMAIL ADDRESS OR ITS LAST KNOWN ADDRESS
FOR SERVICE. UNLESS BUYER IS NOTIFIED OF A CHANGE, BUYER’S LAST KNOWN EMAIL ADDRESS OR ITS
LAST KNOWN ADDRESS SHALL BE PRESUMED TO BE ACCURATE AND VALID FOR THE PURPOSES OF SERVICE
OF PROCESS AND NOTICES. THIS PROVISION SHALL SUPERSEDE ANY NOTICE REQUIREMENTS IN THE
CONTRACT WITH RESPECT TO SERVICE OF PROCESS. SELLER WILL HAVE THIRTY (30) CALENDAR DAYS FROM
THE SERVICE DATE OF THE SERVICE OF PROCESS HEREUNDER IN WHICH TO RESPOND. FURTHERMORE,
SELLER EXPRESSLY CONSENTS THAT ANY AND ALL NOTICE(S), DEMAND(S), OR OTHER COMMUNICATION(S)
UNDER AND PURSUANT TO THIS AGREEMENT SHALL BE DELIVERED IN ACCORDANCE WITH THE PROVISIONS
OF THIS AGREEMENT.

4.14 ARBITRATION. IF BUYER, SELLER OR ANY GUARANTOR(S) REQUESTS, THE OTHER PARTIES AGREE TO




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ARBITRATE ALL DISPUTES AND CLAIMS ARISING OUT OF OR RELATING TO THIS AGREEMENT. IF BUYER,
SELLER OR ANY GUARANTOR(S) SEEKS TO HAVE A DISPUTE SETTLED BY ARBITRATION, THAT PARTY MUST
FIRST SEND TO ALL OTHER PARTIES, BY CERTIFIED MAIL, A WRITTEN NOTICE OF INTENT TO ARBITRATE. IF
BUYER, SELLER OR ANY GUARANTOR(S) DO NOT REACH AN AGREEMENT TO RESOLVE THE CLAIM WITHIN 30
DAYS AFTER THE NOTICE IS RECEIVED, BUYER, SELLER OR ANY GUARANTOR(S) MAY COMMENCE AN
ARBITRATION PROCEEDING WITH MEDIATION AND CIVIL ARBITRATION, INC. D/B/A RAPIDRULING ("RAPID”)
OR, IN CASE RAPID IS UNAVAILABLE AS ARBITRATOR AT THE TIME WHEN THE INTENT TO ARBITRATE ARISES,
THE PARTIES HERETO MAY COMMENCE AN ARBITRATION PROCEEDING WITH JAMS, FORMERLY KNOWN AS
JUDICIAL ARBITRATION AND MEDIATION SERVICES, INC. (“JAMS”), OR, ALTERNATIVELY, THE PARTY
INTENDING TO ARBITRATE A DISPUTE BETWEEN THE PARTIES HERETO MAY SEEK COURT’S APPOINTMENT OF
AN ARBITRATOR TO ARBITRATE A DISPUTE BETWEEN THE PARTIES HERETO. BUYER WILL PROMPTLY
REIMBURSE SELLER OR THE GUARANTOR(S) FOR ANY ARBITRATION FILING FEE, HOWEVER, IN THE EVENT
THAT BOTH SELLER AND THE GUARANTOR(S) MUST PAY FILING FEES, BUYER WILL ONLY REIMBURSE
SELLER’S ARBITRATION FILING FEE AND, EXCEPT AS PROVIDED IN THE NEXT SENTENCE, BUYER WILL PAY ALL
ADMINISTRATION AND ARBITRATOR FEES. IF THE ARBITRATOR FINDS THAT EITHER THE SUBSTANCE OF THE
CLAIM RAISED BY SELLER OR THE GUARANTOR(S) OR THE RELIEF SOUGHT BY SELLER OR THE
GUARANTOR(S) IS IMPROPER OR NOT WARRANTED, AS MEASURED BY THE STANDARDS SET FORTH IN
FEDERAL RULE OF PROCEDURE 11(B), THEN BUYER WILL PAY THESE FEES ONLY IF REQUIRED BY RAPID OR
JAMS RULES. SELLER AND THE GUARANTOR(S) AGREE THAT, BY ENTERING INTO THIS AGREEMENT, THEY ARE
WAIVING THE RIGHT TO TRIAL BY JURY. BUYER, SELLER OR ANY GUARANTOR(S) MAY BRING CLAIMS AGAINST
ANY OTHER PARTY ONLY IN THEIR INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN
ANY PURPORTED CLASS OR REPRESENTATIVE PROCEEDING. FURTHER, BUYER, SELLER AND ANY
GUARANTOR(S) AGREE THAT THE ARBITRATOR MAY NOT CONSOLIDATE PROCEEDINGS FOR MORE THAN ONE
PERSON’S CLAIMS, AND MAY NOT OTHERWISE PRESIDE OVER ANY FORM OF A REPRESENTATIVE OR CLASS
PROCEEDING, AND THAT IF THIS SPECIFIC PROVISION DEALING WITH THE PROHIBITION ON CONSOLIDATED,
CLASS OR AGGREGATED CLAIMS IS FOUND UNENFORCEABLE, THEN THE ENTIRETY OF THIS ARBITRATION
CLAUSE SHALL BE NULL AND VOID. THIS AGREEMENT TO ARBITRATE IS GOVERNED BY THE FEDERAL
ARBITRATION ACT AND NOT BY ANY STATE LAW REGULATING THE ARBITRATION OF DISPUTES. THIS
AGREEMENT IS FINAL AND BINDING EXCEPT TO THE EXTENT THAT AN APPEAL MAY BE MADE UNDER THE
FAA. ANY ARBITRATION DECISION RENDERED PURSUANT TO THIS ARBITRATION AGREEMENT MAY BE
ENFORCED IN ANY COURT WITH JURISDICTION. THE TERMS “DISPUTES” AND “CLAIMS” SHALL HAVE THE
BROADEST POSSIBLE MEANING.

4.15 RIGHT TO OPT OUT OF ARBITRATION. SELLER AND GUARANTOR(S)(S) MAY OPT OUT OF THIS
ARBITRATION CLAUSE. TO OPT OUT OF THIS ARBITRATION CLAUSE, SELLER AND EACH GUARANTOR(S) MUST
SEND BUYER A NOTICE THAT THE SELLER AND EACH GUARANTOR(S) DOES NOT WANT THIS ARBITRATION
CLAUSE TO APPLY TO THIS AGREEMENT. FOR ANY OPT OUT TO BE EFFECTIVE, SELLER AND EACH
GUARANTOR(S) MUST SEND AN OPT OUT NOTICE TO THE FOLLOWING ADDRESS BY REGISTERED MAIL,
WITHIN 14 DAYS AFTER THE DATE OF THIS AGREEMENT:

ARBITRATION OPT OUT,
FundKite, 88 Pine St, 24th Floor New York NY 10005.

4.16 Facsimile Acceptance. Facsimile signatures shall be deemed acceptable for all purposes.

4.17 Electronic Signatures. Electronic (digital) signatures and “DocuSign” signatures shall be deemed acceptable for
all purposes.

4.18 Counterparts. This Agreement may be executed in any number of counterparts, each of which shall be deemed
to be an original, but all such counterparts shall together constitute one and the same Agreement. Electronic signatures
complying with the New York Electronic Signatures and Records Act (N.Y. State Tech. §§ 301-309), as amended from
time to time, or other applicable law will be deemed original signatures for purposes of this Agreement. Transmission by
telecopy, electronic mail or other transmission method of an executed counterpart of this Agreement will constitute due




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and suﬃcient delivery of such counterpart.




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THE "TERMS OF ENROLLMENT IN PROGRAM", APPENDIX “A” AND “GUARANTY OF PERFORMANCE” ARE
HEREBY INCORPORATED IN AND MADE A PART OF THIS AGREEMENT.

Agreement of SELLER: By signing below SELLER agrees to the terms and conditions contained in this Agreement,
including those terms and conditions on the preceding and following pages, and further agrees that this transaction is
for business purposes and not for personal, family, or household purposes, and SELLER will use all funds received
from BUYER to operate or grow its business.

SELLER: MAZZONI CENTER




Agreed to by: Signature

it's CFO (Title)

Agreement of Each Owner Guarantor(s) and Aﬃliated Business Guarantor(s): Each Owner, Guarantor and
Aﬃliated Business Guarantor signing below agrees to the terms of this Agreement, including those terms and conditions
on the preceding and following pages, and further agrees that this transaction is for business purposes and not for
personal, family, or household purposes, and SELLER will use all funds received from BUYER to operate or grow its
business.

Sign as Owner:

Print Name: RACHELLE DENISE TRITINGER




Signature

Individual Guarantors
Guarantor

Print Name: RACHELLE DENISE TRITINGER

Social Security Number:

Driver's License:            State Issued: Pennsylvania




Signature




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                                      Aﬃliated Business Guarantors

​
    Guarantor: 1334-48 BAIN BRIDGE STREET LLC




    by Signature
    Address: 1348 BAINBRIDGE STREET, PHILADELPHIA, PA 19147
    Tax Id#: - State of Incorporation: Pennsylvania



    Guarantor: MAZZONI CENTER D/B/A Mazzoni Center - Washington West




    by Signature
    Address: 1201 Locust St, Philadelphia, PA 19107
    Tax Id#:            State of Incorporation: Pennsylvania




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                                      GUARANTY OF PERFORMANCE

A. BUYER has purchased Future Receipts of SELLER, pursuant to that REVENUE PURCHASE AGREEMENT Purchase and
Sale of Future Receipts (the “Agreement”) dated, incorporated herein.

B. The undersigned Guarantor(s) hereby are parties to the Agreement and each agrees to irrevocably, absolutely and
unconditionally guarantee to BUYER, SELLER’s prompt and complete performance of the following “Guaranteed
Obligations”:

      1. SELLER'S obligation to deposit all Receipts into the Designated Account on a daily basis and
      instruct SELLER'S credit card processor to deposit all Receipts of SELLER into the Designated Account on a daily
      basis.

      2. SELLER'S obligation not to (i) change the Designated Account, (ii) add an additional business bank account,
      (iii) revoke BUYER's authorization to debit the Designated Account, (iv) close the Designated Account without the
      express written consent of BUYER or, (v) take any other action with the intent to interfere with BUYER's right to
      collect the purchased Receipts.

      3. SELLER’s obligation not to enter into any arrangement, agreement, or a loan that relates to or
      encumbers SELLER'S Receipts of future revenue with any party other than BYUER, unless permitted in writing by
      BUYER;

      4. SELLER’s representations, covenants and warranties shall be truthful, accurate and complete and shall not be
      misleading in any material respect when made;

      5. SELLER’s obligation to provide Banking Records to BUYER in accordance with the Agreement;

      6. SELLER’s obligation to not voluntarily transfer or sell all or substantially all of its assets, shares and/or
      membership interests without prior written consent of BUYER;

Indemniﬁcation. Guarantor indemniﬁes and hold harmless BUYER against all loses, damages, claims, liabilities and
expenses (including reasonable attorney's fees) incurred, resulting from SELLER’s failure to perform any of the
Guaranteed Obligations.

Guarantor(s) Waivers. In the event that the SELLER fails to perform any of the Guaranteed Obligations, BUYER may
enforce its rights under this Guaranty against any and all Guarantor(s) without ﬁrst seeking to obtain performance from
SELLER or any other Guarantor(s). BUYER is not required to notify Guarantor(s) of any of the following events and
Guarantor(s) will not be released from its obligations under this Guaranty if it is not notiﬁed of: (i) SELLER’s default, or
failure to perform any obligations under the Agreement; (ii) BUYER’s acceptance of the Agreement or this Guaranty;
and (iii) any renewal, extension or other modiﬁcation of the Agreement or SELLER'S other obligations to BUYER. In
addition, BUYER may take any of the following actions without releasing Guarantor(s) from any of its obligations under
this Guaranty: (i) renew, extend or otherwise modify the Agreement or SELLER’s other obligations to BUYER; and (ii)
release SELLER from its obligations to BUYER. Until SELLER’s obligations to BUYER under the Agreement are satisﬁed in
full, Guarantor(s) shall not seek reimbursement from SELLER or any other Guarantor(s) for any amounts paid by it under
this Guaranty.

Guarantor(s) permanently waives and shall not seek to exercise any of the following rights that it may have against the
SELLER, any other Guarantor(s), or any collateral provided by SELLER or any other Guarantor(s), for any amounts paid
by it, or acts performed by it, under this agreement: (i) subrogation; (ii)reimbursement; (iii)performance; (iv)
indemniﬁcation; or (v) contribution. In the event that BUYER must return any amount paid by or on behalf of SELLER or
any other Guarantor(s) including but not limited to, a proceeding ﬁled under the United States Bankruptcy Code or any
similar law, Guarantor(s)’s obligations under this agreement shall include any such amounts.




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Acknowledgment of Purchase. Guarantor(s) acknowledges and agrees that the Purchase Price paid by BUYER to
SELLER in exchange for the Purchased Amount of Receipts is a purchase of the Purchased Amount of Receipts and is
not intended to be treated as a loan or ﬁnancial accommodation from BUYER to SELLER. Guarantor(s) speciﬁcally
acknowledges that BUYER is not a lender, bank or credit card processor, and that BUYER has not oﬀered any loans to
SELLER. Guarantor(s) acknowledges the Receipts Purchase Price paid to SELLER is good and valuable consideration for
the sale of the Purchased Amount of Receipts.
Joint and Several Liability. The obligations hereunder of the persons or entities constituting Guarantor(s) under this
Agreement are joint and several.

JURY TRIAL WAIVER. THE PARTIES HERETO WAIVE TRIAL BY JURY IN ANY COURT IN ANY SUIT, ACTION OR
PROCEEDING ON ANY MATTER ARISING IN CONNECTION WITH OR IN ANY WAY RELATED TO THE
TRANSACTIONS OF WHICH THIS AGREEMENT IS A PART OR THE ENFORCEMENT THEREOF. THE PARTIES
HERETO ACKNOWLEDGE THAT EACH PARTY AGREES TO THIS WAIVER KNOWINGLY, WILLINGLY AND
VOLUNTARILY AND WITHOUT DURESS, AND ONLY AFTER EXTENSIVE CONSIDERATION OF THE RAMIFICATIONS
OF THIS WAIVER WITH THEIR ATTORNEYS.

CLASS ACTION WAIVER. THE PARTIES HERETO WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST THE
OTHER PARTY AS A REPRESENTATIVE OR MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION, EXCEPT
WHERE SUCH WAIVER IS PROHIBITED BY LAW AGAINST PUBLIC POLICY. TO THE EXTENT ANY PARTY IS
PERMITTED BY LAW OR COURT OF LAW TO PROCEED WITH A CLASS OR REPRESENTATIVE ACTION AGAINST
THE OTHER, THE PARTIES HEREBY AGREE THAT: (1) THE PREVAILING PARTY SHALL NOT BE ENTITLED TO
RECOVER ATTORNEYS’ FEES OR COSTS ASSOCIATED WITH PURSUING THE CLASS OR REPRESENTATIVE
ACTION (NOTWITHSTANDING ANY OTHER PROVISION IN THIS AGREEMENT); AND (2) THE PARTY WHO
INITIATES OR PARTICIPATES AS A MEMBER OF THE CLASS WILL NOT SUBMIT A CLAIM OR OTHERWISE
PARTICIPATE IN ANY RECOVERY SECURED THROUGH THE CLASS OR REPRESENTATIVE ACTION.

ARBITRATION. IF BUYER, SELLER OR ANY GUARANTOR(S) REQUESTS, THE OTHER PARTIES AGREE TO
ARBITRATE ALL DISPUTES AND CLAIMS ARISING OUT OF OR RELATING TO THIS AGREEMENT. IF BUYER,
SELLER OR ANY GUARANTOR(S) SEEKS TO HAVE A DISPUTE SETTLED BY ARBITRATION, THAT PARTY MUST
FIRST SEND TO ALL OTHER PARTIES, BY CERTIFIED MAIL, A WRITTEN NOTICE OF INTENT TO ARBITRATE. IF
BUYER, SELLER OR ANY GUARANTOR(S) DO NOT REACH AN AGREEMENT TO RESOLVE THE CLAIM WITHIN 30
DAYS AFTER THE NOTICE IS RECEIVED, BUYER, SELLER OR ANY GUARANTOR(S) MAY COMMENCE AN
ARBITRATION PROCEEDING WITH MEDIATION AND CIVIL ARBITRATION, INC. D/B/A RAPIDRULING ("RAPID”)
OR, IN CASE RAPID IS UNAVAILABLE AS ARBITRATOR AT THE TIME WHEN THE INTENT TO ARBITRATE ARISES,
THE PARTIES HERETO MAY COMMENCE AN ARBITRATION PROCEEDING WITH JAMS, FORMERLY KNOWN AS
JUDICIAL ARBITRATION AND MEDIATION SERVICES, INC. (“JAMS”), OR, ALTERNATIVELY, THE PARTY
INTENDING TO ARBITRATE A DISPUTE BETWEEN THE PARTIES HERETO MAY SEEK COURT’S APPOINTMENT OF
AN ARBITRATOR TO ARBITRATE A DISPUTE BETWEEN THE PARTIES HERETO. BUYER WILL PROMPTLY
REIMBURSE SELLER OR THE GUARANTOR(S) FOR ANY ARBITRATION FILING FEE, HOWEVER, IN THE EVENT
THAT BOTH SELLER AND THE GUARANTOR(S) MUST PAY FILING FEES, BUYER WILL ONLY REIMBURSE
SELLER’S ARBITRATION FILING FEE AND, EXCEPT AS PROVIDED IN THE NEXT SENTENCE, BUYER WILL PAY ALL
ADMINISTRATION AND ARBITRATOR FEES. IF THE ARBITRATOR FINDS THAT EITHER THE SUBSTANCE OF THE
CLAIM RAISED BY SELLER OR THE GUARANTOR(S) OR THE RELIEF SOUGHT BY SELLER OR THE
GUARANTOR(S) IS IMPROPER OR NOT WARRANTED, AS MEASURED BY THE STANDARDS SET FORTH IN
FEDERAL RULE OF PROCEDURE 11(B), THEN BUYER WILL PAY THESE FEES ONLY IF REQUIRED BY RAPID OR
JAMS RULES. SELLER AND THE GUARANTOR(S) AGREE THAT, BY ENTERING INTO THIS AGREEMENT, THEY ARE
WAIVING THE RIGHT TO TRIAL BY JURY. BUYER, SELLER OR ANY GUARANTOR(S) MAY BRING CLAIMS AGAINST
ANY OTHER PARTY ONLY IN THEIR INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN
ANY PURPORTED CLASS OR REPRESENTATIVE PROCEEDING. FURTHER, BUYER, SELLER AND ANY
GUARANTOR(S) AGREE THAT THE ARBITRATOR MAY NOT CONSOLIDATE PROCEEDINGS FOR MORE THAN ONE
PERSON’S CLAIMS, AND MAY NOT OTHERWISE PRESIDE OVER ANY FORM OF A REPRESENTATIVE OR CLASS
PROCEEDING, AND THAT IF THIS SPECIFIC PROVISION DEALING WITH THE PROHIBITION ON CONSOLIDATED,
CLASS OR AGGREGATED CLAIMS IS FOUND UNENFORCEABLE, THEN THE ENTIRETY OF THIS ARBITRATION




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CLAUSE SHALL BE NULL AND VOID. THIS AGREEMENT TO ARBITRATE IS GOVERNED BY THE FEDERAL
ARBITRATION ACT AND NOT BY ANY STATE LAW REGULATING THE ARBITRATION OF DISPUTES. THIS
AGREEMENT IS FINAL AND BINDING EXCEPT TO THE EXTENT THAT AN APPEAL MAY BE MADE UNDER THE
FAA. ANY ARBITRATION DECISION RENDERED PURSUANT TO THIS ARBITRATION AGREEMENT MAY BE
ENFORCED IN ANY COURT WITH JURISDICTION. THE TERMS “DISPUTES” AND “CLAIMS” SHALL HAVE THE
BROADEST POSSIBLE MEANING.

RIGHT TO OPT OUT OF ARBITRATION. SELLER AND GUARANTOR(S) MAY OPT OUT OF THIS ARBITRATION
CLAUSE. TO OPT OUT OF THIS ARBITRATION CLAUSE, SELLER AND EACH GUARANTOR(S) MUST SEND BUYER
A NOTICE THAT THE SELLER AND EACH GUARANTOR(S) DOES NOT WANT THIS CLAUSE TO APPLY TO THIS
AGREEMENT. FOR ANY OPT OUT TO BE EFFECTIVE, SELLER AND EACH GUARANTOR(S) MUST SEND AN OPT
OUT NOTICE TO THE FOLLOWING ADDRESS BY REGISTERED MAIL, WITHIN FOURTEEN 14 DAYS AFTER THE
DATE OF THIS AGREEMENT:

ARBITRATION OPT OUT,
FundKite, 88 Pine Street, 24th Floor Street New York NY 10005.

SERVICE OF PROCESS. EACH GUARANTOR(S) HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES
PERSONAL SERVICE OF LEGAL PROCESS AND ANY OBJECTION TO THE ABSENCE OF PERSONAL SERVICE OF
PROCESS AND HEREBY AGREES TO ACCEPT SERVICE OF LEGAL PROCESS BY (I) ELECTRONIC MAIL SENT TO
GUARANTOR’S EMAIL ADDRESS PROVIDED TO BUYER BY GUARANTOR ("LAST KNOWN EMAIL ADDRESS OF
GUARANTOR”), (II) UNITED STATES POSTAL SERVICES CERTIFIED MAIL SENT TO GUARANTOR’S MAILING
ADDRESS PROVIDED TO BUYER BY GUARANTOR ("LAST KNOWN ADDRESS OF GUARANTOR”), OR (III) BY ANY
OTHER MEANS PERMITTED BY NEW YORK LAW. GUARANTOR UNDERSTANDS AND AGREES THAT AN ACTION,
LAWSUIT, OR CONTROVERSY MAY BE TAKEN UP AND CONSIDERED BY A COURT WITHOUT ANY FURTHER
NOTICE. SERVICE OF PROCESS SHALL BE EFFECTIVE UPON SENDING / MAILING OF SERVICE OF PROCESS BY
BUYER ("SERVICE DATE”). GUARANTOR SHALL NOTIFY BUYER OF ANY CHANGE TO ITS LAST KNOWN EMAIL
ADDRESS OR ITS LAST KNOWN ADDRESS FOR SERVICE. UNLESS BUYER IS NOTIFIED OF A CHANGE, BUYER’S
LAST KNOWN EMAIL ADDRESS OR ITS LAST KNOWN ADDRESS SHALL BE PRESUMED TO BE ACCURATE AND
VALID FOR THE PURPOSES OF SERVICE OF PROCESS AND NOTICES. THIS PROVISION SHALL SUPERSEDE ANY
NOTICE REQUIREMENTS IN THE CONTRACT WITH RESPECT TO SERVICE OF PROCESS. EACH GUARANTOR(S)
WILL HAVE THIRTY (30) CALENDAR DAYS FROM THE SERVICE DATE OF THE SERVICE OF PROCESS
HEREUNDER IN WHICH TO RESPOND. FURTHERMORE, EACH GUARANTOR(S) EXPRESSLY CONSENTS THAT
ANY AND ALL NOTICE(S), DEMAND(S), REQUEST(S) OR OTHER COMMUNICATION(S) UNDER AND PURSUANT
TO THIS AGREEMENT SHALL BE DELIVERED IN ACCORDANCE WITH THE PROVISIONS OF THIS AGREEMENT.

Guarantor(s) Acknowledgement. Guarantor(s) acknowledges that: (i) He/She understands the seriousness of
provisions of this Agreement; (ii) He/She has had a full opportunity to consult with counsel of his/her choice; and (iii)
He/She has consulted with counsel of its choice or has decided not to avail himself/herself of that opportunity.




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THE TERMS, DEFINITIONS, CONDITIONS AND INFORMATION SET FORTH IN THE “REVENUE PURCHASE
AGREEMENT PURCHASE AND SALE OF FUTURE RECEIPTS” AND “TERMS OF ENROLLMENT IN PROGRAM” ARE
HEREBY INCORPORATED IN AND MADE A PART OF THIS PERFORMANCE GUARANTY.




Individual Guarantors
Guarantor

Print Name: RACHELLE DENISE TRITINGER

Social Security Number:

Driver's License:         State Issued: Pennsylvania




Signature




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                                      Aﬃliated Business Guarantors

​
    Guarantor: 1334-48 BAIN BRIDGE STREET LLC




    by Signature
    Address: 1348 BAINBRIDGE STREET, PHILADELPHIA, PA 19147
    Tax Id#: - State of Incorporation: Pennsylvania



    Guarantor: MAZZONI CENTER D/B/A Mazzoni Center - Washington West




    by Signature
    Address: 1201 Locust St, Philadelphia, PA 19107
    Tax Id#:            State of Incorporation: Pennsylvania




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                                  APPENDIX A: THE FEE STRUCTURE

A. Service Fees

      Origination FEE - $20,185.00 The Origination Fee is deducted from the Purchase Price.

B. NSF Fee - $35.00. The NSF Fee is due each time the BUYER’S debit ACH of the Account is rejected for insuﬃcient
funds. And will be debited from the SELLER'S account on the next available business day or added to the balance.

C. Rejected ACH Fee- $100.00. The Rejected ACH Fee is due if SELLER directs the bank to reject BUYER'S debit
ACH, and will be debited from the SELLER’S account on the next available business day or added to the balance.

D. Breach Administration Fee -If SELLER violates any term or covenant in this Agreement, and such breach is not
cured within and ﬁve (5) calendar days of its ﬁrst occurrence, SELLER shall pay the BUYER the amount of 25% of the
total amount of Purchased Amount outstanding.

The Breach Administration Fee is intended to compensate the BUYER for the additional administrative costs associated
with SELLER'S failure to comply with the terms of the Agreement. This amount will be added to the total amount to be
remitted by SELLER eﬀectively providing an additional discount to the BUYER. The parties agree that this fee is a good
faith estimate of the damages caused by the breach of the Agreement in addition to BUYER'S other remedies speciﬁed
in this Agreement, including the increased resources required to be expended by the BUYER to respond to the breach,
as well as other damages and expenses caused by the breach.


Agreement of Seller
MAZZONI CENTER




Agreed to by: Signature                                                                                      it's CFO (Title)




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                   EXHIBIT J
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